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      1                  IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
      2                             TYLER DIVISION

      3   LONE STAR TECHNOLOGICAL            )(
          INNOVATIONS, LLC,                  )(
      4        PLAINTIFF,                    )(     CIVIL ACTION NO.
                                             )(     6:19-CV-59-RWS
      5                                      )(
          VS.                                )(
      6                                      )(
                                             )(     TYLER, TEXAS
      7                                      )(
          ASUSTEK COMPUTER, INC.,            )(     MAY 18, 2021
      8        DEFENDANT.                    )(     8:54 A.M.

      9                        TRANSCRIPT OF JURY TRIAL

     10            BEFORE THE HONORABLE ROBERT W. SCHROEDER, III

     11                      UNITED STATES DISTRICT JUDGE

     12
          FOR THE PLAINTIFF:           Mr. Joshua J. Bennett
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     25   (Proceedings recorded by mechanical stenography, transcript
          produced on a CAT system.)
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07:54:48    1                         P R O C E E D I N G S

07:54:48    2           (Jury out.)

08:54:05    3           THE COURT:     Okay.   Let's go on the record.

08:54:08    4           Good morning, everyone.        It's about 10 minutes

08:54:12    5   until 9:00.     I know there were some filings overnight,

08:54:20    6   including a motion for a mistrial or a curative

08:54:26    7   instruction.     I do want to hear from the parties about

08:54:28    8   that.

08:54:29    9           I don't think it's necessary that we resolve that

08:54:32   10   right now.     I certainly wouldn't -- you know, assuming the

08:54:40   11   Court doesn't grant a mistrial, I certainly wouldn't give a

08:54:44   12   curative instruction during the middle of a witness's

08:54:47   13   testimony, but I do think it's -- how long do we expect

08:54:51   14   this witness's testimony to take?

08:54:55   15           MR. BENNETT:     I don't have any more documents to

08:54:58   16   cover with Mr. Lin.     I hope 30 minutes or so, depending on

08:55:05   17   what happens.

08:55:06   18           THE COURT:     Okay.   And then how long --

08:55:11   19           MR. JOSHI:     I expect my cross and my direct to be

08:55:14   20   an hour and an hour and a half.

08:55:15   21           THE COURT:     Okay.   So we'll certainly get to the

08:55:18   22   morning break by that point, and we can deal with the

08:55:22   23   mistrial, curative instruction request.

08:55:24   24           Is there anything we need to address before we

08:55:28   25   begin the witness's examination this morning?
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08:55:31    1             MR. JOSHI:     Not for us, Your Honor.

08:55:33    2             MR. BENNETT:     No, Your Honor.

08:55:34    3             THE COURT:     Okay.   Let's have the jury brought in,

08:55:37    4   please.

08:55:38    5             COURT SECURITY OFFICER:      All rise for the jury.

08:55:42    6             (Jury in.)

08:56:28    7             THE COURT:     Please be seated.

08:56:30    8             Good morning, ladies and gentlemen of the jury.

08:56:34    9   Welcome back.     I hope you all had a pleasant evening.         I

08:56:38   10   appreciate your being here promptly so that we can start on

08:56:42   11   time, actually a little bit early this morning.

08:56:45   12             When we concluded the day yesterday, Mr. Bennett

08:56:51   13   was in his examination of the witness.

08:56:53   14             At this time, Mr. Bennett, you may continue.

08:56:56   15             MR. BENNETT:     Thank you, Your Honor.

08:56:56   16          ALFRED LIN, PLAINTIFF'S WITNESS, PREVIOUSLY SWORN

08:56:56   17                     CONTINUED DIRECT EXAMINATION

08:57:00   18   BY MR. BENNETT:

08:57:00   19   Q.   Good morning, Mr. Lin -- or morning for us, I should

08:57:04   20   say.   It's probably evening for you, I would imagine.

08:57:11   21   A.   Good morning.

08:57:12   22   Q.   Just because we've spanned testimony over the day, I

08:57:18   23   just want to review where we were really briefly so we can

08:57:23   24   get on the same page this morning, okay?

08:57:37   25   A.   Okay.
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08:57:44    1             MR. BENNETT:     Are you --

08:57:45    2             THE COURT:     We're working on it, Mr. Bennett.

08:58:37    3             Okay.   Let's try that, Mr. Bennett.

08:58:40    4             MR. BENNETT:     Thank you, Your Honor.

08:58:44    5             Do you have access, Denver?

08:58:50    6             We're having trouble pulling up our exhibits.

08:58:55    7   Please bear with us.

08:59:10    8             THE WITNESS:     Okay.

08:59:41    9             THE COURT:     Mr. Bennett, excuse me just a moment.

08:59:45   10   I want to ask Ms. Josh something.

08:59:48   11             Ms. Josh, are you sharing your screen, by chance?

08:59:55   12             THE INTERPRETER:       No.   No, Your Honor, no.    It's

08:59:56   13   not me.

08:59:56   14             THE COURT:     Okay.     I just wanted to verify.

09:00:18   15             THE INTERPRETER:       Your Honor, if I may, it's a

09:00:20   16   traditional Chinese on the screen, so you might need to ask

09:00:25   17   the witness.

09:00:26   18             THE COURT:     Okay.     Would you ask the witness if

09:00:30   19   he's sharing his screen?         Ms. Josh?

09:00:38   20             THE INTERPRETER:       Can you hear me, Your Honor?

09:00:40   21   Yes?

09:00:40   22             THE COURT:     Okay.     Can you ask the witness if he

09:00:44   23   is sharing his screen?

09:01:04   24             THE WITNESS:     Is that better now?

09:01:04   25             THE COURT:     Yes.
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09:01:07    1              THE WITNESS:     How about this?

09:01:07    2              THE COURT:     That's better, but I'm not sure that

09:01:11    3   it solved it.

09:01:28    4              Just sit tight a moment.      The IT folks are trying

09:01:32    5   to force a restart, and if you'll give us just a moment,

09:01:39    6   we'll see if that will work.

09:01:49    7              THE WITNESS:     Okay.

09:02:34    8              THE COURT:     Ms. Josh, I am --

09:02:34    9              THE INTERPRETER:     Yes, Your Honor?

09:02:36   10              THE COURT:     -- I am informed that the witness is,

09:02:40   11   in fact, sharing his screen, and that's what's creating the

09:02:45   12   problem.

09:02:45   13              Can you ask him to make sure he's not?

09:02:47   14              THE WITNESS:     Okay.   I got it, but I'm not sure

09:03:40   15   how to enable or disable the sharing feature, and I see

09:03:44   16   right here on my screen there's one arrow on the right --

09:03:49   17   far right of my side, is that the one that I should disable

09:03:53   18   to make it color red?       That's the way that I will stop

09:03:58   19   sharing; is that right?

09:04:00   20              THE COURT:     Let's see -- it's the only thing I can

09:04:01   21   suggest.    Let's try that.

09:04:05   22              THE WITNESS:     Okay.

09:04:11   23              THE COURT:     That should do it, Mr. Bennett.

09:04:14   24              MR. BENNETT:     Thank you.

09:04:17   25              THE WITNESS:     Okay.
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09:04:21    1               THE COURT:     Let's try that.

09:04:22    2               MR. BENNETT:     Okay.   Thank you, Your Honor.

09:04:24    3   BY MR. BENNETT:

09:04:24    4   Q.   Yesterday, Mr. Lin, I just -- like I said before, I

09:04:28    5   want to just kind of review where we were since we've all

09:04:32    6   had an evening to sleep, get on the same page, and get back

09:04:36    7   into some of the documents we need to look at today.

09:04:39    8               But, first, we looked at Plaintiff's Trial

09:04:44    9   Exhibit 13, which was the email between you and an ASUS

09:04:48   10   project manager.

09:04:49   11               Do you remember that?

09:05:16   12   A.   Yes.

09:05:17   13   Q.   And we talked about how ASUS requests features like

09:05:21   14   those listed in 7, 8, and 9 and implemented those features

09:05:26   15   in its display products.

09:05:28   16               Do you remember that?

09:05:38   17   A.   Yes.

09:05:54   18   Q.   Okay.    Then we looked at Plaintiff's Exhibit 14A, which

09:06:00   19   was that FAQ page that discussed 6-axis color independent

09:06:05   20   control.

09:06:06   21               Remember that?

09:06:27   22   A.   Yes.

09:06:27   23   Q.   And right there at the middle of that page, there was

09:06:30   24   those products listed that the FAQ -- strike that.

09:06:31   25               Right there in the middle of the page, there's a
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09:06:34    1   listing of products to which the FAQ, F-A-Q, applies.

09:06:40    2                Do you remember that discussion?

09:07:02    3   A.    Yes.

09:07:03    4   Q.    Okay.    We talked about the first -- strike that.

09:07:06    5                We looked at the user guide for the first product

09:07:10    6   listed there, which is PA248.

09:07:17    7                Do you remember that?

09:07:24    8   A.    Yes.

09:07:24    9   Q.    Okay.    Now what I want to do is go to -- talk about

09:07:28   10   just a -- two more of the products listed in that product

09:07:30   11   listing, PA328 and PA329, okay?

09:07:46   12   A.    Okay.

09:07:46   13   Q.    So let me take you to Plaintiff's Exhibit 15 and

09:07:59   14   specifically to Page 20 of the overall documents marked 3-2

09:08:16   15   within the user manual.

09:08:18   16                Do you see that, sir?

09:08:31   17   A.    I can see the picture right now.

09:08:34   18   Q.    Okay.    And this is the part of the manual that

09:08:38   19   instructs ASUS users on how to adjust the settings on -- in

09:08:43   20   their stream, correct?

09:09:13   21   A.    The fonts are very small.      Is it possible for you to

09:09:16   22   help me to enlarge the portion we are going to discuss,

09:09:21   23   please?

09:09:22   24   Q.    Yes.    This is not an eye exam.    I'm happy to bring it

09:09:27   25   up.
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09:09:27    1               MR. BENNETT:   If you could bring up that table,

09:09:29    2   Denver.      That's what I wanted to focus on, the function,

09:09:29    3   brightness contrast.

09:09:37    4   BY MR. BENNETT:

09:09:37    5   Q.   Do you see that better, sir?

09:09:42    6   A.   Thank you.    Yes.

09:09:47    7   Q.   Okay.    In this table, ASUS is showing its users that

09:09:55    8   they can change saturation under certain user modes, right?

09:10:02    9   If you look at the far right-hand column and the row for

09:10:07   10   saturation, it shows users, if they want to change

09:10:10   11   saturation, they've got to go into User Mode 1 or User

09:10:16   12   Mode 2, right?

09:10:43   13   A.   Yes, I can see that.

09:10:45   14   Q.   All right.    And that's at -- so if users are to

09:10:49   15   follow -- strike that.

09:10:50   16               If users followed ASUS's instructions in this

09:10:54   17   manual, they could adjust the saturation settings under

09:10:59   18   User Mode 1 or User Mode 2, right?

09:11:06   19   A.   Yes.

09:11:26   20   Q.   And same question for hue.      If the user -- if the user

09:11:33   21   follows the instructions of this manual, they can go into

09:11:37   22   User Mode 1 or 2 and change the hue, as well?

09:11:44   23   A.   Yes.

09:11:58   24   Q.   And then on the following page, ASUS teaches its users

09:12:05   25   about how to specifically change the hue and saturation in
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09:12:16    1   the monitor settings, right?

09:12:33    2   A.   Would you please enlarge the portion we're discussing

09:12:36    3   now, please?

09:12:37    4   Q.   Sure.    Actually, I misstated.     I said the following

09:12:40    5   page.     It's the following page in my binder but not in the

09:12:44    6   manual.

09:12:48    7               MR. BENNETT:   Let me go two pages -- two pages

09:12:49    8   over, please.

09:12:49    9   BY MR. BENNETT:

09:12:59   10   Q.   So here in this manual, ASUS instructs users how to set

09:13:04   11   a desired -- set a color setting from the On-Screen-Display

09:13:11   12   menu, right?

09:13:24   13   A.   From what I see on the screen, yes.

09:13:28   14   Q.   Okay.    And below that, one of the bullet-pointed

09:13:31   15   settings, and it's similar to one we've seen already, is

09:13:36   16   advanced setting, and it teaches users how to change the

09:13:40   17   6-axis hue adjustment, right?

09:14:00   18   A.   Yes.

09:14:01   19   Q.   And it also teaches users how to change the 6-axis

09:14:06   20   saturation adjustment if they wanted to change that

09:14:10   21   setting, too?

09:14:10   22   A.   It's written in a very simple way.        However, I don't

09:14:44   23   believe I can use a yes or no to answer your question.

09:14:51   24   Q.   Let me rephrase.

09:14:53   25               The purpose of Section 3 --
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09:14:56    1              MR. BENNETT:   If you can zoom out, Denver.

09:14:56    2   BY MR. BENNETT:

09:15:00    3   Q.   -- of this user manual is to tell users, instruct them

09:15:04    4   on how to change the color settings in their display,

09:15:08    5   right?

09:15:09    6   A.   It shows the functionality here.        However, I don't

09:15:50    7   believe there's any teaching here for them to follow

09:15:53    8   "how-to" procedures.

09:16:01    9              MR. BENNETT:   Can you blow up that screenshot,

09:16:04   10   please, Denver?

09:16:04   11   BY MR. BENNETT:

09:16:13   12   Q.   Now, that's a screenshot from an ASUS monitor, isn't

09:16:18   13   it, Mr. Lin?

09:16:20   14   A.   It appears so.

09:16:37   15   Q.   Do you have any reason to doubt that this ASUS manual

09:16:40   16   is showing an ASUS On-Screen-Display screenshot?

09:16:48   17   A.   The reason -- I said it appears so.        However, I will

09:17:24   18   not be able to verify is because that we had several

09:17:29   19   versions for different period of time and for different

09:17:33   20   models.      That's why I cannot tell for sure.

09:17:39   21   Q.   Mr. Lin, we're talking about the 3 -- PA328 model right

09:17:44   22   now.     Are you still with me?

09:17:48   23   A.   That's right.    What I am seeing right now on the screen

09:18:03   24   is the manual for the specific one, yes.

09:18:06   25   Q.   Okay.    So this is the menu screen for the PA328,
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09:18:12    1   correct?

09:18:13    2   A.   It appears as so.      However, I have to explain here.

09:18:55    3              We had adopted two different procedures for this.

09:19:01    4   One was a screenshot only.       The other one was to rejoin

09:19:08    5   everything.     So I'm not sure which one this should be.

09:19:12    6              MR. BENNETT:     Your Honor, I object and move to

09:19:15    7   strike that answer as nonresponsive.

09:19:17    8              THE COURT:     I'll sustain the objection.

09:19:26    9              MR. JOSHI:     Your Honor, may I note a -- my

09:19:33   10   response objection?

09:19:34   11              I believe he is just telling the truth answering

09:19:36   12   the question.

09:19:36   13              THE COURT:     I understand.   He has given him

09:19:39   14   multiple opportunities to respond, and I'll sustain the

09:19:42   15   objection and strike the -- strike the response.

09:19:45   16              Ask your next question.

09:19:47   17              MR. BENNETT:     Thank you, Your Honor.

09:19:47   18   BY MR. BENNETT:

09:19:49   19   Q.   Let me try it this way, Mr. Lin.        When the manual

09:19:54   20   says --

09:19:54   21              MR. BENNETT:     Back out to the subpoint, please,

09:19:57   22   Denver.

09:19:57   23   BY MR. BENNETT:

09:19:58   24   Q.   When the manual says set a desired color setting from

09:20:02   25   this menu, "this menu" is referring to that screenshot,
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09:20:06    1   right?

09:20:25    2   A.   From what I can see on the screen, yes.

09:20:27    3   Q.   Okay.    And two up -- one up from the bottom -- or two

09:20:32    4   up from the bottom on that screenshot, there's a listing

09:20:36    5   for advanced settings.

09:20:38    6               Do you see that?

09:20:40    7   A.   Yes, I can see that.

09:20:46    8   Q.   Okay.

09:20:47    9               MR. BENNETT:   Can you zoom back out, please, and

09:20:50   10   go to the advanced setting bullets?

09:20:50   11   BY MR. BENNETT:

09:20:55   12   Q.   So what the manual is telling the user and what ASUS is

09:21:00   13   specifically telling and instructing users is that if you

09:21:04   14   want to adjust the 6-axis hue adjustment, you will find

09:21:10   15   that adjustment under the advanced setting menu, right?

09:21:33   16   A.   Yes.

09:21:33   17   Q.   Right.    And that makes sense because this series of

09:21:39   18   products, the PA series, in this case, the PA328, is a

09:21:44   19   high-end monitor, right?

09:21:49   20   A.   Instead of that, we actually defined it as a

09:22:08   21   professional series.

09:22:10   22   Q.   Right.    And professional series means you charge a lot

09:22:13   23   more for this than you would a different model that you

09:22:18   24   sell at Walmart, right?

09:22:39   25   A.   We also have other gaming type of monitors, also pretty
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09:22:46    1   expensive.

09:22:47    2            MR. BENNETT:     Your Honor, I move to strike that

09:22:51    3   answer as nonresponsive.

09:22:52    4            THE COURT:     I'll sustain the objection and strike

09:22:54    5   the response.

09:22:54    6   BY MR. BENNETT:

09:22:59    7   Q.   Let me try it this way.     The PA328 is a monitor -- is

09:23:07    8   one of the monitors that costs the most that ASUS sells,

09:23:11    9   it's one of the highest-priced monitors that ASUS sells,

09:23:15   10   right?

09:23:40   11   A.   My answer will be no.

09:23:41   12   Q.   Your answer is no?

09:23:43   13            I just want to make sure I understood correctly.

09:23:46   14   Your answer is, no, this is not one of the monitors that

09:23:49   15   ASUS charged -- is one of the -- ASUS's higher-priced

09:23:54   16   monitors.

09:24:04   17   A.   Well, if you were just asking whether it's a one of

09:24:15   18   those, my answer will be, yes, it was one of those

09:24:21   19   higher-priced.

09:24:22   20   Q.   Okay.   And as one of those higher-priced models,

09:24:28   21   the 6-axis control feature is a feature that ASUS

09:24:32   22   specifically posts on its website and advertises to

09:24:37   23   consumers, right?

09:24:40   24   A.   The majority of these series were -- are equipted [sic]

09:25:14   25   with this functionality.
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09:25:16    1            MR. BENNETT:     Your Honor, I move to strike that

09:25:18    2   answer as nonresponsive.

09:25:29    3            MR. JOSHI:     May I please have the question read

09:25:32    4   back to me?

09:25:33    5            THE COURT:     No, just rephrase the question, and

09:25:36    6   let's give him a opportunity to answer.

09:25:39    7   BY MR. BENNETT:

09:25:39    8         My question is, sir:     The 6-axis control, hue,

09:25:44    9   saturation, is a feature ASUS specifically advertises to

09:25:49   10   these consumers for their use in ASUS display products,

09:25:56   11   right?

09:26:12   12   A.   Yes, for these series.

09:26:32   13   Q.   Okay.   I want to look at one more of these series,

09:26:37   14   which is the PA329.

09:26:39   15            MR. BENNETT:     Go to Plaintiff's Exhibit 69,

09:26:43   16   please, Denver.

09:26:43   17   BY MR. BENNETT:

09:26:57   18   Q.   Can you see that okay, Mr. Lin?

09:26:59   19   A.   Yes, I can.

09:27:05   20   Q.   All right.    This is another one of the professional

09:27:08   21   series, right?     Professional Artist Series?

09:27:20   22   A.   From the screen, yes.

09:27:22   23   Q.   Okay.   And this particular model, the PA329 has been

09:27:27   24   selling pretty good, hasn't it?

09:27:30   25   A.   Well, I cannot answer that question because I am not a
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09:27:46    1   sales.

09:27:48    2   Q.   Do you remember when we took your deposition in

09:27:50    3   November of 2020, Mr. Lin?

09:28:06    4   A.   Yeah, we did discuss yesterday that there was a

09:28:10    5   deposition like this, yes.

09:28:11    6   Q.   And when you took that deposition, you swore to tell

09:28:15    7   the truth, didn't you, sir?

09:28:17    8   A.   Yes.

09:28:25    9   Q.   And you did tell the truth, right?

09:28:28   10   A.   Right.

09:28:33   11   Q.   And during that deposition, we asked you if you were

09:28:38   12   familiar with the PA329 series monitor.          Do you remember

09:28:44   13   what your answer was?

09:29:01   14   A.   Excuse me.    I don't think that I remember what my

09:29:04   15   answer was.

09:29:11   16   Q.   On page 17, lines 21 through 24, your answer was:

09:29:15   17   "This is one of the monitor in our PA series.           It's been

09:29:19   18   selling pretty good."

09:29:37   19               And you stand by that testimony now, don't you?

09:29:45   20   A.   I forgot how I answered at that time.

09:29:48   21   Q.   That wasn't my question, sir.       My question is:      You

09:30:00   22   stand by that testimony today in front of this jury, right?

09:30:21   23   A.   Of course.    And I told you the truth during the

09:30:27   24   deposition taken of me.      I just don't recall right now what

09:30:33   25   I may have said in that deposition.
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09:30:37    1   Q.   But your deposition testimony in November of 2020 was

09:30:42    2   different from what you first told me today in front of

09:30:45    3   this jury, wasn't it?

09:31:07    4   A.   I'm sorry.     I really forgot what I said during the

09:31:12    5   deposition held on November 30th.

09:31:16    6   Q.   Fair enough.

09:31:20    7             MR. BENNETT:    Let's, Denver, go to Plaintiff's

09:31:24    8   Exhibit 69, to page, Bates 121, please.

09:31:24    9   BY MR. BENNETT:

09:31:37   10   Q.   And I don't want to belabor the point, Mr. Lin, and I'm

09:31:41   11   not going to spend a lot of time here, but can we agree

09:31:45   12   that the instructions here are very similar to the manual

09:31:48   13   we just looked at, the PA328?

09:32:07   14   A.   Yes, similar.

09:32:08   15   Q.   Okay.

09:32:15   16             MR. BENNETT:    Let me flip to page 127, Denver,

09:32:21   17   please.

09:32:21   18   BY MR. BENNETT:

09:32:23   19   Q.   It's another one of those troubleshooting FAQs from the

09:32:27   20   monitor manual.

09:32:28   21             So we talked about one of these toward the end of

09:32:53   22   the day yesterday, and I just wanted to review quickly --

09:32:53   23   just, again, review what the purpose is and then one

09:32:53   24   specific or two -- a couple of pieces of this particular

09:32:54   25   FAQ.
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09:32:54    1               So, first, we still agree today, don't we,

09:32:55    2   Mr. Lin, that the purpose of the troubleshooting FAQ is for

09:33:00    3   ASUS to instruct purchasers, users of the display on how to

09:33:04    4   solve potential problems they may run into with their

09:33:08    5   display product?

09:33:39    6   A.   Yes, that's the purpose, right.

09:33:42    7   Q.   Okay.    And, again, for the sake of time, I want to skip

09:33:47    8   just down to the third one from the bottom:          Screen image

09:33:52    9   has color defects.     And we talked about this yesterday, but

09:34:10   10   what ASUS is telling users to do here is if their screen

09:34:14   11   has color defects in it, they should adjust the RGB control

09:34:23   12   settings, right?

09:34:39   13   A.   Yes.

09:34:39   14   Q.   All right.    I want to take you to a little different

09:34:46   15   product now.

09:34:47   16               MR. BENNETT:   Denver, go to 26-76.

09:34:47   17   BY MR. BENNETT:

09:35:15   18   Q.   Do you see the user guide for the VG248?

09:35:25   19   A.   From the screen, I can see it.

09:35:26   20   Q.   Okay.    And this particular display model is what's

09:35:34   21   known as a 3-axis model, right?

09:35:58   22   A.   No.

09:35:58   23   Q.   Do you know what a 3-axis model is, Mr. Lin?

09:36:03   24   A.   I know the difference between 3-axis from 6-axis.

09:36:13   25   Q.   Okay.    In a 3-axis display, the color inputs are red,
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09:36:21    1   green, and blue, right?

09:36:30    2   A.   Yes, for the models using 3-axis color control.

09:36:46    3   Q.   Okay.

09:36:47    4               MR. BENNETT:   Let's skip, Denver, to 6997, please.

09:36:47    5   Right near that feather -- actually, sorry, just blow up

09:36:47    6   that whole -- thanks.

09:36:47    7   BY MR. BENNETT:

09:37:25    8   Q.   Can you see that Section 2 under Color, Mr. Lin?

09:37:25    9   A.   Yes.

09:37:27   10   Q.   All right.    In this section under the heading of

09:37:38   11   Number 2 Header, ASUS tells its users you can adjust

09:37:42   12   brightness, contrast, saturation, color temp, skin tone,

09:37:47   13   and smart view from this menu, right?

09:38:12   14   A.   Yes, I can see that.

09:38:13   15   Q.   All right.    And "this menu" means the menu adjacent to

09:38:20   16   those colors, the one pictured there in the manual?

09:38:32   17   A.   It appears so.

09:38:36   18   Q.   Okay.    I want to focus now on -- there's this little --

09:38:43   19   looks like a feather to me down below.         And just for your

09:38:56   20   benefit, I'll read this so the translator can translate it

09:38:59   21   for you:     In the user mode, colors of R, red; G, green; and

09:39:05   22   B, blue, are user configurable?

09:39:33   23   A.   Yes.

09:39:33   24   Q.   And then it says:     The adjusting range is from 0 to

09:39:42   25   100.
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09:39:43    1   A.   Yes.

09:39:44    2   Q.   So if an ASUS user who purchased this particular model,

09:39:48    3   the VG248, followed these instructions, they can put the

09:39:56    4   monitor in user mode and adjust R from 0 to 100?

09:40:22    5   A.   Yes.

09:40:22    6   Q.   They could adjust green from 0 to 100?

09:40:30    7   A.   Yes.

09:40:33    8   Q.   And they could adjust blue from 0 to 100?

09:40:40    9   A.   Yes.

09:40:44   10   Q.   All right.    And then as we saw before with this 6-axis

09:40:49   11   manual --

09:40:50   12               MR. BENNETT:   Go to 7001, please.

09:40:50   13   BY MR. BENNETT:

09:40:57   14   Q.   -- we have a troubleshooting FAQ in this manual.           Can

09:41:10   15   you see that?

09:41:11   16   A.   Yes, I can see that.

09:41:15   17   Q.   All right.    And just like before, in this three-color

09:41:20   18   product, RGB, ASUS tells the user that if they have

09:41:25   19   problems -- if the screen image has color defects, one of

09:41:30   20   the solutions is to adjust the RGB color settings to

09:41:35   21   improve the color defects, right?

09:42:12   22   A.   Well, hard for me to answer that question.          So your

09:42:15   23   question is actually referring to the white balance

09:42:18   24   feature.

09:42:22   25   Q.   Well, let's -- let's go back.       Let's go back to
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09:42:30    1   Exhibit 15.

09:42:39    2               MR. BENNETT:     Page 311 or 29, Denver.

09:42:39    3   BY MR. BENNETT:

09:42:52    4   Q.   We talked about this one already, right?            This is the

09:42:56    5   same Troubleshooting FAQ we just saw, didn't we?

09:43:02    6   A.   Yes.

09:43:08    7   Q.   All right.    And in this 6-axis monitor, users can

09:43:13    8   experience color defects in their monitors, right?

09:43:18    9   A.   To this specific question, my answer would be no.

09:43:36   10   Q.   My specific question was:          Users of 6-axis products can

09:43:43   11   experience color defects with their monitors?

09:44:01   12   A.   To this specific question, my answer remains no.

09:44:13   13   Q.   Just so I'm clear, my specific question is, you're

09:44:17   14   saying, no, ASUS users don't experience color defects with

09:44:25   15   their monitors?

09:44:30   16               MR. JOSHI:     Objection, that's a

09:44:49   17   mischaracterization of his testimony.

09:44:50   18               THE COURT:     Overruled.

09:45:13   19   A.   Well, I can explain a little here.          To my

09:45:18   20   understanding, this cannot be called a color defect.

09:45:24   21               MR. BENNETT:     Your Honor, I move to strike that

09:45:27   22   answer as nonresponsive.

09:45:29   23               THE COURT:     I'm going to overrule that.      I --

09:45:31   24   you can rephrase the question, perhaps, but I don't think

09:45:34   25   it's --
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09:45:34    1             MR. BENNETT:     Okay.

09:45:35    2             THE COURT:     -- nonresponsive.

09:45:35    3   BY MR. BENNETT:

09:45:36    4   Q.   Let me try this -- let me try it this way.

09:45:38    5             MR. BENNETT:     Denver, take the exhibit down,

09:45:38    6   please.

09:45:38    7   BY MR. BENNETT:

09:45:55    8   Q.   Okay.   There's no exhibit up.      I'm talking just

09:45:59    9   generally.

09:46:00   10             When a user buys --

09:46:02   11             MR. BENNETT:     Go ahead, Ms. Josh.      I -- excuse me.

09:46:05   12   Go ahead.

09:46:05   13   BY MR. BENNETT:

09:46:14   14   Q.   When a user buys an ASUS product, one of the problems

09:46:17   15   that they can encounter is color defects in their monitors,

09:46:22   16   right?

09:46:40   17   A.   It's probably the user just do not like the color --

09:46:55   18   the color setting because they dislike the color, so they

09:47:00   19   wish to make adjustments.

09:47:05   20   Q.   Oh, sure.   I understand that.      Sometimes users want to

09:47:09   21   adjust the colors on their monitor to suit their --

09:47:13   22   whatever it is that they want.       They want to enhance one

09:47:17   23   particular color or another, right?

09:47:24   24   A.   That's right.     That's right, that question.

09:47:38   25   Q.   Okay.   But my questions are a little bit different.
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09:47:42    1            Let me try it this way.       Sometimes with prolonged

09:47:46    2   use of a monitor, the colors can skew, or you can get a

09:47:51    3   defect in a particular color type, right?

09:48:11    4   A.   I do not deny that there is a possibility for that.

09:48:16    5   Q.   Okay.   And so when users experience that problem, they

09:48:23    6   like to go to ASUS's user manual to find solutions to that

09:48:31    7   problem, right?

09:48:32    8   A.   Well, some users would, but some other users may have

09:48:56    9   some basic knowledge of how to do that themselves.

09:49:00   10   Q.   Oh, sure.   But some users -- we agree, some users will

09:49:06   11   go back to the user manual, right?

09:49:08   12   A.   I cannot -- I cannot deny that, that it's true that

09:49:29   13   some users would refer to the manual.

09:49:33   14   Q.   And for those users, ASUS provides the Troubleshooting

09:49:39   15   FAQ, right?

09:49:42   16   A.   Well, they can go to the troubleshooting section to

09:49:58   17   resolve the problems.

09:49:59   18   Q.   And users may experience problems with a variety of

09:50:04   19   colors, whether it's red, green, or blue, right?

09:50:08   20   A.   Well, my answer would be, yes, because each individual

09:50:35   21   user, they may have their own requirement.

09:50:40   22   Q.   And so color defects aren't limited to the color of

09:50:45   23   white, right?     Could be other colors?

09:50:47   24   A.   Well, from a professional perspective, a white color

09:51:11   25   would be used for references.
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09:51:14    1   Q.   Okay.   Last question for now, Mr. Lin.

09:51:24    2            ASUS users choose ASUS products because ASUS

09:51:33    3   supplies options for them to customize the color settings

09:51:38    4   on their monitors, right?

09:51:42    5   A.   Well, I will say this 3-axis or 6-axis feature are one

09:52:24    6   of the common features that ASUS provide.          However, the

09:52:31    7   reason ASUS users choose ASUS products was not only for

09:52:37    8   that.

09:52:38    9   Q.   Oh, I agree.     There's lots of other reasons.       But

09:52:41   10   that's at least one of their reasons or a common reason?

09:52:44   11   A.   To this specific question, I can say, yes.

09:53:05   12   Q.   All right.     And that includes --

09:53:08   13            MR. BENNETT:     If you put up 14A again, please.

09:53:08   14   BY MR. BENNETT:

09:53:21   15   Q.   -- features like color independent control?

09:53:44   16   A.   Are you asking me whether this specific feature, color

09:53:52   17   independent control, is one of the features contained in

09:53:57   18   ASUS products?

09:53:59   19   Q.   It's a little different than that.        It's one of the

09:54:03   20   features that ASUS users like about ASUS products.

09:54:09   21   A.   Well, that is one of our features for our product.

09:54:36   22   However, I do not know how to answer a question regarding

09:54:44   23   what's the customers' preference.

09:54:48   24   Q.   Well, is it safe to say that ASUS markets features that

09:54:54   25   it thinks customers like?
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09:54:57    1   A.   Because I'm not in charge of the marketing section,

09:55:28    2   that's why I cannot answer that question either.

09:55:32    3   Q.   Fair enough, Mr. Lin.       Thank you for your time.

09:55:35    4               MR. BENNETT:     I'll pass, Your Honor.

09:55:37    5               THE COURT:     Cross-examination?

09:55:38    6               MR. JOSHI:     Yes, Your Honor.     Cross-examination

09:55:39    7   and also my direct here, Your Honor.

09:55:43    8               MR. BENNETT:     We agreed for the sake of time to

09:55:46    9   allow that.

09:55:51   10               THE COURT:     Fair enough.

09:55:58   11                              CROSS-EXAMINATION

09:55:58   12   BY MR. JOSHI:

09:55:59   13   Q.   Good morning, Mr. Lin.

09:56:10   14   A.   Good morning.

09:56:10   15   Q.   What time is it in Taipei?

09:56:13   16   A.   10:56 p.m.

09:56:15   17   Q.   Well, thank you.       Thank you for staying up today.

09:56:22   18   A.   You're welcome.

09:56:23   19   Q.   Would you tell us about your academic background?

09:56:30   20   A.   I graduated from National Taiwan University,

09:56:53   21   Electronics Research Institute.           I have a master degree.

09:57:00   22   Q.   And you started working at ASUS in 1996.          Do you recall

09:57:04   23   saying that yesterday?

09:57:12   24   A.   Yes.

09:57:13   25   Q.   And since you joined ASUS in 1996, have you always been
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09:57:21    1   in an engineering function with the company?

09:57:31    2   A.   I have always been in an engineering function with the

09:57:45    3   company.

09:57:46    4   Q.   And when you first started at the entry level at ASUS,

09:57:51    5   what was your title?

09:58:00    6   A.   Engineer.

09:58:03    7   Q.   And what is your job title now?

09:58:06    8   A.   Division director.

09:58:14    9   Q.   Are there engineers that work for you, meaning direct

09:58:21   10   reports to you?

09:58:22   11   A.   Yes.

09:58:29   12   Q.   How many engineers report to you directly?

09:58:33   13   A.   Seven.

09:58:43   14   Q.   Do you have any function in customer service at ASUS?

09:59:01   15   A.   No.

09:59:01   16   Q.   Do you have any function in the department at ASUS that

09:59:07   17   writes technical documents or user guides -- strike that

09:59:11   18   question.     I didn't mean to say...

09:59:13   19               Do you have any function in the ASUS department

09:59:19   20   that writes user guides?

09:59:21   21   A.   No.

09:59:37   22   Q.   Yesterday, there was a discussion between you and

09:59:45   23   Mr. Bennett about companies called ODMs.

09:59:51   24               Do you recall that?

10:00:04   25   A.   Yes.
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10:00:05    1   Q.   Is ODM an acronym for original device manufacturer?

10:00:19    2   A.   Yes.

10:00:22    3               MR. JOSHI:     May I please have DX-139?

10:00:22    4               (Off the record discussion.)

10:00:22    5   BY MR. JOSHI:

10:01:17    6   Q.   And so I see a list here.       Do you see a company named

10:01:26    7   SolidPro Technology Corporation?

10:01:34    8   A.   Yes.

10:01:35    9   Q.   Then if we go down a little bit, do you see a company

10:01:39   10   called Coretronic Corporation?

10:01:50   11   A.   Yes.

10:01:50   12   Q.   And if we go down a few more rows, there is a Qisda

10:02:11   13   Corporation?

10:02:11   14   A.   Yes.

10:02:17   15               MR. JOSHI:     Can you keep scrolling down slowly?

10:02:17   16   BY MR. JOSHI:

10:02:22   17   Q.   Then there is a TPV Technology, Limited.          Do you see

10:02:28   18   that?

10:02:31   19   A.   Yes.

10:02:32   20   Q.   And are all of these companies ODMs?

10:02:36   21               MR. BENNETT:     Objection.   Objection, leading,

10:02:39   22   foundation.

10:02:40   23               THE COURT:     Can you rephrase the question so that

10:02:42   24   it's not leading?

10:02:42   25   BY MR. JOSHI:
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10:02:45    1   Q.   What is the relationship between ASUS and these

10:02:48    2   companies?

10:03:02    3   A.   Our products were entrusted with those companies to

10:03:07    4   manufacture.

10:03:09    5   Q.   Is it your testimony, sir, that the products that ASUS

10:03:17    6   sells are actually manufactured by these companies?

10:03:23    7               MR. BENNETT:     Objection.     Leading.

10:03:25    8               THE COURT:     Sustained.     Rephrase the question.

10:03:25    9   BY MR. JOSHI:

10:03:34   10   Q.   You discussed some products with Mr. Bennett yesterday

10:03:39   11   and today, correct, for example, PA328, PA329?           Do you

10:03:51   12   recall having that discussion?

10:04:07   13   A.   Yes.

10:04:07   14   Q.   Who makes those products for ASUS?

10:04:12   15   A.   By those ODM suppliers here.

10:04:22   16   Q.   And whose brand name is actually on the products?

10:04:37   17   A.   The brand belongs to ASUS.

10:04:40   18   Q.   In your job function, do you have interactions with

10:04:49   19   ODMs?

10:04:50   20   A.   Yes.

10:04:53   21   Q.   You discussed several products with Mr. Bennett

10:05:03   22   yesterday and today.        Are you familiar with operations of

10:05:06   23   those products?

10:05:08   24   A.   Basically familiar.

10:05:25   25   Q.   Okay.
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10:05:29    1            MR. JOSHI:     Can we please have P-262 -- 26-2.

10:05:29    2   BY MR. JOSHI:

10:05:56    3   Q.   Mr. Lin, I'll represent to you this document is a user

10:06:01    4   guide for products C620A.

10:06:07    5            MR. BENNETT:     Objection, Your Honor.       Improper

10:06:10    6   predicate.

10:06:12    7            THE COURT:     Can you lay a foundation for it,

10:06:15    8   Mr. Joshi?

10:06:15    9            MR. JOSHI:     Sure.

10:06:15   10   BY MR. JOSHI:

10:06:18   11   Q.   Mr. Lin, this document was produced in this litigation

10:06:21   12   by Lone Star, and it purports to be a user guide for a

10:06:26   13   product named C620a and a few other products.

10:06:32   14            MR. BENNETT:     Your Honor, same objection.

10:06:34   15   Improper predicate.

10:06:36   16            THE COURT:     I'm going to allow it.

10:06:37   17            MR. JOSHI:     May I proceed, Your Honor?

10:06:39   18            THE COURT:     You may.

10:06:40   19            MR. JOSHI:     Okay.

10:06:43   20            Please scroll down to -- I'm sorry.          Please wait.

10:06:43   21   BY MR. JOSHI:

10:06:48   22   Q.   Are you familiar with the operation of the products

10:06:51   23   mentioned here?

10:06:54   24   A.   I am familiar.   However, I did not personally operate

10:07:09   25   it on each and every one before.
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10:07:14    1                MR. JOSHI:     Mr. Oliver, would you scroll down to

10:07:18    2   the color menu?      Could you make that bigger, please.

10:07:18    3   BY MR. JOSHI:

10:07:53    4   Q.    Mr. Lin, can you see what's shown on this page?

10:07:58    5   A.    Yes.

10:08:04    6   Q.    If a user of this product wanted to adjust a hue or a

10:08:16    7   saturation of a particular color, for example, red or green

10:08:19    8   or blue, how would he do it?

10:08:41    9                MR. BENNETT:     Objection.     Foundation.

10:08:42   10                THE COURT:     I'll allow it.     Overruled.

10:09:01   11   A.    For this specific model, the feature to allow users to

10:09:08   12   make color adjustment for red, green, blue will not provide

10:09:14   13   it.

10:09:14   14   BY MR. JOSHI:

10:09:23   15   Q.    If you -- if you look at the user interface before you,

10:09:27   16   do you see that saturation is mentioned there?

10:09:30   17   A.    Yes.

10:09:38   18   Q.    What saturation control is that?

10:09:43   19   A.    We wish to provide a feature to adjust the saturation

10:10:06   20   for the display.

10:10:08   21   Q.    For which color?

10:10:11   22   A.    Well, technically or theoretically it's not restricted

10:10:28   23   any color, and all the color will be affected.

10:10:35   24   Q.    Okay.    So three rows below the user interface, do you

10:10:42   25   see the mention of saturation, the adjusting range is from
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10:10:46    1   0 to 100?

10:10:50    2   A.   Yes.

10:11:00    3   Q.   What will happen when the user tries to adjust the

10:11:06    4   saturation range from 0 to 100?

10:11:10    5   A.   For all the colors, 0 means not intense and 100 means

10:11:43    6   very intensive.

10:11:49    7   Q.   For which particular color?

10:11:51    8   A.   It will affect all the colors.

10:12:00    9   Q.   Do those colors include red?

10:12:07   10   A.   Of course.

10:12:09   11   Q.   Will those colors include green?

10:12:13   12   A.   Of course.

10:12:16   13   Q.   Will those colors include blue?

10:12:20   14   A.   Of course.

10:12:26   15   Q.   Will those colors include pink?

10:12:30   16   A.   Yes.

10:12:34   17   Q.   How about blueish colors, yellowish colors, magenta,

10:12:47   18   cyan, skin colors?

10:13:00   19   A.   Yes, included.

10:13:02   20               MR. JOSHI:   Mr. Oliver, could you scroll down a

10:13:04   21   little bit?     Would you please pull up P-26-49.

10:13:04   22   BY MR. JOSHI:

10:13:30   23   Q.   Mr. Lin, this document was produced to us by Lone Star

10:13:34   24   in this litigation.      Are you familiar with the product that

10:13:38   25   is mentioned there?
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10:13:58    1   A.    Yes.    This is one of our gaming monitors.

10:14:03    2                MR. JOSHI:   Mr. Oliver, would you scroll down to

10:14:06    3   the color menu.

10:14:06    4   BY MR. JOSHI:

10:14:39    5   Q.    Mr. Lin, if the user of this product wanted to adjust

10:14:45    6   either hue or saturation of a particular color, for

10:14:52    7   example, a red or a green or a blue, how would he or she do

10:14:59    8   it?

10:14:59    9   A.    For this model, these adjustment functionality was not

10:15:30   10   provided.

10:15:33   11   Q.    Do you see saturation mentioned in the user interface?

10:15:50   12   A.    Yes.

10:15:51   13   Q.    What is that feature used to do?

10:16:04   14   A.    To adjust the saturation for the output images of the

10:16:17   15   monitors.

10:16:17   16   Q.    For which colors?

10:16:19   17   A.    All the colors.

10:16:26   18   Q.    In the user interface, do you see a mention of

10:16:31   19   brightness?

10:16:39   20   A.    Yes.

10:16:40   21   Q.    Is brightness different from hue or saturation?

10:16:46   22   A.    Brightness is different from the color hue and

10:17:02   23   saturation.

10:17:02   24   Q.    Do you also see a mention of contrast in the user

10:17:22   25   interface?
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10:17:22    1   A.   Yes.

10:17:23    2   Q.   Is contrast different -- strike that.

10:17:31    3               Is contrast different from hue or saturation?

10:17:38    4   A.   That's right.       They are different indicators.

10:17:51    5   Q.   Do you see a mention of color temp in the user

10:18:03    6   interface?

10:18:03    7   A.   Yes.

10:18:08    8   Q.   Is color temp different from hue or saturation?

10:18:18    9   A.   Hue temp, usually referring to white color, is

10:18:42   10   temperature only, and that's why it's different from the

10:18:46   11   hue and the saturations for other colors.

10:18:53   12   Q.   What is brightness?

10:18:55   13   A.   What is brightness?       I can say that in a coordinate

10:19:30   14   system, the brightness and colors, they are separated.             So

10:19:37   15   I will say the brightness is a different indicator from the

10:19:40   16   other two.

10:19:45   17               MR. JOSHI:    Can you scroll down a little bit,

10:19:48   18   Andrew?     A little bit more.

10:19:48   19   BY MR. JOSHI:

10:19:59   20   Q.   Mr. Lin, when ASUS ships its products to its customers,

10:20:08   21   meaning puts them in a box, are they precalibrated?

10:20:19   22   A.   Well, after the products are out of ODM manufacturers,

10:20:44   23   we will not do any calibrations.

10:20:48   24   Q.   Who does the calibrations?

10:20:50   25   A.   Well, after the users purchase the product, if they
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10:21:07    1   believe there is a need, they need to figure out a way to

10:21:10    2   do the calibration.

10:21:12    3   Q.   Does ASUS require its customers to do calibration?

10:21:35    4   A.   We do not require the users to do the calibration.            We

10:21:46    5   only provided options for them to do so if they wish to.

10:21:49    6   Q.   When a consumer purchases an ASUS product and pulls it

10:22:00    7   out of the box, is that product immediately ready for use

10:22:06    8   without calibration?

10:22:13    9   A.   Yes.

10:22:32   10   Q.   Now, Mr. Bennett showed you several user manuals

10:22:38   11   yesterday and today, correct?

10:22:47   12   A.   Yes.

10:22:48   13   Q.   Do you recall if Mr. Bennett showed you anywhere in any

10:22:53   14   user manual where a recommendation or a requirement for a

10:23:08   15   color calibration was made?

10:23:10   16   A.   I don't recall I ever seen that.

10:23:34   17               MR. JOSHI:   Could I please have P-26-76?

10:23:34   18   BY MR. JOSHI:

10:23:58   19   Q.   Earlier today, do you recall having a conversation with

10:24:04   20   Mr. Bennett about VG248?

10:24:10   21   A.   Yes.

10:24:16   22   Q.   Are you familiar with this product?

10:24:26   23   A.   Yes.

10:24:27   24               MR. JOSHI:   Mr. Oliver, could you scroll down to

10:24:39   25   the color menu?
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10:24:39    1   BY MR. JOSHI:

10:24:43    2   Q.   Mr. Lin, do you need that a little more enlarged or can

10:24:47    3   you see it?

10:24:48    4   A.   I can see it clearly.

10:24:53    5   Q.   If a user of this product wanted to adjust hue or

10:25:05    6   saturation of a particular color, for example, a red, a

10:25:09    7   green, or a blue, how would he or she do it?

10:25:14    8   A.   For this model, such functionality was not provided.

10:25:41    9   Q.   Below the user menu, about two lines down, do you see a

10:25:51   10   mention of saturation, the adjusting range is from 0 to

10:25:55   11   100?

10:25:57   12   A.   Yes.

10:26:05   13   Q.   If a user of this product were to adjust the saturation

10:26:11   14   range from 0 to 100, what would happen?

10:26:25   15               MR. BENNETT:     Objection.   Foundation.

10:26:27   16               THE COURT:     Overruled.

10:26:39   17   A.   Well, from 0 to 100 means that the color will be less

10:26:47   18   intensive to very intensive.

10:26:55   19   BY MR. JOSHI:

10:26:55   20   Q.   Which color or colors is that feature meant to adjust?

10:27:15   21   A.   All the colors on the display will be changed.

10:27:20   22   Q.   Can that feature be used to adjust saturation of just

10:27:30   23   one color but not saturation of other colors?

10:27:34   24   A.   No.

10:27:55   25               MR. JOSHI:     Madam Interpreter, could you say a bit
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10:27:58    1   louder?

10:28:00    2               THE INTERPRETER:   No.

10:28:02    3               MR. JOSHI:   Thank you.

10:28:03    4               Andrew, could you scroll down just a little bit

10:28:07    5   more?     Okay.

10:28:07    6   BY MR. JOSHI:

10:28:12    7   Q.   Mr. Lin, do you recall Mr. Bennett pointed to this

10:28:17    8   sentence on this page:      In the user mode, colors of R, red;

10:28:24    9   G, green; and B, blue; are user configurable.           The

10:28:31   10   adjusting range is from 0 to 100.

10:28:38   11               Do you see that?

10:28:39   12   A.   I can see that.

10:29:02   13   Q.   What range is being referred to there?

10:29:07   14   A.   It to represent the range for, say, color red, it can

10:29:33   15   be from 0 to 100 value.

10:29:52   16   Q.   For the color red, what specifically is being adjusted?

10:29:58   17   A.   To adjust the value of gain.       In English, it's the word

10:30:27   18   "gain."

10:30:28   19   Q.   So to clarify, the phrase "adjusting range is from 0 to

10:30:39   20   100" refers to gain, G-A-I-N?

10:30:46   21   A.   Yes.

10:30:56   22   Q.   Is gain same or different from hue and saturation?

10:31:04   23   A.   They're different.

10:31:18   24   Q.   What is gain?

10:31:22   25   A.   Well, it represented the value for the voltage to drive
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10:31:48    1   the color red.

10:31:53    2               MR. JOSHI:   May I please have P-26-74?

10:31:53    3   BY MR. JOSHI:

10:32:16    4   Q.   Mr. Lin, this exhibit, Plaintiff's 26-74, was produced

10:32:21    5   in this litigation by Lone Star.

10:32:23    6               Are you familiar with a product named VG245?

10:32:31    7   A.   Yes.

10:32:46    8               MR. JOSHI:   Mr. Oliver, could you scroll down to

10:32:49    9   the color menu?

10:32:49   10   BY MR. JOSHI:

10:33:11   11   Q.   Can you see the user interface there, Mr. Lin?

10:33:16   12   A.   Yes.

10:33:18   13   Q.   If a user of this product wanted to adjust hue or

10:33:33   14   saturation of a particular color, for example, a red, a

10:33:37   15   blue, or a green, how would he or she do it?

10:33:41   16   A.   The same answer.     For this particular model, such

10:34:07   17   functionality was not provided.

10:34:09   18   Q.   You had a conversation with Mr. Bennett and a

10:34:23   19   phrase "6-axis control" was used.        Do you recall?

10:34:40   20   A.   Yes.

10:34:41   21   Q.   The products that you and I discussed so far, do any of

10:34:46   22   them have 6-axis control?

10:34:57   23   A.   No.

10:35:03   24   Q.   So let's take a look at one product that does have

10:35:10   25   6-axis control.
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10:35:23    1               MR. JOSHI:    Mr. Oliver, would you mind pulling

10:35:30    2   up 14A?     Could you scroll down to where user interface

10:35:53    3   shows up?     I believe it's toward the end.

10:35:53    4   BY MR. JOSHI:

10:35:58    5   Q.   Mr. Lin, can you see this user interface okay?

10:36:02    6   A.   I can see it, but the picture is very small.

10:36:12    7   Q.   How about now?

10:36:18    8   A.   Yes, now.

10:36:23    9   Q.   Now, Mr. Bennett would -- would discuss with you

10:36:28   10   something, if -- strike that, please.           Sorry.

10:36:32   11               Mr. Bennett discussed with you a feature called

10:36:37   12   Advanced Setting.        Do you recall?

10:36:45   13   A.   Yes.

10:36:45   14   Q.   And through this Advanced Setting, is a user allowed to

10:36:52   15   select either a 6-axis hue or a 6-axis saturation?

10:37:10   16   A.   Yes.

10:37:11   17   Q.   And then after the user selects either a 6-axis hue or

10:37:16   18   a 6-axis saturation, is the user allowed to select a

10:37:19   19   specific color?

10:37:20   20   A.   For what we offered here, there were six options of the

10:37:54   21   axis for the user to pick from.           They are R, G, B, C, M, Y.

10:38:02   22   Q.   Does R stand for red?

10:38:07   23   A.   Yes.

10:38:08   24   Q.   Do G, B, C, M, and Y stand for green, blue, cyan,

10:38:16   25   magenta, and yellow?
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10:38:18    1   A.   Yes.

10:38:27    2   Q.   And once the user selects a color, for example red, he

10:38:37    3   and she -- he or she can then select a value such as 50,

10:38:41    4   correct?

10:38:42    5   A.   Yes.

10:38:55    6   Q.   And none of the products that you and I discussed have

10:39:00    7   this 6-axis menu, correct?

10:39:10    8   A.   Well, other than this particular one we are discussing

10:39:24    9   about now, none of those we discussed before are -- is the

10:39:33   10   6-axis ones.

10:39:34   11               MR. JOSHI:   May I please have DX-87, please?

10:39:38   12               THE COURT:   Mr. Joshi, when you get to a good

10:39:40   13   stopping point, I think it's probably time.

10:39:43   14               MR. JOSHI:   We can stop now.

10:39:44   15               THE COURT:   Is now an okay time?

10:39:46   16               MR. JOSHI:   Yes.

10:39:47   17               THE COURT:   All right.   Ladies and gentlemen of

10:39:47   18   the jury, we're going to take our morning recess at this

10:39:50   19   time.

10:39:51   20               As a reminder to you, please don't discuss the

10:39:54   21   case with anyone, including among yourselves, until all of

10:39:58   22   the evidence has been presented and I've instructed you on

10:40:01   23   the law.

10:40:02   24               We'll be in recess about 15 minutes.

10:40:06   25               COURT SECURITY OFFICER:    All rise.
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10:40:07    1           (Jury out.)

10:40:41    2           THE COURT:     Okay.    Please be seated.

10:40:44    3           I do want to hear from the parties about the

10:40:53    4   motion for mistrial or a curative instruction that was

10:40:59    5   filed last night.

10:41:02    6           Mr. Lee [sic], you can stand down.

10:41:12    7           Mr. Bennett?

10:41:14    8           MR. JOSHI:     Your Honor, his name is Lin, L-i-n.

10:41:19    9           THE COURT:     I'm sorry.     Thank you.

10:41:20   10           MR. BENNETT:      Thank you, Your Honor.

10:41:20   11           May I take my mask off?        Is that all right?

10:41:26   12           THE COURT:     Yes, of course.

10:41:27   13           MR. BENNETT:      For the sake of the mic, I probably

10:41:28   14   ought to go to the podium.

10:41:31   15           Yesterday during opening, Mr. Oliver violated this

10:41:40   16   Court's claim construction order.        Very last paragraph of

10:41:43   17   that order prohibited the parties, Lone Star followed it,

10:41:47   18   from referring directly or indirectly to each other's claim

10:41:58   19   construction positions in the presence of the jury.

10:42:00   20           It continues on.       We quote it in our motion.

10:42:04   21   Your Honor is familiar with it.

10:42:06   22           At some point, Mr. Oliver gave the jury -- not

10:42:09   23   just bad facts.     We can deal with bad facts.        That's what

10:42:13   24   trial is for.     That's what cross-examination is for.

10:42:16   25   That's what experts are for.       He gave them the wrong legal
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10:42:19    1   standard, and he infected -- we're very concerned that he

10:42:23    2   infected the jury with not just an improper burden of proof

10:42:26    3   but the improper standard that violates the Court's order,

10:42:29    4   in fact expresses a view of claim construction that this

10:42:34    5   Court expressly rejected.

10:42:35    6            And that view was Ducharme, and by extension Lone

10:42:41    7   Star, has to show that you can change red without changing

10:42:45    8   any other colors.

10:42:45    9            And we cited several portions of the claim

10:42:48   10   construction order that -- the rationale of the order that

10:42:55   11   rejected that.

10:42:56   12            Page 14, the Court says:       To the extent Defendants

10:42:59   13   argue Claim 1's identifying step is limited to identifying

10:43:03   14   input image pixels that have the exact individual cover --

10:43:08   15   color previously selected, they are incorrect.

10:43:12   16            It continues on, on Page 14 still:          Pixels are

10:43:14   17   identified as having red when they satisfy logical

10:43:17   18   conditions, not when they correspond to a particular color

10:43:21   19   point.

10:43:22   20            Page 15 -- excuse me.

10:43:25   21            Page 16:    When it discusses the claim term without

10:43:28   22   affecting the hue or the saturation of any other individual

10:43:31   23   color in the remaining plurality of input image pixels,

10:43:40   24   rejects another similar argument by the Defendant that's

10:43:43   25   echoed in Mr. Oliver's assertions to the jury.           And it
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10:43:47    1   continued on.     It's not just that one isolated statement.

10:43:52    2              We cited other portions to the Court in our

10:43:54    3   motion.     I won't belabor it.    We're on a 15-minute recess.

10:43:58    4              The last one is on Page 24:      Defendant's

10:44:00    5   interpretation would require all input pixels before

10:44:05    6   transformation to be an RGB format.

10:44:05    7              This isn't a matter that a curative instruction,

10:44:09    8   in our view, really probably can fix.         And the reason for

10:44:12    9   that is the jury saw -- it wasn't just the statement but

10:44:16   10   the demonstration along with the statement.

10:44:17   11              THE COURT:     So there was an demonstration, and an

10:44:20   12   objection was lodged by Mr. Saba, but the argument you're

10:44:25   13   making now wasn't made at the time by Mr. Saba or anyone

10:44:28   14   else.     Why is this argument not waived?

10:44:32   15              MR. BENNETT:     The reason it's not waived is we

10:44:35   16   objected at the appropriate time before --

10:44:37   17              THE COURT:     You objected to the demonstration but

10:44:41   18   not -- an objection was not made on the basis of the

10:44:43   19   argument you're making now.

10:44:44   20              MR. BENNETT:     The dem -- well, two things.       One,

10:44:46   21   we objected to the demonstration.        The demonstration then

10:44:50   22   went, and Mr. Oliver got the statement out before we

10:44:53   23   could -- before we could object.        And we were put in the

10:44:55   24   awkward position of having -- after the Judge had already

10:44:59   25   overruled our objection, to then standing up again and
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10:45:02    1   saying, Judge, you just overruled us.         Now we're going to

10:45:06    2   go back for more in front of the jury --

10:45:07    3           THE COURT:     I understand -- I understand your

10:45:10    4   hesitancy in doing so, but there wasn't -- there was no

10:45:13    5   argument made outside the presence of the jury after

10:45:16    6   openings were made, or really, frankly, at any course

10:45:19    7   during the day.

10:45:20    8           The first time this argument was made was close to

10:45:24    9   midnight last night when the motion was filed.           So it's

10:45:28   10   just a new one on me.     And I'm not -- I guess I'm just

10:45:33   11   curious what -- why you all didn't object following

10:45:38   12   Mr. Oliver's opening.

10:45:39   13           MR. BENNETT:      Mr. Saba's statement was "that ship

10:45:45   14   has sailed," or, in other words, the bell can't be unrung.

10:45:48   15   And I don't think that's a waiver as much as just an

10:45:52   16   expression of that's happened.       Now what do we do about it?

10:45:55   17           We got the daily transcript.         We wanted to see

10:45:58   18   what the statement actually was before we did something

10:45:59   19   this drastic to see if the harm was as bad as we thought it

10:46:04   20   may be, and it was.

10:46:06   21           We thought maybe the curative instruction, in

10:46:08   22   light of what we'd heard, maybe it took care of it, but in

10:46:13   23   re-reading the transcript, we don't think that it does.                An

10:46:16   24   instruction that attorneys don't provide evidence doesn't

10:46:16   25   cure the wrong legal standard infecting the jury's mind
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10:46:20    1   about what infringes and what does not.

10:46:20    2           THE COURT:     Well, not to put too fine a point

10:46:23    3   about it, but whatever Mr. Saba said, whether it was

10:46:32    4   Versata said, whether it was about, you know, the ship has

10:46:34    5   sailed or the moment has passed or something like that, I

10:46:36    6   thought, at least in my mind, that was referring to the

10:46:39    7   fact that a demonstration had occurred over your objection,

10:46:45    8   but, again, no argument was made at the time.

10:46:47    9           So I understand it's maybe, you know, too fine of

10:46:52   10   a point here, but I just, you know -- anyway, is that your

10:47:01   11   argument?   I'll be glad to hear from --

10:47:02   12           MR. BENNETT:      The last point we'll make is to

10:47:04   13   Your Honor's point.     Yes, if possible, on a mistrial, but a

10:47:08   14   curative instruction is always warranted upon request.

10:47:12   15   Your Honor has discretion to grant it.

10:47:14   16           And in light of the prejudice that we've set forth

10:47:16   17   in the motion, at least a curative instruction should be

10:47:19   18   given to let the jury know what they saw and the -- and the

10:47:22   19   legal assertion Mr. Oliver made is not accurate and that

10:47:25   20   they should wipe from their minds any prejudice they may

10:47:29   21   have incurred about our infringement position on that.

10:47:32   22           THE COURT:     Thank you, Mr. Bennett.

10:47:34   23           Mr. Oliver.

10:47:36   24           MR. OLIVER:     Yes, Your Honor.       Defendant does

10:47:46   25   agree that any objection was waived.         But even putting
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10:47:49    1   aside the -- the waiver here, nothing that was said

10:47:55    2   violated the claim construction order.         The claim

10:48:00    3   construction order talked about the different colors and

10:48:03    4   made reference to a -- an equation, an inequality.            And I

10:48:10    5   said a color having red is one where the red component is

10:48:15    6   greater than the blue component and the red component is

10:48:20    7   greater than the green component.        I made reference to two

10:48:26    8   colors, yellow and magenta.

10:48:29    9              In our opposition, we attached a portion of --

10:48:36   10   this is ECF 215.    We attached a portion from Plaintiff's

10:48:43   11   expert's report in which he shows magenta and yellow

10:48:48   12   towards the bottom, and he clarifies the color values.             And

10:48:52   13   he says red is 255, and blue is 255.

10:48:57   14              In that instance, red is not greater than blue so

10:49:00   15   this is not a red color.       It's a different color.       And then

10:49:04   16   I adjusted red, and this different color changed.

10:49:08   17              Same with yellow.    In this report, he shows yellow

10:49:13   18   as 250 -- or red as 255 and green as 255.          Red is not

10:49:19   19   greater than green.     It's equal to green.

10:49:22   20              Under the claim construction order, that's a

10:49:23   21   different color.    And I mentioned and showed that yellow

10:49:27   22   changed.    Nothing violated the claim construction order,

10:49:31   23   Your Honor.

10:49:36   24              THE COURT:   When the -- tell me when the -- who

10:49:41   25   the infringement experts are and when their testimony is
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10:49:46    1   scheduled for.

10:49:47    2           MR. OLIVER:     The Plaintiff --

10:49:48    3           MR. BENNETT:      Sorry.    Dr. Ducharme will testify

10:49:50    4   following Mr. Lin.

10:49:51    5           THE COURT:     This afternoon or today?

10:49:53    6           MR. BENNETT:      Yes.

10:49:55    7           Mr. Oliver.

10:49:58    8           MR. OLIVER:     Yes, and our -- the Defendant's

10:49:59    9   expert is Dr. Stevenson, and I believe he is the second or

10:50:03   10   third witness in the Defense case.

10:50:05   11           THE COURT:     Okay.     Mr. Bennett, let me have you

10:50:08   12   respond to Mr. Oliver's comments.

10:50:10   13           MR. BENNETT:      So if we're going to talk about

10:50:13   14   testing data, that's fine.       If that were what opening were

10:50:19   15   limited to, I wouldn't be here.        That's not what it's

10:50:23   16   limited to.

10:50:24   17           What Mr. Oliver said directly reflects the

10:50:26   18   arguments this Court rejected.       It is the wrong standard.

10:50:30   19           So we ask that the Court at least grant a limiting

10:50:35   20   instruction or a curative instruction that tells the jury

10:50:38   21   that what was said was wrong, that if it tipped the scales

10:50:42   22   at all, that they ought to wipe them clean and everybody

10:50:46   23   deserves a fresh start and Dr. Ducharme can testify and

10:50:49   24   we'll take that result.      But what we can't have is the jury

10:50:52   25   living with the wrong standard in their head as though
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10:50:55    1   Mr. Oliver were the law.

10:50:56    2           THE COURT:     I totally agree with you, Mr. Bennett.

10:50:58    3   However, what Mr. Oliver is saying is that the test

10:51:02    4   reflected testimony that their expert is going to offer

10:51:04    5   that, at least in his argument, does not argue against the

10:51:10    6   Court's claim construction order.        And, you know, we'll see

10:51:16    7   whether the testimony of ASUS's expert is -- is that or

10:51:20    8   not.

10:51:20    9           But I have to tell you, Mr. Oliver, I am

10:51:23   10   considerably troubled by the argument you made.           I did let

10:51:27   11   the demonstration go forward.       Candidly, I think that was a

10:51:32   12   mistake in my part -- on my part.        I'm not sure that it

10:51:37   13   rose to the level of any real prejudice here.           At least

10:51:41   14   based on the arguments the parties have made so far, I

10:51:45   15   certainly don't think it rises to the level of a -- of any

10:51:49   16   prejudice that requires a mistrial here, that creates any

10:51:52   17   unfairness, but I -- I am considering whether a curative

10:51:57   18   instruction is necessary.       I would like to hear what the

10:52:01   19   expert's testimony is.

10:52:04   20           So I will say this, Mr. Oliver.          I don't think you

10:52:09   21   should do demonstrations where counsel for the Plaintiff

10:52:12   22   cannot see what you are doing or indicating to the jury,

10:52:18   23   and certainly not where I cannot see.

10:52:21   24           MR. OLIVER:     Okay.    Your Honor, we -- we -- first,

10:52:25   25   one point of clarification on what you stated.           The portion
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10:52:29    1   of the expert report that we attached and that I just

10:52:32    2   referenced was actually based on what the Plaintiff's

10:52:36    3   expert said.    So we were relying on his evaluation.

10:52:40    4              THE COURT:    That's fair enough.     We'll certainly

10:52:43    5   be in a better position after we hear Dr. Ducharme's

10:52:48    6   testimony this afternoon.

10:52:48    7              MR. OLIVER:    And we --

10:52:48    8              THE COURT:    And if I think it's appropriate, I

10:52:52    9   will give a curative instruction on this at the end of the

10:52:54   10   day today, and you can cross him on it.

10:52:57   11              MR. OLIVER:    And we will have a demonstration in

10:52:59   12   the cross or in the impeachment that uses a monitor that we

10:53:04   13   will need to be able to show the witness and the jury, and

10:53:08   14   it has to --

10:53:08   15              THE COURT:    As long as Mr. Bennett can see it and

10:53:11   16   as long as I can see it, you know, that at least goes --

10:53:15   17   that at least deals with my main objection about how the

10:53:19   18   demonstration yesterday afternoon unfolded.          Mr. Bennett

10:53:22   19   has to be able to see it, as do I.

10:53:25   20              MR. OLIVER:    Your Honor, it has to be on the

10:53:27   21   monitor.    We're not able to project it on all the monitors.

10:53:31   22   So perhaps -- I have been in another courtroom where the

10:53:34   23   Judge has come down and sat in the gallery or sat in the

10:53:39   24   jury box so they could see the demonstration, unless you

10:53:43   25   want us to try and turn the monitor back and forth.
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10:53:45    1               THE COURT:    We'll work on that.    We'll see --

10:53:47    2               MR. OLIVER:    Okay.    Thank you, Your Honor.

10:53:48    3               THE COURT:    Okay.    We'll take a short recess.

10:53:51    4               COURT SECURITY OFFICER:      All rise.

10:53:58    5               (Recess.)

11:10:38    6               COURT SECURITY OFFICER:      All rise.

11:10:46    7               THE COURT:    Okay.    Let's have the jury brought in.

11:10:51    8               (Jury in.)

11:11:16    9               THE COURT:    Please be seated.

11:11:21   10               All right, Mr. Joshi.      You may continue.

11:11:23   11               MR. JOSHI:    Thank you, Your Honor.

11:11:23   12   BY MR. JOSHI:

11:11:38   13   Q.   Welcome back, Mr. Lin.        I understand it's past midnight

11:11:49   14   where you are.     How are you doing?

11:11:51   15   A.   I'm okay.

11:12:00   16   Q.   All right.    So we'll look at a few more manuals now,

11:12:05   17   then I have a couple more questions after that.

11:12:10   18               MR. JOSHI:    Mr. Oliver, could you please bring up

11:12:20   19   DX-87?

11:12:20   20   BY MR. JOSHI:

11:13:14   21   Q.   Mr. Lin, are you familiar with operation of a product

11:13:18   22   known as PG278QR?

11:13:26   23   A.   Yes.

11:13:33   24               MR. JOSHI:    Mr. Oliver, will you please scroll

11:13:36   25   down to the color menu?
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11:13:36    1   BY MR. JOSHI:

11:13:55    2   Q.   Mr. Lin, is this user interface different from the

11:14:03    3   6-axis user interface we looked at in the last document?

11:14:10    4   A.   This one, as featured, was 3-axis functionality, not

11:14:36    5   the 6-axis functionality.

11:14:41    6   Q.   If the user of this product wanted to adjust hue or

11:14:51    7   saturation of a particular color, for example, a red, a

11:14:54    8   green, or a blue, how would he or she do it?

11:15:19    9   A.   For this model, we did not provide such functionality,

11:15:24   10   though.

11:15:25   11               MR. JOSHI:   Mr. Oliver, would you mind going to

11:15:28   12   the top of this document?      We see there's an index.        It

11:15:34   13   would be the second page.

11:15:34   14   BY MR. JOSHI:

11:15:55   15   Q.   So, Mr. Lin, are your ODMs located in the United States

11:16:06   16   or outside the United States?

11:16:08   17   A.   Outside the United States.

11:16:21   18   Q.   Are the factories of your ODMs located inside the

11:16:34   19   United States or outside the United States?

11:16:41   20   A.   Outside the United States.

11:16:44   21   Q.   Are the ASUS products made by the ODMs put into boxes

11:16:52   22   and packaged at the ODM factories?

11:16:57   23   A.   Yes.

11:17:18   24   Q.   Before ASUS products are put into boxes, are they

11:17:28   25   tested by the ODMs?
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11:17:34    1   A.   ODM manufacturers are responsible for testing.

11:17:54    2   Q.   Before ASUS products are put in boxes, are they

11:18:07    3   calibrated by ODMs?

11:18:10    4   A.   Yes.

11:18:10    5   Q.   Do all ASUS products come with user manuals in the

11:18:23    6   boxes?

11:18:35    7   A.   Generally speaking, now the physical copies of the

11:18:50    8   manuals will not be provided.       It can be downloaded.

11:18:54    9   Q.   And by downloaded, you mean downloaded from the

11:18:58   10   Internet?

11:19:00   11   A.   Yes.

11:19:10   12               MR. JOSHI:   Could I please have DX-88, please?

11:19:10   13   BY MR. JOSHI:

11:19:25   14   Q.   Mr. Lin, are you familiar with the PG279 product?

11:19:31   15   A.   Yes.

11:19:40   16               MR. JOSHI:   Mr. Oliver, would you just scroll down

11:19:43   17   one page -- or two pages to where the index is or table of

11:19:49   18   contents?     Please scroll down to where the color is.

11:19:49   19   BY MR. JOSHI:

11:20:06   20   Q.   Now, Mr. Lin, you have looked at several user guides,

11:20:13   21   and each time I have had to ask Mr. Oliver to scroll down

11:20:19   22   to where the color user interface is.         Do you see that the

11:20:24   23   user manuals have many pages?

11:20:45   24   A.   Yes.

11:20:45   25   Q.   Do user manuals provide important -- strike that.
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11:20:52    1            Do user manuals provide instructions for

11:20:56    2   assembling the product?

11:20:59    3            MR. BENNETT:     Objection.    Leading.

11:21:01    4            THE COURT:     Hold on just a moment.       Can you

11:21:06    5   rephrase the question to avoid the objection?

11:21:06    6   BY MR. JOSHI:

11:21:15    7   Q.   What are the various types of instructions included in

11:21:19    8   the user manuals?

11:21:22    9   A.   I don't quite understand this question.         I'm sorry.

11:21:36   10   Q.   Okay.   Let's -- let's go to this color user interface.

11:21:49   11   Are you able to see it, sir?

11:21:51   12   A.   Yes, I can.

11:21:59   13   Q.   In this PG279 product, if a user wanted to adjust hue

11:22:13   14   or saturation of a particular color, for example, red,

11:22:17   15   green, or blue, how would he or she do it?

11:22:45   16   A.   Same answer.    On this particular model, the

11:22:48   17   functionality was not provided.

11:22:51   18   Q.   The saturation feature shown in that user interface, is

11:22:59   19   that for adjusting saturation of one color, some colors, or

11:23:05   20   all colors?

11:23:27   21   A.   All the colors can be adjusted.

11:23:32   22   Q.   Together or individually?

11:23:41   23   A.   All together.

11:23:51   24   Q.   How many different colors are shown on ASUS's monitors?

11:24:01   25   A.   In the typical models of our products, they would be
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11:24:23    1   over 100,000.

11:24:26    2   Q.   Did you say 100,000 different colors?

11:24:37    3   A.   Yes.

11:24:39    4               MR. JOSHI:   Mr. Oliver, may I have 89 -- DX-89

11:24:46    5   brought up?

11:24:46    6   BY MR. JOSHI:

11:24:57    7   Q.   Mr. Lin, are you familiar with a VG245 product?

11:25:08    8   A.   Yes.

11:25:13    9               MR. JOSHI:   Mr. Oliver, could you go to the color

11:25:16   10   user interface?     Actually, go back up a little bit, Andrew.

11:25:31   11   Would you go up to where -- go up to...

11:25:55   12   BY MR. JOSHI:

11:26:10   13   Q.   Mr. Lin, is this product designed to be connected to

11:26:17   14   all of these various cables shown here?

11:26:33   15   A.   Yes.

11:26:33   16   Q.   Does ASUS require that its customers use all of those

11:26:47   17   cables?

11:26:59   18   A.   No.

11:26:59   19   Q.   Then why are they shown there?

11:27:04   20   A.   Well, as needed, the users would come to the menu to

11:27:26   21   check the references about what type of cables can be

11:27:31   22   connected.

11:27:35   23   Q.   If the users choose not to use several of these cables,

11:27:43   24   would the monitor still function normally?

11:27:46   25   A.   No.
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11:28:06    1   Q.   Let me reask my question.

11:28:10    2             The users -- do the users have to use all these

11:28:16    3   cables?

11:28:19    4             MR. BENNETT:     Objection.     Leading.

11:28:22    5             THE COURT:     Can you rephrase the question?

11:28:26    6             MR. JOSHI:     Sure.

11:28:26    7   BY MR. JOSHI:

11:28:31    8   Q.   Which ones of these cables are not essential for the

11:28:35    9   operation of the monitor?

11:28:37   10   A.   The users can only pick one of those cables shown here,

11:29:10   11   that only one will make the monitor work.

11:29:18   12   Q.   Would you agree that the power cable would be essential

11:29:23   13   for operation of the monitor?

11:29:28   14   A.   Agree.

11:29:38   15   Q.   Would you agree that an HDMI cable is not essential for

11:29:45   16   operation of a monitor?

11:29:47   17             MR. BENNETT:     Objection.     Leading.

11:29:48   18             THE COURT:     Sustained.

11:29:49   19             MR. JOSHI:     All right.     Let's move on.    Go down to

11:29:52   20   the color menu, please.

11:29:52   21   BY MR. JOSHI:

11:30:25   22   Q.   With reference to this user interface, Mr. Lin, is the

11:30:30   23   use of this user interface by a user essential or optional?

11:30:43   24   A.   Not essential.

11:30:55   25   Q.   If the user of this ASUS product never used this user
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11:31:13    1   interface, what would happen?

11:31:14    2             MR. BENNETT:     Objection.    Foundation.    Calls for a

11:31:18    3   hypothetical.   Speculation.

11:31:21    4             THE COURT:     If you could lay a foundation and

11:31:22    5   instruct the witness not to speculate about it, I will

11:31:26    6   allow it.

11:31:28    7             MR. JOSHI:     All right.

11:31:28    8   BY MR. JOSHI:

11:31:29    9   Q.   Please don't speculate, Mr. Lin.

11:31:32   10             When would a user use this user interface?

11:32:04   11   A.   When they are unsatisfied or unhappy about the hue and

11:32:13   12   saturation of a -- output image color, they would go to

11:32:21   13   make such adjustment according to the manual.

11:32:35   14             Strike it.

11:32:38   15             THE INTERPRETER:      May interpreter request a

11:32:41   16   repetition, please?

11:32:42   17             MR. JOSHI:     Are you asking me to repeat my

11:32:44   18   question?

11:32:46   19             THE INTERPRETER:      No.   May the interpreter request

11:32:51   20   a repetition from the witness for the answer, please?

11:32:54   21             MR. JOSHI:     Yes.

11:33:17   22   A.   When the users are unsatisfied or unhappy about the

11:33:22   23   brightness, contrast, saturations of the output images,

11:33:30   24   they can come to make the adjustment according to this

11:33:34   25   manual.
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11:33:34    1   BY MR. JOSHI:

11:33:40    2   Q.   Can this product be operated without making adjustments

11:33:45    3   to this user interface?

11:34:01    4   A.   No.

11:34:08    5   Q.   Okay.    Let's -- let me -- let me move on to a new --

11:34:20    6   new exhibit.

11:34:21    7               MR. JOSHI:     Could you please pull up No. 90,

11:34:28    8   Defense 90?

11:34:28    9   BY MR. JOSHI:

11:34:45   10   Q.   Mr. Lin, are you familiar with a product VG248?

11:34:56   11   A.   Yes.

11:34:59   12               MR. JOSHI:     Could you please go down to the color?

11:35:03   13               MR. BENNETT:     This is asked and answered,

11:35:05   14   Your Honor.      We've already covered --

11:35:07   15               THE COURT:     I'm sorry?

11:35:08   16               MR. JOSHI:     I'm sorry.

11:35:09   17               MR. BENNETT:     This is asked and answered.     We have

11:35:12   18   already covered this manual.

11:35:13   19               THE COURT:     Let's move along, Mr. Joshi.

11:35:15   20               MR. JOSHI:     All right.   Let's do just one or two

11:35:19   21   more.      Please give me DX-91.    Sorry about that.

11:35:19   22   BY MR. JOSHI:

11:35:34   23   Q.   Mr. Lin, are you familiar with operation of VG278?

11:35:47   24   A.   Yes.

11:35:48   25               MR. JOSHI:     Mr. Oliver, would you please scroll
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11:35:52    1   down to the color menu?

11:35:52    2   BY MR. JOSHI:

11:36:04    3   Q.   Mr. Lin, momentarily you used words such as

11:36:13    4   "satisfied," "unhappy."        Do you recall that, just moments

11:36:17    5   ago?

11:36:17    6   A.   Yes.

11:36:28    7   Q.   If a user is satisfied with the display colors, is the

11:36:38    8   user required to make adjustments to this menu to operate

11:36:43    9   the monitor?

11:37:10   10   A.   Generally if they are satisfied, there's no need for

11:37:16   11   them to make such adjustments.

11:37:21   12   Q.   If a user of this product wanted to adjust a hue or a

11:37:29   13   saturation of a particular color, for example, a red, a

11:37:33   14   green, or a blue, how would he or she do it?

11:37:37   15   A.   Same answer.    This particular model, this function is

11:38:01   16   not provided.

11:38:02   17   Q.   This product does not provide the 6-axis hue control;

11:38:16   18   is that true?

11:38:17   19               MR. BENNETT:     Objection --

11:38:18   20               THE COURT:     I'll sustain the objection.

11:38:20   21               MR. JOSHI:     I'll rephrase.

11:38:20   22   BY MR. JOSHI:

11:38:25   23   Q.   You recall we talked about a 6-axis hue and 6-axis

11:38:30   24   saturation user interface awhile ago.         Do you recall that?

11:38:35   25   A.   Yes.
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11:38:45    1   Q.   This product does not provide the 6-axis -- I'm sorry.

11:38:52    2               Does this product provide the 6-axis control user

11:38:58    3   interface?

11:39:09    4   A.   No.

11:39:09    5   Q.   What percentage of ASUS's products provide the 6-axis

11:39:16    6   control user interface?

11:39:18    7               MR. BENNETT:     Objection.   Foundation.

11:39:20    8               THE COURT:     Sustained.

11:39:20    9   BY MR. JOSHI:

11:39:26   10   Q.   Mr. Lin, do you know which ASUS products provide the

11:39:34   11   6-axis hue or saturation control user interface and which

11:39:42   12   ones don't?

11:39:44   13   A.   Generally speaking, only professional series would have

11:40:16   14   the 6-axis control functionality.

11:40:20   15   Q.   Did you say professional series?

11:40:24   16   A.   Yes.

11:40:33   17   Q.   Does professional series refer to a specific subset of

11:40:45   18   ASUS's products?

11:40:47   19   A.   It's one of the series of ASUS monitors.

11:41:21   20   Q.   Do the products in the professional series of monitors

11:41:24   21   have 6-axis hue or saturation control?

11:41:33   22               THE INTERPRETER:     Interpreter requests a

11:41:44   23   repetition because of connection, please.

11:41:47   24               The interpreter requests a repetition of the

11:41:53   25   question due to the connection, please.
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11:41:54    1               MR. JOSHI:     Okay.   Sure.

11:41:54    2   BY MR. JOSHI:

11:41:56    3   Q.   Do ASUS's monitors covered by the professional series

11:42:00    4   provide 6-axis hue or saturation control?

11:42:12    5   A.   Yes.

11:42:23    6   Q.   Do you know what percentage of ASUS's monitors fall in

11:42:34    7   the professional series category?

11:42:38    8               MR. BENNETT:     Objection.    Foundation.

11:42:40    9               THE COURT:     Can you lay a foundation?

11:42:43   10               MR. JOSHI:     Well, he said he's familiar with these

11:42:46   11   products.

11:42:46   12               MR. BENNETT:     Percentages are different than the

11:42:49   13   products.     The overall products that ASUS sells, he's not

11:42:53   14   laid any foundation.

11:42:55   15               THE COURT:     Can you lay a foundation for it,

11:42:57   16   Mr. Joshi?

11:42:57   17   BY MR. JOSHI:

11:43:01   18   Q.   Do you know which ASUS monitors fall in the

11:43:05   19   professional series category?

11:43:09   20   A.   Generally speaking, if the model names start with the

11:43:33   21   letter P, it will fall into this category.

11:43:38   22   Q.   Do you know which ASUS monitors fall outside the

11:43:42   23   professional series category?

11:43:45   24   A.   Well, yes.    Other than those model numbers starting

11:44:07   25   with the letter P, the others would not fall into this
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11:44:11    1   category.

11:44:12    2   Q.   Are monitors whose names begin with the letters PG fall

11:44:28    3   within the professional series category?

11:44:59    4   A.   Well, I need to correct my answers provided earlier.

11:45:06    5               So here, PG stands for professional gaming.

11:45:13    6   Professional gaming.     That's why I need to correct my

11:45:15    7   answer.

11:45:23    8   Q.   Thank you, Mr. Lin.

11:45:25    9               Do monitors whose names begin with PA fall in the

11:45:34   10   professional series category?

11:45:49   11   A.   Yes.    Well, I need to add an explanation for that.

11:46:09   12   That was short for P-R-O-A-R-T.        You don't need to

11:46:17   13   translate that.

11:46:19   14   Q.   Let me -- let me -- please just answer the questions

11:46:23   15   I'm asking you, Mr. Lin.      I know you want to explain more,

11:46:27   16   but please just tell me what I'm asking you.

11:46:37   17   A.   Okay.

11:46:38   18   Q.   Okay.    Do monitors whose names begin with PA fall in

11:46:48   19   the professional series category?

11:46:58   20   A.   Yes.

11:46:58   21   Q.   Do monitors of ASUS whose names begin with PG fall in

11:47:10   22   the professional series category?

11:47:12   23   A.   No.

11:47:21   24   Q.   Okay.    So do the monitors that fall -- strike that.

11:47:32   25               Do the monitors whose names begin with PG fall
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11:47:41    1   outside the professional series category?

11:47:43    2   A.   Yes.

11:47:54    3   Q.   Okay.    Do monitors that fall within the professional

11:48:01    4   series category contain the 6-axis hue or 6-axis saturation

11:48:11    5   user interface?

11:48:14    6   A.   Should be the case for all of those.

11:48:38    7   Q.   For the monitors that fall outside the professional

11:48:45    8   series category, do they have the 6-axis control or do they

11:48:54    9   not have the 6-axis control?

11:48:56   10   A.   They do not.

11:49:16   11   Q.   Do you know what percentage of ASUS's monitors fall in

11:49:30   12   the professional series category?

11:49:32   13               MR. BENNETT:     Objection, foundation.

11:49:34   14               MR. JOSHI:     I laid the foundation --

11:49:36   15               THE COURT:     He asked:   Do you know?

11:49:37   16               MR. BENNETT:     Oh, do you know, I'm sorry.     You're

11:49:39   17   right.

11:49:58   18   A.   I do not know.

11:49:58   19   BY MR. JOSHI:

11:50:00   20   Q.   Okay.    Thank you, Mr. Lin.

11:50:08   21   A.   You're welcome.

11:50:15   22                            REDIRECT EXAMINATION

11:50:15   23   BY MR. BENNETT:

11:50:45   24   Q.   Mr. Lin, I'd like to take you back to Plaintiff's

11:50:49   25   Exhibit 26-76.
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11:51:17    1               Do you remember our conversation about this

11:51:19    2   manual?

11:51:21    3   A.   Yes.

11:51:25    4   Q.   Do you remember our conversation about this manual

11:51:29    5   during your deposition?

11:51:30    6   A.   I do not.

11:51:45    7   Q.   I figured.

11:51:49    8               Just now, I heard Mr. Joshi ask you a whole bunch

11:51:52    9   of questions about this manual.          Do you remember your

11:51:54   10   conversation with Mr. Joshi about this manual?

11:51:57   11   A.   Yes, I do.

11:52:13   12   Q.   And he asked you about what happens when you adjust the

11:52:18   13   R value.     Do you remember when he asked you about that,

11:52:21   14   changing RGB values?

11:52:33   15   A.   Yes, I do.

11:52:34   16   Q.   But that's different than what you told us during your

11:52:41   17   deposition, isn't it, sir?

11:52:44   18   A.   I don't remember we had any discussion in this matter

11:53:02   19   during the deposition, or I forgot.

11:53:05   20   Q.   Well, let me remind you a little bit more about your

11:53:10   21   deposition.      You were designated --

11:53:13   22               MR. BENNETT:     Go ahead, Ms. Josh.    Go ahead.

11:53:22   23               MR. JOSHI:     Your Honor?

11:53:23   24   BY MR. BENNETT:

11:53:25   25   Q.   Your employer, ASUS, designated you as a witness --
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11:53:29    1            THE COURT:     Hold on just a moment.

11:53:30    2            What's the objection?

11:53:31    3            MR. JOSHI:     Your Honor, if he has -- if he wants

11:53:33    4   to impeach the witness with something he said, that's one

11:53:36    5   thing, but we're past discovery now.

11:53:38    6            THE COURT:     I think we're getting to the

11:53:41    7   impeachment.

11:53:41    8            MR. JOSHI:     Okay, sir.

11:53:42    9            MR. BENNETT:     Indeed.

11:53:42   10   BY MR. BENNETT:

11:53:45   11   Q.   We asked your employer to produce somebody at a

11:53:49   12   deposition to answer our questions about manuals like

11:53:52   13   Plaintiff's Exhibit 76.      Do you remember that?

11:54:23   14   A.   I'm sorry.   You weren't asking me whether I remember

11:54:28   15   that?

11:54:29   16   Q.   I'll tell you what.    I'll do one better.

11:54:32   17            MR. BENNETT:     Your Honor, for demonstrative

11:54:34   18   purposes only, I'd like to publish to the jury the

11:54:37   19   deposition notice of ASUSTeK.

11:54:39   20            THE COURT:     I'll allow that.

11:54:41   21            MR. BENNETT:     Thank you.

11:54:43   22            It's Plaintiff's Exhibit 72, Denver.

11:54:43   23   BY MR. BENNETT:

11:54:58   24   Q.   This is the deposition notice.       You'll see at the top

11:55:01   25   right-hand corner there's a stamp.        And that stamp is there
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11:55:13    1   because we discussed this document at your deposition,

11:55:16    2   right?

11:55:32    3   A.   I'm sorry.   I don't understand the content of this

11:55:37    4   document.

11:55:39    5              MR. BENNETT:   Madam Interpreter, you're welcome to

11:55:42    6   translate that into Chinese for him so he can understand.

11:55:46    7   And then let me know, please, when you're done.

11:55:49    8              THE INTERPRETER:    May the interpreter clarify?

11:55:51    9   The interpreter is required to interpret the notice in its

11:55:55   10   entirety or just the caption?

11:55:57   11              MR. BENNETT:   Thank you for that clarification.

11:55:59   12              Definitely not in its entirety, ma'am.         Just the

11:56:02   13   part you can see on your screen.

11:56:41   14              THE INTERPRETER:    Would you please scoot it up a

11:56:45   15   little bit?

11:56:45   16              MR. BENNETT:   That's all.     If you're through what

11:56:49   17   you can see just through the title of the document, that's

11:56:52   18   all I need for now, ma'am.

11:56:54   19              THE INTERPRETER:    The interpreter can't see the

11:56:56   20   title --

11:56:56   21              MR. BENNETT:   Oh, okay.

11:56:56   22              THE INTERPRETER:    -- yet.    It's blocked by the

11:56:58   23   video.

11:57:00   24              MR. BENNETT:   So can you scroll down just a little

11:57:02   25   bit, Denver?
    Case 6:19-cv-00059-RWS Document 233 Filed 06/11/21 Page 65 of 193 PageID #: 3498
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11:57:02    1   BY MR. BENNETT:

11:57:30    2   Q.   Did that refresh your recollection, Mr. Lin?

11:57:41    3   A.   Well, I did attend the deposition.

11:57:43    4   Q.   All right.     And I know you did because we took it, but

11:57:46    5   my question is this:      When we asked ASUSTeK to produce

11:57:52    6   somebody at a deposition, they gave us you, correct?

11:58:11    7   A.   Right.

11:58:16    8   Q.   Okay.    Now, just a moment ago, we in this courtroom and

11:58:20    9   the jury heard you tell Mr. Joshi all about how if you

11:58:25   10   adjust one axis, when we're looking at Plaintiff's

11:58:31   11   Exhibit 26-76, what will happen.        Do you remember that

11:58:35   12   conversation with Mr. Joshi?

11:58:55   13   A.   Yes, with Mr. Joshi.

11:58:59   14   Q.   Okay.    Now, when we took your deposition, do you

11:59:05   15   remember the circumstances at that deposition?           Do you

11:59:07   16   remember it was 3:00 a.m. in Dallas when we took that

11:59:09   17   deposition?

11:59:13   18   A.   Well, it was in the morning time in Taipei.          I am not

11:59:36   19   sure what time in Dallas.

11:59:37   20   Q.   Fair enough.

11:59:39   21            But when we asked you at your deposition, where

11:59:44   22   you represented your employer, if I increased the R value

11:59:48   23   from 50 to 60, meaning the value of red, I have not changed

11:59:54   24   the value of G or B, and we asked you if that was correct,

12:00:00   25   do you remember what your answer was under oath back in
    Case 6:19-cv-00059-RWS Document 233 Filed 06/11/21 Page 66 of 193 PageID #: 3499
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12:00:04    1   November?

12:00:23    2   A.   Well, I don't remember what I answered to that question

12:00:34    3   at that time.

12:00:34    4   Q.   Your answer was on Line 8 of Page 20 -- Page 23,

12:00:40    5   Line 8:      I'm not sure.

12:00:42    6              We followed up --

12:00:44    7              MR. BENNETT:      Go ahead.

12:00:44    8   BY MR. BENNETT:

12:01:04    9   Q.   And that was true -- and that was a truthful answer,

12:01:06   10   wasn't it, sir?

12:01:08   11              MR. BENNETT:      I'm sorry.   Please interpret it.

12:01:11   12   A.   Okay.    I see it now.

12:01:11   13   BY MR. BENNETT:

12:01:18   14   Q.   And that was a truthful answer, wasn't it, sir?

12:01:31   15   A.   Hold on.    I'm reading this question still.

12:01:37   16   Q.   Sir, I've already read you the question.         Your answer

12:01:40   17   was:   I'm not sure.      And you -- and that was --

12:01:55   18   A.   From the record you're showing, I did answer this way

12:02:01   19   at that time.

12:02:02   20   Q.   That's right.      And then we followed up again.       We asked

12:02:07   21   you why.      And on Line 10 to 11, you said:      We provide the

12:02:13   22   adjustment to the R axis, but I'm not sure whether it will

12:02:18   23   affect the others.

12:02:19   24              That's what you said in November.

12:02:37   25              THE COURT:     Mr. Bennett, just a moment.      There's
    Case 6:19-cv-00059-RWS Document 233 Filed 06/11/21 Page 67 of 193 PageID #: 3500
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12:02:41    1   an objection.

12:02:42    2             MR. JOSHI:     Your Honor, there's nothing

12:02:44    3   inconsistent here.     He's making an objection with a prior

12:02:47    4   consistency --

12:02:48    5             THE COURT:     Sit down, Mr. Joshi.

12:02:50    6             Continue.

12:02:50    7   BY MR. BENNETT:

12:02:55    8   A.   I think --

12:02:55    9             MR. BENNETT:     Go ahead, translator.      Please

12:02:58   10   translate, and then I guess we'll get an answer.            Let me

12:03:02   11   try again.

12:03:04   12             THE INTERPRETER:     The interpreter did not hear the

12:03:06   13   answer.

12:03:06   14   BY MR. BENNETT:

12:03:08   15   Q.   Okay.   We followed up and asked you why -- and your

12:03:12   16   answer, 3:00 a.m. Dallas time on November 30th, 2020, was:

12:03:16   17   We provide the adjustment to the R axis, but I'm not sure

12:03:21   18   whether it will affect the others.

12:03:24   19             It's on screen, sir.     That was your testimony,

12:03:27   20   wasn't it?

12:03:56   21   A.   Now I see it.

12:03:58   22   Q.   And you told the truth that day, didn't you?

12:04:00   23   A.   On that day I did tell the truth.

12:04:10   24   Q.   And then we followed up again, trying to get an answer

12:04:15   25   to the question that you had been provided to give us.               On
    Case 6:19-cv-00059-RWS Document 233 Filed 06/11/21 Page 68 of 193 PageID #: 3501
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12:04:19    1   Line 19 to 21, we asked:       If I change the value of R

12:04:23    2   without changing the value of G, does the value of G

12:04:28    3   change?

12:04:29    4              And your answer was:     Again, I am not sure.       We

12:04:35    5   provide the adjustment to R, G, and B.

12:04:38    6              Do you see that?

12:04:40    7   A.   Well, this answer looked a little strange.          I don't

12:05:38    8   know what the original question was about.

12:05:43    9              MR. BENNETT:     I move to strike, Your Honor, as

12:05:47   10   nonresponsive.

12:05:48   11              THE COURT:     I'll sustain the objection.      Strike

12:05:50   12   the answer and instruct the jury to ignore the response.

12:05:50   13   BY MR. BENNETT:

12:06:04   14   Q.   I'll try again, Mr. Lin.

12:06:06   15              On November 30, 2000 [sic], we asked you under

12:06:11   16   oath:     If I change the value of R without changing the

12:06:16   17   value of G, does the value of G change?

12:06:20   18              And your answer under oath on that day, sir, was:

12:06:24   19   I'm not sure.      We provide the adjustment to R, G, and B.

12:06:30   20              Correct?

12:07:22   21   A.   I see that.      However, Ms. Interpreter, would you please

12:07:30   22   help me to ask clarification here, please.          When it says,

12:07:35   23   "I'm not sure," does that mean that I am not sure whether

12:07:39   24   we do provide that functionality?

12:07:45   25   Q.   Mr. Lin, I don't know what you meant.         I just got your
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12:07:48    1   answers on a piece of paper because ASUS gave us you as a

12:07:53    2   witness.     Your answer was:   I'm not sure.

12:07:55    3              Let me ask it this way.     Let me try this.      After a

12:07:59    4   deposition, you were given a chance -- you were -- or at

12:08:02    5   least your company was, your employer was given a chance on

12:08:06    6   a form called an errata to make changes, to make any

12:08:11    7   clarifications to your testimony that they wanted.

12:08:14    8              MR. BENNETT:   Please provide the translation, and

12:08:16    9   I'll finish the question.

12:08:16   10   BY MR. BENNETT:

12:08:58   11   Q.   And you never provided any changes or clarifications to

12:09:04   12   your November 30th deposition between now and today when

12:09:10   13   you appeared in this courtroom, correct?

12:09:15   14   A.   Who should I make -- who should I have made that

12:09:40   15   clarification to?

12:09:42   16   Q.   Mr. Lin, you can ask your lawyers questions when you're

12:09:47   17   not on cross.     My question is real simple.       There is a

12:09:50   18   process whereby you can make changes and clarifications to

12:09:54   19   your testimony.

12:09:54   20              My question is this:    ASUS, you will agree with

12:09:57   21   me, never approached you to make any changes or

12:10:01   22   clarifications to your November 30th testimony; isn't that

12:10:05   23   true, sir?

12:10:45   24   A.   Well, after the deposition, I have never received such

12:10:51   25   record, and I do not have any motive to pursue that,
    Case 6:19-cv-00059-RWS Document 233 Filed 06/11/21 Page 70 of 193 PageID #: 3503
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12:10:59    1   either, right?

12:11:01    2   Q.   Well, the problem, Mr. Lin, is today, despite all of

12:11:07    3   those answers on November 30th, 2020, you walked into this

12:11:11    4   court -- or you walked and appeared in this court with

12:11:17    5   Mr. Joshi and contradicted every answer you gave us on

12:11:21    6   November 30th that we just reviewed; isn't that right?

12:11:31    7   A.   It's not exactly contrary to those answers, right?              And

12:11:58    8   at that moment my answer was I was not sure.

12:12:02    9   Q.   That's right.       On November 30th, you told us you didn't

12:12:06   10   know and you weren't sure.        But today you walked in and

12:12:09   11   told Mr. Joshi that you were to this jury, right?

12:12:15   12   A.   That's right.       Because the time changed, right?      And

12:12:44   13   now it is already six months after the deposition.

12:12:51   14   Q.   That's true, except I think we still agree, and you can

12:12:58   15   correct me if I'm wrong, you never submitted that form to

12:13:01   16   tell us that you were going to change your answers, did

12:13:07   17   you?

12:13:07   18   A.   I do not even know such procedure exists.

12:13:33   19   Q.   And you swore to tell the truth to this jury when we

12:13:39   20   swore you in yesterday, right?

12:13:42   21   A.   Yes.

12:13:54   22   Q.   Which version of the truth do you want the jury to

12:13:58   23   believe, Mr. Lin, the one you told on the 30th or the one

12:14:02   24   you told today?

12:14:04   25               MR. JOSHI:    Objection, Your Honor.
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12:14:05    1            THE COURT:     What's the objection?

12:14:06    2            MR. JOSHI:     I haven't had a chance, Your Honor, to

12:14:09    3   ask him questions about what he said at the deposition.

12:14:11    4            THE COURT:     I'm sorry?

12:14:13    5            MR. JOSHI:     I haven't had a chance to ask him what

12:14:16    6   he said at the deposition.

12:14:16    7            THE COURT:     What's the objection to the question,

12:14:20    8   Mr. Joshi?

12:14:20    9            MR. JOSHI:     Mischaracterizing the witness's

12:14:23   10   testimony.

12:14:23   11            THE COURT:     I'm going to let him.       You'll have a

12:14:25   12   opportunity to ask questions.

12:14:30   13            MR. JOSHI:     Thank you.

12:14:30   14            MR. BENNETT:     Let me repeat the question, Madam

12:14:34   15   Translator.

12:14:34   16   BY MR. BENNETT:

12:14:34   17   Q.   Which version of the truth do you want the jury to

12:14:37   18   believe, your November 30th, 2020, testimony when you

12:14:39   19   didn't know a thing, when ASUS was supposed to produce

12:14:43   20   somebody who did, or your version of the testimony to this

12:14:45   21   jury now?     Which version?

12:15:15   22   A.   I told you the truth during the deposition.          So am I

12:15:20   23   telling the truth here in this trial.

12:15:25   24            MR. BENNETT:     I see we're past noon, Your Honor.

12:15:27   25   I can stop for lunch or --
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12:15:29    1              THE COURT:     Yeah, I think we should probably stop.

12:15:33    2   How much more do you have, Mr. Bennett?

12:15:35    3              MR. BENNETT:     I have a lot.

12:15:36    4              THE COURT:     Okay.   Let's go ahead and break for

12:15:40    5   lunch now.

12:15:40    6              Ladies and gentlemen of the jury, we'll recess for

12:15:42    7   lunch now.    Don't discuss the case until all of the

12:15:46    8   evidence has been presented and I have instructed you on

12:15:50    9   the law.

12:15:51   10              We'll be in recess until about 1:15.

12:15:54   11              COURT SECURITY OFFICER:      All rise for the jury.

12:16:04   12              (Jury out.)

12:16:20   13              THE COURT:     Okay.   Please be seated.

12:16:23   14              Mr. Joshi, I want to say, I apologize for being

12:16:26   15   short with you in response to one of your objections.             I'm

12:16:30   16   not a fan of speaking objections.

12:16:32   17              MR. JOSHI:     Okay.

12:16:32   18              THE COURT:     So if you have an objection to a

12:16:34   19   question, say that you have an objection and state the

12:16:37   20   grounds for it.    But this sort of discussion about how the,

12:16:40   21   you know, answer was not inconsistent with the prior

12:16:43   22   testimony, that was not appropriate.         So I shut that

12:16:46   23   conversation down, and perhaps I did so too rudely.            So my

12:16:53   24   apologies.

12:16:54   25              MR. JOSHI:     Thank you, Your Honor.
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12:16:57    1              MR. BENNETT:     We have a discovery sanction problem

12:17:02    2   now.     There was a limine.    It happened too fast, so that's

12:17:08    3   my fault, but the sidebar problem contributed to it.

12:17:08    4              I'm sorry.

12:17:12    5              But this man was designated as ASUS's corporate

12:17:17    6   representative on these topics, and he changed materially

12:17:21    7   that testimony, and we just confirmed it on the record.

12:17:26    8              His entire, air quotes, cross by Mr. Joshi is

12:17:32    9   suspect on these topics.       All of these color changes that

12:17:36   10   he didn't know about before that they deprived us of an

12:17:43   11   opportunity to obtain, and now they show up here with

12:17:47   12   something totally different.

12:17:48   13              I cross-examined him, but we move to strike almost

12:17:52   14   his entire testimony or that the jury be given an

12:17:54   15   instruction that given the failure to produce somebody on

12:17:57   16   November 30th who actually knew to answer the questions,

12:18:01   17   they should disregard Mr. Lin's testimony entirely on those

12:18:05   18   issues.

12:18:05   19              MR. JOSHI:     So, Your Honor, let me explain.

12:18:07   20              THE COURT:     It's not on.   The light has to be

12:18:10   21   green.

12:18:16   22              MR. JOSHI:     Let me explain a big problem here that

12:18:19   23   I picked up on.     I was at the deposition.

12:18:22   24              Your Honor, there are two -- two sides to the

12:18:24   25   discussion on colors.       When one is on the user interface
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12:18:30    1   side selecting a color, which is what I mostly spoke with

12:18:34    2   Mr. Lin about, when you can either select this color, that

12:18:37    3   color, does this menu allow this, does that menu allow

12:18:41    4   that, that's one side of the conversation.

12:18:43    5           The conversation at the deposition was about what

12:18:46    6   happens on the display.      So there are two sides to this,

12:18:51    7   and that's the confusion, where he is getting confused.

12:18:54    8           My conversation with him today was entirely about

12:18:58    9   the user interface side.

12:18:59   10           Okay.    On the display side, if the green changes

12:19:02   11   to red, if -- you know, that's where he said, I'm not sure.

12:19:05   12           So these are two different conversations, and I

12:19:09   13   see no inconsistency here --

12:19:09   14           THE COURT:     Well --

12:19:11   15           MR. JOSHI:     -- and I was there.

12:19:12   16           THE COURT:     Okay.     That's certainly an argument

12:19:14   17   you-all can make.

12:19:15   18           Mr. Bennett, I'm going to let you continue with

12:19:18   19   your cross-examination, and you'll see, you know, just

12:19:18   20   however you think is necessary.

12:19:25   21           Mr. Joshi can follow up however he wants to.

12:19:25   22           If there's a case that you've got on this point,

12:19:25   23   Mr. Bennett, I'll be glad to look at it.

12:19:31   24           I do know cates [sic] -- courts, you know, treat

12:19:33   25   errata sheets differently and whether a witness can change
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12:19:38    1   30(b)(6) testimony.

12:19:39    2            I'm certainly not in a position right now to make

12:19:42    3   a ruling on this.     We'll see what the testimony looks like

12:19:46    4   when it's fully completed.      And to the extent the parties

12:19:50    5   can assist us with directing us to any case law, that would

12:19:56    6   be very helpful.

12:19:57    7            MR. BENNETT:     Understood, Your Honor.

12:19:58    8            MR. JOSHI:     Thank you.

12:19:59    9            COURT SECURITY OFFICER:       All rise.

12:20:07   10            (Recess.)

01:16:58   11            COURT SECURITY OFFICER:       All rise.

01:16:59   12            THE COURT:     Okay.   Let's have the jury brought in.

01:17:04   13            (Jury in.)

01:17:29   14            THE COURT:     Please be seated.

01:17:37   15            All right.     Mr. Bennett, you may continue.

01:17:40   16            MR. BENNETT:     Thank you, Your Honor.

01:17:41   17   BY MR. BENNETT:

01:17:43   18   Q.   Mr. Lin, just to confirm, back in November of 2020,

01:17:49   19   whether it was a 6-axis product or a 3-axis product, you

01:17:53   20   weren't sure whether adjusting the R axis, for example,

01:17:58   21   would affect other colors.      Is that fair?

01:18:33   22   A.   Well, during the deposition and -- I answered your

01:18:38   23   questions according to the situations at that time.

01:18:42   24   Q.   And that's fair.    And I'm just asking a question about

01:18:48   25   what you knew back in November of 2020.          So let me try one
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01:18:52    1   more time.

01:18:53    2            Back then, November of 2020, whether it was a

01:18:56    3   6-axis product or a 3-axis product, you weren't sure, did

01:19:00    4   not know, whether adjusting the R axis, for example, would

01:19:05    5   affect the other colors?      At that time, you weren't sure?

01:20:04    6   A.   Well, I'm not sure whether I knew or not at that

01:20:11    7   specific time.    However, I did answer questions and

01:20:18    8   according to the -- that situation at that time, and I am

01:20:24    9   sure that the answer I gave at that time were the answers

01:20:32   10   you just showed me.

01:20:34   11   Q.   Okay.   But you're sure now, right?

01:21:04   12   A.   Well, I trust the record you just showed me because

01:21:19   13   that was an official record for that.

01:21:25   14   Q.   Yeah, and I'm not talk -- we can put aside that -- that

01:21:29   15   deposition just for a moment.       I'm just asking about where

01:21:35   16   things are now.

01:21:38   17            While you may have been -- strike that.

01:21:40   18            Let me try it this way.       You were unsure in

01:21:45   19   November of 2020 whether a 6-axis product would adjust the

01:21:50   20   R axis, for example, and affect other colors?

01:21:56   21   A.   That's right.   If I answered to this question at that

01:22:30   22   time was "I am not sure," that must have been my answer at

01:22:36   23   that time.    I was not sure.

01:22:37   24   Q.   Okay.   And what about a 3-axis product?        Back in

01:22:41   25   November of 2020, you weren't sure at that time whether
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01:22:48    1   adjusting the R axis would affect other colors in the

01:22:53    2   3-axis product at that time, correct?

01:22:55    3   A.   It must be my answer then if the record shows that.

01:23:25    4   Q.   Well, I'm -- let me ask it this way.        Regardless of

01:23:30    5   what the record shows, best you can remember back in

01:23:34    6   November of 2020, you did not know what would happen to the

01:23:37    7   other colors if R were adjusted on a 3-axis product, right?

01:23:46    8   A.   I don't remember whether I knew it or not at that

01:24:14    9   specific time.

01:24:15   10   Q.   Fair enough.    Thank you, Mr. Lin.

01:24:25   11   A.   You're welcome.

01:24:26   12   Q.   ASUS -- ASUS's lawyer took you through a lot of

01:24:29   13   different documents.       I'm going to try and go through those

01:24:34   14   as quickly as I can and ask you a few questions about them.

01:24:37   15               MR. BENNETT:   Denver, let's start first with

01:24:41   16   Plaintiff's Exhibit 26-2, please.

01:24:58   17               And, for the record, I think I walked too far from

01:25:02   18   the mic.     It's Plaintiff's Exhibit 26-2.

01:25:02   19   BY MR. BENNETT:

01:25:10   20   Q.   Do you remember discussing this document with

01:25:12   21   Mr. Joshi?

01:25:13   22   A.   Yes.

01:25:20   23   Q.   Okay.    Now, before we go there or to the part of this

01:25:24   24   manual I want to talk about, I want to flip back real quick

01:25:32   25   to a document that you and I discussed, which was
    Case 6:19-cv-00059-RWS Document 233 Filed 06/11/21 Page 78 of 193 PageID #: 3511
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01:25:37    1   Plaintiff's Exhibit 26-30.

01:25:45    2               Do you remember discussing this document with me,

01:25:47    3   Mr. Lin?

01:25:59    4   A.   Yes, probably.

01:25:59    5               MR. BENNETT:   Denver, 24...

01:26:00    6   BY MR. BENNETT:

01:26:00    7   Q.   Okay.    We specifically looked at a Troubleshooting FAQ.

01:26:17    8   Do you remember that, our conversation?

01:26:28    9   A.   Yes, I do.    I do remember we probably have, yes.

01:26:31   10   Q.   And we looked at a few of these, but we talked

01:26:35   11   specifically about the problem, screen image has color

01:26:38   12   defects and the solution that ASUS instructs users to

01:26:44   13   follow if they experience that problem.          Do you remember

01:26:48   14   that?

01:26:50   15   A.   We did discuss this matter.

01:27:07   16   Q.   And one of the possible solutions to that issue is

01:27:11   17   adjust the RGB color settings, right?

01:27:15   18   A.   Yes.

01:27:29   19   Q.   Okay.

01:27:33   20               MR. BENNETT:   Let's go back to Plaintiff's

01:27:35   21   Exhibit 26-2, please.      And go to Page 4402, please, Denver.

01:28:00   22   Maybe a little down -- I'm sorry, 4409.          Can't read my own

01:28:15   23   handwriting.      Apologies.

01:28:17   24   BY MR. BENNETT:

01:28:24   25   Q.   This is another one of those Troubleshooting FAQs,
    Case 6:19-cv-00059-RWS Document 233 Filed 06/11/21 Page 79 of 193 PageID #: 3512
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01:28:28    1   isn't it, Mr. Lin?

01:28:34    2   A.   It appears so.

01:28:37    3   Q.   Okay.

01:28:38    4               MR. BENNETT:   And if you'll scroll down, please,

01:28:42    5   Denver, and specifically focus on color display adjustment.

01:28:56    6   BY MR. BENNETT:

01:28:56    7   Q.   This is the same instructions in this manual as the

01:28:59    8   6-axis manual we just looked at, right?

01:29:02    9   A.   Well, there's no mention of 6-axis anywhere here.

01:29:22   10   Q.   That wasn't my question, Mr. Lin.

01:29:24   11               My question was, the instruction on how to

01:29:27   12   troubleshoot this problem in Plaintiff's Exhibit 26-2 is

01:29:33   13   the same as the instruction in the 6-axis menu, which is to

01:29:39   14   adjust the RGB color settings, right?

01:29:45   15   A.   Well, the text are the same, that's right.

01:30:12   16   Q.   Okay.

01:30:12   17   A.   But --

01:30:13   18   Q.   Thank you.

01:30:19   19               MR. BENNETT:   Let's go to Plaintiff's

01:30:34   20   Exhibit 26-49, please.

01:30:37   21   BY MR. BENNETT:

01:30:40   22   Q.   Do you remember discussing this user manual with

01:30:42   23   Mr. Joshi, Mr. Lin?

01:30:44   24   A.   Yes.

01:30:50   25               MR. BENNETT:   Denver, will you please go to
    Case 6:19-cv-00059-RWS Document 233 Filed 06/11/21 Page 80 of 193 PageID #: 3513
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01:30:53    1   Page 25 of the PDF?

01:31:12    2   BY MR. BENNETT:

01:31:12    3   Q.   That very last -- if you'll look at that very bottom

01:31:17    4   box under Problem, Mr. Lin, and Problem Solution, it lists

01:31:24    5   the same solution to that color defects problem, right?

01:31:29    6   Adjust the RGB color settings?

01:31:48    7   A.   Well, they looked identical, looked like they just

01:31:54    8   copied and pasted it.

01:31:55    9   Q.   And that may be.    Maybe they did copy and paste, but

01:32:00   10   whatever they did, ASUS is telling users who experience

01:32:05   11   color defects in their screen image that one of the

01:32:08   12   possible solutions for this model is to adjust the RGB

01:32:12   13   color settings, right?

01:32:15   14   A.   Well, just like I -- just like I explained earlier this

01:33:07   15   morning, and this is not a color defect, so-called, and it

01:33:15   16   was for something with the color white.          I have to make a

01:33:20   17   correction here.

01:33:23   18            MR. BENNETT:     Your Honor, I move to strike that

01:33:25   19   answer as nonresponsive.

01:33:26   20            THE COURT:     I will grant the motion and strike the

01:33:30   21   response and instruct the jury to ignore the answer.

01:33:38   22   BY MR. BENNETT:

01:33:43   23   Q.   Mr. Lin, my question was pretty simple.         Let me try it

01:33:43   24   again.

01:33:48   25            Whether they copied or pasted it or whatever ASUS
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01:33:50    1   did with this user manual, if a user of this product has a

01:33:53    2   screen image that has color defects and they look in this

01:33:56    3   manual, one of the solutions that ASUS tells them exists to

01:34:00    4   the problem is adjust the RGB color settings, right?

01:34:50    5   A.   It's possible that the users will go to look at this

01:34:54    6   and make adjustment like this accordingly.

01:35:05    7            MR. BENNETT:     Let's go to Plaintiff's

01:35:08    8   Exhibit 26-74, please, Denver.

01:35:10    9   BY MR. BENNETT:

01:35:20   10   Q.   All right.   You discussed this manual with Mr. Joshi,

01:35:23   11   as well, right?

01:35:33   12   A.   Right.

01:35:34   13            MR. BENNETT:     Let's go to Page 6969.

01:35:37   14   BY MR. BENNETT:

01:35:52   15   Q.   All right.   For this product, ASUS gives the same

01:35:57   16   advice to users of this product, every other product that

01:36:01   17   we've seen.   If the screen image has color defects, we

01:36:06   18   should adjust the RGB color settings, right?

01:36:33   19   A.   Well, these texts you are showing me now are identical

01:36:40   20   to the ones you showed me previously, yes.

01:36:54   21   Q.   I want to take you back to Defense Exhibit 87, please.

01:37:08   22            Now, when discussing this manual with Mr. Joshi,

01:37:11   23   you confirmed for us this manual is an example of 3-axis

01:37:17   24   functionality, right -- or excuse me.         Strike that.     I'm

01:37:24   25   sorry.
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01:37:24    1               When you were speaking about this manual with

01:37:27    2   Mr. Joshi, you confirmed for us that the product described

01:37:30    3   in this user manual is an example of 3-axis functionality,

01:37:34    4   right?

01:37:55    5   A.   Oh, are you asking these questions to me?

01:38:02    6   Q.   Yes, Mr. Lin.    I'm asking you, when you spoke with

01:38:06    7   Mr. Joshi about this document, he asked you about this

01:38:09    8   product, the PG278QR.      And you told him -- and I'm just

01:38:13    9   making sure we're still in agreement, that this is an

01:38:16   10   example of 3-axis functionality?

01:38:44   11   A.   Yes.

01:38:45   12               MR. BENNETT:   Okay.   Denver, can we go to Page 25

01:38:49   13   of the PDF, please?

01:38:50   14   BY MR. BENNETT:

01:38:54   15   Q.   Here we are again, the ubiquitous Troubleshooting FAQ,

01:38:59   16   and this FAQ and this 3-axis monitor gives ASUS users the

01:39:05   17   same instructions as every other manual we've looked at

01:39:09   18   when it comes to a possible solution to a color defect

01:39:12   19   which is adjust the RGB color settings, right?

01:40:00   20   A.   Yes, the texts are identical.

01:40:03   21               MR. BENNETT:   All right.   Let's go the Defense

01:40:07   22   Exhibit 88.

01:40:08   23   BY MR. BENNETT:

01:40:08   24   Q.   And I'm sorry to belabor this, I'm not trying to

01:40:11   25   pester, but Mr. Joshi went over these documents so we have
    Case 6:19-cv-00059-RWS Document 233 Filed 06/11/21 Page 83 of 193 PageID #: 3516
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01:40:15    1   to, too.

01:40:28    2   A.   I understand.

01:40:28    3   Q.   Thank you.    So this is the PG279 series.       You see that?

01:40:37    4   A.   I can see that.

01:40:40    5   Q.   All right.

01:40:42    6               MR. BENNETT:   And I apologize, Denver.       I don't

01:40:44    7   have a page for you.       But it's 3-7 in the manual.       That's

01:40:48    8   the one.      Thank you.

01:40:49    9   BY MR. BENNETT:

01:40:58   10   Q.   And like every other manual we've looked at so far,

01:41:02   11   this manual, too, when users of this product encounter

01:41:06   12   color defects, one of the possible solutions to that

01:41:10   13   problem is to adjust the RGB color settings?

01:41:40   14   A.   My answer will remain the same as the previous one.

01:41:43   15   Q.   Which is what, Mr. Lin?

01:42:02   16   A.   From the literal meaning here, one of the solutions

01:42:07   17   would be adjust the RGB color settings.

01:42:15   18               MR. BENNETT:   Let's go to -- I think we've covered

01:42:17   19   that one already -- Defense Exhibit 91.

01:42:30   20   BY MR. BENNETT:

01:42:30   21   Q.   This is the manual for the VG278, right?

01:42:37   22   A.   Right.

01:42:38   23   Q.   And you discussed this manual with Mr. Joshi, as well?

01:42:41   24   A.   Yes.

01:42:55   25   Q.   And like every other manual we've looked at, it
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01:42:59    1   suggests to users of this particular product, when a screen

01:43:05    2   image has color defects, they should adjust the RGB color

01:43:08    3   settings, right?

01:43:37    4   A.   Well, I still wanted to make this clarification that

01:43:41    5   the words in that -- in that bracket actually are the real

01:43:47    6   meaning we meant to say.

01:43:52    7               MR. BENNETT:     Your Honor, I move to strike that

01:43:54    8   answer as nonresponsive.

01:43:55    9               THE COURT:     I'll strike the response and instruct

01:44:00   10   the jury to ignore it.

01:44:02   11               MR. BENNETT:     I'll move on.

01:44:03   12   BY MR. BENNETT:

01:44:22   13   Q.   I want to look at Defense Exhibit 139, please.

01:44:29   14               Do you remember speaking with Mr. Joshi about this

01:44:38   15   document, Mr. Lin?

01:44:40   16   A.   Yes.

01:44:47   17   Q.   All right.    And he took you through this, has a lot of

01:44:56   18   manufacturers, companies that -- ODMs that help ASUS

01:45:01   19   assemble these various display products, right?

01:45:07   20   A.   Yes.

01:45:22   21   Q.   All right.    Whatever products these ODMs make, they

01:45:30   22   make subject to ASUS's specifications, right?

01:45:47   23   A.   Yes.

01:45:47   24   Q.   And if these ODMs ship products to the United States

01:45:52   25   for sale here, they do so at ASUS's direction, right?
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01:45:58    1   A.   Yes.

01:46:13    2   Q.   And you're here today on ASUS's behalf, right?

01:46:31    3   A.   Would you please verify that "on behalf of ASUS"?            What

01:46:38    4   specific matters?

01:46:40    5   Q.   Well, let me ask it differently.           You're here appearing

01:46:45    6   as an ASUS employee, right?

01:46:54    7               Let me repeat the question.

01:47:04    8               MR. BENNETT:     Madam Translator, are you there

01:47:07    9   still?

01:47:18   10               THE INTERPRETER:      Your Honor?

01:47:19   11               THE COURT:     Yes.

01:47:35   12   A.   Yes, I am ASUS employee.

01:47:37   13   BY MR. BENNETT:

01:47:38   14   Q.   Okay.    And the product features that we've discussed

01:47:43   15   today are in those products because ASUS wanted them in the

01:47:48   16   products, right?

01:48:04   17   A.   Yes.

01:48:05   18   Q.   All right.    And ASUS products that are purchased in the

01:48:10   19   United States are here because ASUS wanted those products

01:48:13   20   here in the United States, right?

01:48:33   21   A.   Well, it sounds about right, logically.

01:48:39   22   Q.   I'll take that answer.

01:48:41   23               MR. BENNETT:     I'll pass, Your Honor.

01:48:43   24               THE COURT:     All right.

01:48:55   25                            RECROSS-EXAMINATION
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01:48:55    1   BY MR. JOSHI:

01:49:09    2   Q.   Hello, Mr. Lin.       This is Vinay Joshi again.

01:49:15    3               Hello.   Can you hear me, Mr. Lin?

01:49:20    4   A.   Yes, I can hear you.       I can hear you.

01:49:23    5   Q.   Mr. Lin, you had a conversation with Mr. Bennett about

01:49:32    6   your deposition.      Do you remember?

01:49:41    7   A.   Yes.

01:49:42    8   Q.   And he said you're inconsistent between what you said

01:49:46    9   at the deposition and what you said to me here today.             Do

01:49:52   10   you recall that?

01:50:04   11   A.   We did discuss that, yes.

01:50:05   12   Q.   And, in fact, he pointed out on a couple of occasions

01:50:10   13   you said you weren't sure at the deposition, but then he

01:50:13   14   said you had clear answers here today.         Do you recall that?

01:50:16   15   A.   I did remember we do have such discussion.

01:50:37   16   Q.   Okay.    So I'm going to ask you some questions now about

01:50:41   17   the deposition.      If you don't remember, say:       I don't

01:50:46   18   remember.     Otherwise answer truthfully, okay?

01:51:05   19   A.   Okay.

01:51:05   20   Q.   Do you remember if I was present at the deposition?

01:51:10   21   A.   Yes.

01:51:20   22   Q.   Do you remember if Mr. Bennett was present at the

01:51:24   23   deposition?

01:51:24   24               MR. BENNETT:     Your Honor, objection.    Relevance.

01:51:28   25               THE COURT:     What's it go to, Mr. Joshi?
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01:51:31    1               MR. JOSHI:     I'll connect the dots soon.     I'm going

01:51:34    2   to show what the misunderstanding is.

01:51:36    3               THE COURT:     I'll give you a little latitude.

01:51:39    4               MR. JOSHI:     Thank you, Your Honor.

01:52:23    5   A.   Person who was present during the deposition with me

01:52:29    6   looked like a Chinese American.

01:52:39    7   BY MR. JOSHI:

01:52:40    8   Q.   Now, today, your conversation with me, Mr. Lin, I asked

01:52:44    9   you a lot of questions about user interfaces, correct?

01:52:57   10   A.   Right.

01:52:57   11   Q.   For example, I asked you questions like whether a user

01:53:02   12   can adjust hue or saturation for a particular color like

01:53:09   13   red, correct?

01:53:25   14   A.   Right.

01:53:26   15   Q.   So my questions were about adjustments to the user

01:53:32   16   interface, correct?

01:53:33   17   A.   Yes.

01:53:40   18   Q.   And I don't recall asking you very many questions, if

01:53:47   19   any at all, about adjusting the colors on the display side;

01:53:52   20   is that correct?

01:53:53   21               MR. BENNETT:     Objection.   Leading.

01:53:54   22               THE COURT:     I'll sustain the objection.

01:53:57   23   BY MR. JOSHI:

01:54:00   24   Q.   Mr. Lin, when Mr. Bennett was talking to you about your

01:54:08   25   deposition, did he provide context on whether the questions
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01:54:13    1   posed to you at the deposition were about the user

01:54:17    2   interface or the display?

01:54:18    3              MR. BENNETT:     Objection, Your Honor.

01:54:20    4   Argumentative.

01:54:21    5              THE COURT:     Overruled.

01:55:03    6   A.   I did not see it.

01:55:07    7   BY MR. JOSHI:

01:55:16    8   Q.   Okay.   Is the technology for adjusting colors on the

01:55:20    9   user interface side different from the technology for

01:55:25   10   adjusting colors on the display side in ASUS monitors?

01:55:28   11   A.   Not different.

01:55:52   12   Q.   Let me -- let me ask you different questions.

01:56:00   13              The user interface, is it the same or different

01:56:06   14   from the display?

01:56:07   15              MR. BENNETT:     Objection.   Asked and answered.

01:56:12   16   Leading.

01:56:13   17              THE COURT:     I'll sustain that.

01:56:14   18              Move along, Mr. Joshi.

01:56:15   19              MR. JOSHI:     All right.

01:56:16   20              Could I please have Plaintiff's 26-74 brought up

01:56:34   21   and go to Bates 6969?       Thank you.

01:56:57   22   BY MR. JOSHI:

01:56:59   23   Q.   Mr. Lin, Mr. Bennett showed you this -- this page and

01:57:03   24   several other manuals where -- do you see that phrase:

01:57:08   25   Screen image has color defects, open paren, white does not
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01:57:12    1   look white, close paren.

01:57:14    2               Do you see that?

01:57:35    3   A.   Yes.

01:57:35    4   Q.   And on the right-hand side column, it says:          Adjust the

01:57:39    5   RGB color settings or select the color temperature via OSD.

01:58:05    6               Do you see that?

01:58:05    7   A.   Yes, I can see that.

01:58:06    8   Q.   My question is this:       The reference to adjust in that

01:58:10    9   sentence, is that for adjusting gain, hue, or saturation or

01:58:23   10   brightness or something else?

01:58:52   11   A.   Adjust the power used.         I'm sorry, strike that.

01:58:59   12               Adjust the gain, G-A-I-N.

01:59:07   13   Q.   And would your answer be the same if I asked you the

01:59:21   14   same questions about the other manuals discussed with

01:59:25   15   Mr. Bennett?

01:59:27   16   A.   Yes.

01:59:28   17   Q.   Thank you, Mr. Lin.

01:59:33   18               MR. BENNETT:     Very little.

01:59:35   19               THE COURT:     Very briefly.

01:59:36   20               MR. BENNETT:     Very briefly.

01:59:37   21               THE COURT:     Last examination.

01:59:39   22               MR. BENNETT:     Yes.

01:59:39   23                            DIRECT EXAMINATION

01:59:45   24   BY MR. BENNETT:

01:59:46   25   Q.   Mr. Lin, ASUS, it's goal is to provide accurate
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01:59:50    1   instructions to its customers, right?

02:00:06    2   A.   Well, for user manuals, yeah, we do have that goal.

02:00:11    3   Q.   And ASUS would not suggest to its users solutions and

02:00:16    4   options that don't exist, would it?

02:00:37    5   A.   Of course.    If they do not exist, I wouldn't have

02:00:41    6   suggested.

02:00:44    7              MR. BENNETT:     Thank you, Mr. Lin.

02:00:48    8              THE COURT:     Okay.    I think that completes the

02:00:56    9   testimony of this witness.

02:00:58   10              Ms. Josh, thank you for assisting us with the

02:01:03   11   examination.

02:01:19   12              THE INTERPRETER:       My pleasure, Your Honor.

02:01:20   13              THE COURT:     Thank you very much.

02:01:22   14              Okay.   Plaintiffs may call their next witness.

02:01:25   15              THE INTERPRETER:       Your Honor, may interpreter be

02:01:27   16   excused?

02:01:28   17              THE COURT:     Yes.    Thank you, ma'am.

02:01:30   18              THE INTERPRETER:       Okay.

02:01:30   19              MR. BENNETT:     I'm going to move my stuff out of

02:01:32   20   the way, but we call Dr. Al Ducharme.

02:01:43   21              THE INTERPRETER:       Hold on, Your Honor.     May I be

02:01:47   22   excused, as well, from witness?

02:01:49   23              THE COURT:     Yes, you may.    Thank you very much.

02:01:52   24              THE INTERPRETER:       I wanted to make sure,

02:02:03   25   Your Honor.    Is there any further request for me to appear
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02:02:06    1   here for rest of the day from the witness?

02:02:11    2           THE COURT:     May the witness be released?

02:02:13    3           MR. JOSHI:     Yes, Your Honor.

02:02:13    4           THE COURT:     May the witness be released,

02:02:16    5   Mr. Bennett?

02:02:16    6           MR. BENNETT:      Oh, yes.

02:02:17    7           THE COURT:     Thank you very much, Mr. Lin.

02:02:26    8           THE INTERPRETER:       Thank you.

02:02:31    9           THE COURT:     Okay.    If you would come around, sir,

02:02:33   10   and raise your right hand to be sworn.

02:02:38   11           THE WITNESS:      Right here?

02:02:39   12           (Witness sworn.)

02:02:53   13           MR. SABA:     Your Honor, can we just have two

02:02:56   14   minutes to grab something out of the --

02:03:00   15           THE COURT:     Yes, yes.

02:03:02   16           MR. SABA:     So sorry about that.

02:03:03   17           THE COURT:     No, that's fine.      You're fine.

02:03:08   18           MR. BENNETT:      Your Honor, I apologize for not

02:03:14   19   raising this sooner.     For Dr. Ducharme, we do have some

02:03:18   20   visual materials, possibly a demonstration -- not

02:03:21   21   possibly -- we will have one.        We had discussed this kind

02:03:25   22   of configuration and how we make sure everyone in the

02:03:30   23   courtroom can see the demonstration when it happens.             Can I

02:03:33   24   indulge the Court for a brief moment to get set up in a

02:03:36   25   place where it's satisfactory to --
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02:03:38    1           THE COURT:     Are we going to start that with him

02:03:41    2   right now?

02:03:42    3           MR. SABA:     Yes, Your Honor.      I apologize.

02:03:44    4           THE COURT:     Okay.    That's all right.

02:03:45    5           Let's take a very short recess, ladies and

02:03:47    6   gentlemen of the jury.     We'll meet back in the courtroom as

02:03:51    7   quickly as we can.

02:03:54    8           MR. SABA:     Thank you, Your Honor.

02:03:56    9           COURT SECURITY OFFICER:        All rise for the jury.

02:03:59   10           (Jury out.)

02:04:21   11           MR. BENNETT:      And, Your Honor, I think there's

02:04:23   12   some objections to some of the demonstratives.

02:04:27   13           THE COURT:     I looked at the demonstratives.          I

02:04:30   14   don't have color copies here, but I did look at -- at color

02:04:34   15   copies earlier.

02:04:37   16           Can I hear what the objection is?

02:04:39   17           MR. JOSHI:     Well, sir, the 33 to 35, I believe,

02:04:41   18   the later ones, they -- they're just some colored papers,

02:04:46   19   but what we're told is they may relate to a demonstration

02:04:51   20   that he's going to do.

02:04:53   21           So as a part of his expert report, he hasn't

02:04:57   22   really provided any kind of a demonstration or a video or

02:05:01   23   anything like that, so we're not familiar with what he's

02:05:04   24   going to do.   Your Honor has already ruled that he's

02:05:07   25   limited by his expert report.
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02:05:11    1           Now, of course that doesn't mean that he has to

02:05:13    2   only read it, but at the same time we don't want to be

02:05:18    3   surprised by a test that he's never disclosed before.

02:05:20    4           THE COURT:     Okay.

02:05:20    5           MR. BENNETT:      This is not a test that's not been

02:05:23    6   disclosed before.    This is to abate the prejudice that we

02:05:31    7   experienced as a result of the opening.

02:05:31    8           THE COURT:     I think your battery is dying.

02:05:33    9           MR. BENNETT:      I think my battery may be going out.

02:05:37   10   May I approach?

02:05:38   11           THE COURT:     Yes, please.

02:05:40   12           MR. BENNETT:      I think this one is going out, too.

02:05:43   13           THE COURT:     Try the third one.       Maybe the third

02:05:45   14   time will be the charm.

02:05:47   15           MR. BENNETT:      How's that?

02:05:49   16           THE COURT:     Much better.

02:05:50   17           MR. BENNETT:      Okay.   Thank you, Your Honor.

02:05:52   18           This is mostly directed to what happened at

02:05:54   19   opening and statements made and assertions made against,

02:06:00   20   specifically, Dr. Ducharme.       It's entirely consistent with

02:06:03   21   his report.   It's entirely consistent with what he said in

02:06:07   22   that report, and the demonstratives that were provided show

02:06:11   23   that.

02:06:12   24           I think the pages that Mr. Joshi's specifically

02:06:15   25   referring to are the ones that they used in their opening.
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02:06:19    1   So this goes to what -- I won't rehash these issues but it

02:06:25    2   goes directly at that.

02:06:29    3            MR. JOSHI:    If we used it in our slides, then we

02:06:32    4   withdraw the objection.      We just -- we didn't know if they

02:06:35    5   were just going to use the slide, or it was going to be a

02:06:38    6   part of -- of a demonstration.

02:06:39    7            But there are other slides, like the one they have

02:06:42    8   now, that looks like it's going to be part of a

02:06:46    9   demonstration.    We have never seen it before.

02:06:48   10            THE COURT:    Well, you know, here's my view about

02:06:49   11   this.   The Plaintiffs, likewise, didn't hear -- see the

02:06:53   12   demonstration or didn't have any knowledge about the

02:06:56   13   demonstration was that Mr. Oliver performed in his opening

02:06:59   14   statement.

02:07:00   15            As long as the witness's testimony is consistent

02:07:03   16   with the expert report that he's provided and presumably

02:07:09   17   was deposed on and there's nothing new there, I'm going to

02:07:12   18   permit him to testify consistent with that -- that report.

02:07:16   19            Now, if there's something entirely new, that's a

02:07:21   20   different matter, and you'll, you know, obviously be fully

02:07:23   21   entitled to go into that on cross-examination.           But an

02:07:29   22   expert sitting in the courtroom having observed a

02:07:33   23   demonstration is able, it seems to me, to fairly comment on

02:07:40   24   the demonstration when he gives his testimony.

02:07:44   25            Again, if there's something completely new here,
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02:07:48    1   that would be a different matter, and we would, you know,

02:07:51    2   need to take that up outside the presence of the jury.             But

02:07:55    3   so far as I'm concerned, if it fairly meets the

02:08:01    4   demonstration that Mr. Oliver did without notice to

02:08:04    5   opposing counsel in his opening, I think it's fair.

02:08:09    6              MR. JOSHI:     So then that just leaves one slide.

02:08:12    7   And there -- he has some kind of a temperature graph we've

02:08:15    8   never seen before, and that had nothing to do with this

02:08:19    9   morning, but we don't know what that is.

02:08:21   10              THE COURT:     Do you have any idea what that is?

02:08:24   11              MR. SABA:     I don't know what he's talking about,

02:08:26   12   but I --

02:08:26   13              MR. JOSHI:     Those curves, you know, that...

02:08:27   14              MR. SABA:     Oh, that's the demonstrative scientific

02:08:30   15   slide that has to do with the testing equipment that I

02:08:33   16   think the Judge ruled on already.

02:08:36   17              MR. OLIVER:     A human visual perception --

02:08:36   18              MR. JOSHI:     Yeah, there's a human visual

02:08:37   19   perception graph that we haven't seen before.

02:08:39   20              MR. BENNETT:     It's a standard graph.     I think with

02:08:41   21   some predicate, if you want us to ask Dr. Ducharme about it

02:08:47   22   now, we're happy to, but...

02:08:49   23              THE COURT:     Do you want to voir dire the witness

02:08:51   24   on it now?    I mean, do we really need to keep the jury

02:08:54   25   waiting about this, Mr. Joshi, to be honest with you?
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02:08:58    1             MR. JOSHI:     Okay.   We'll just withdraw it.

02:09:01    2             THE COURT:     Very well.   Let's proceed.

02:09:01    3             MR. BENNETT:     Thank you, Your Honor.

02:09:05    4             MR. SABA:    Thanks, Your Honor.

02:09:07    5             THE COURT:     Let's have the jury brought in.

02:09:08    6             Mr. Saba, are you ready?

02:09:09    7             MR. SABA:    Yes, Your Honor.

02:09:13    8             COURT SECURITY OFFICER:      All rise for the jury.

02:09:13    9             (Jury in.)

02:09:38   10             THE COURT:     Okay.   Please be seated.

02:09:40   11             Mr. Saba, you may proceed.       The witness has been

02:09:43   12   sworn.

02:09:45   13             MR. SABA:    Thank you, Your Honor.

02:09:45   14        ALFRED DUCHARME, PLAINTIFF'S WITNESS, PREVIOUSLY SWORN

02:09:45   15                          DIRECT EXAMINATION

02:09:47   16   BY MR. SABA:

02:09:47   17   Q.    Good afternoon, Dr. Ducharme.      Can you please state

02:09:50   18   your full name for the ladies and gentlemen of the jury and

02:09:53   19   the Court?

02:09:53   20   A.    Sure.   It's Alfred Dale Ducharme.

02:09:56   21   Q.    And, Dr. Ducharme, what issues will you be testifying

02:09:59   22   about today?

02:10:00   23   A.    I'm an expert witness, and I'll be testifying about

02:10:05   24   some accused ASUS products and how they relate to the '435

02:10:12   25   patent.
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02:10:12    1             MR. SABA:    May I approach, Your Honor?

02:10:14    2             THE COURT:     Yes, you may.    I think that will be

02:10:19    3   better.

02:10:23    4   BY MR. SABA:

02:10:23    5   Q.   Dr. Ducharme, we'll talk about your opinions in a

02:10:29    6   little bit more detail later, but can you please -- just to

02:10:32    7   move things along, can you please give the ladies and

02:10:35    8   gentlemen of the jury a brief description of your

02:10:39    9   background as to why you're qualified as an expert?

02:10:43   10   A.   Sure.    I have a Ph.D. in electrical engineering, and

02:10:49   11   during my career I have worked on optical, electrical, and

02:10:53   12   display systems, and I have a specialization in color

02:11:00   13   science, which is the study of color.

02:11:01   14   Q.   And --

02:11:01   15             THE COURT:     Hold on, Mr. Saba.     There's something

02:11:05   16   wrong with that mic.

02:11:06   17             MR. SABA:    Let me get a little closer.

02:11:06   18             THE WITNESS:     I think I turned my head.

02:11:10   19             MR. SABA:    Can you bring it closer to your mouth?

02:11:10   20             THE WITNESS:     If I go like this?

02:11:10   21             MR. SABA:    That's right.

02:11:14   22             THE WITNESS:     How's that?

02:11:14   23             THE COURT:     You can actually hold it if you'd

02:11:17   24   rather do that.

02:11:17   25             THE WITNESS:     I think that would be a bad idea for
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02:11:19    1   me.

02:11:19    2                Okay.   Is that better?

02:11:19    3                MR. SABA:   Better.

02:11:20    4                THE WITNESS:   Okay.

02:11:20    5                MR. SABA:   Okay.

02:11:21    6                THE WITNESS:   Would you like me to repeat?

02:11:22    7                MR. SABA:   Please.

02:11:24    8   A.    Okay.    I have a Ph.D. in electrical engineering, and

02:11:27    9   throughout my career I have worked in electrical, optical,

02:11:30   10   and display systems, and I have a specialization in color

02:11:37   11   science, and that's just the study of color and how humans

02:11:38   12   perceive it.

02:11:38   13   BY MR. SABA:

02:11:39   14   Q.    Do you have a specialty in photonics?

02:11:41   15   A.    Yes.    My electrical engineering degree -- my Ph.D. in

02:11:43   16   electrical engineering has a specialization in photonics.

02:11:47   17   I studied at the Center for Research in Electro-Optics and

02:11:52   18   Lasers.

02:11:52   19   Q.    All right.     Did you obtain any ASUS displays in this

02:11:56   20   case?

02:11:57   21   A.    Yes.

02:12:00   22   Q.    Do you see them in the courtroom today?

02:12:02   23   A.    Yes.    They're right up front here.

02:12:04   24   Q.    Now, the court reporter can't under -- you can't --

02:12:06   25   A.    They're --
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02:12:07    1   Q.   Hang on one second.    Hang on one second.       I want to

02:12:13    2   talk to you about the VG248QE 3-axis.

02:12:13    3   A.   Okay.

02:12:18    4   Q.   Do you see it in the courtroom?

02:12:20    5   A.   I do.

02:12:20    6   Q.   Which one is it?

02:12:22    7   A.   It's at the center of the room in front of the podium.

02:12:25    8   Q.   Very good.   And I want to talk to you a little bit

02:12:27    9   about that, but before I do, to be clear it's the one

02:12:30   10   that's on with the demonstrative, correct?

02:12:32   11   A.   Yes.

02:12:33   12   Q.   All right.   Yesterday during opening statements,

02:12:36   13   opposing counsel, Mr. Oliver, had stated a few things about

02:12:39   14   your opinions of infringement in this matter, okay?

02:12:43   15   A.   Yes.

02:12:43   16   Q.   And you read that testimony yesterday, correct?

02:12:46   17   A.   I did.

02:12:46   18   Q.   And he gave a little demonstration with an ASUS monitor

02:12:52   19   similar to the one that you tested, right?

02:12:54   20   A.   Yes.

02:12:54   21   Q.   All right.   He said, quote, it's going to become

02:13:02   22   blatantly obvious that the other color change when you

02:13:06   23   change -- the other colors change when you change red.

02:13:07   24   That's one of the reasons ASUS says they don't infringe

02:13:10   25   this patent, because they don't.
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02:13:13    1               Do you agree with that -- opposing counsel's

02:13:19    2   statement?

02:13:19    3   A.   No.

02:13:19    4   Q.   Mr. Oliver also said in opening statement:         As we

02:13:25    5   listen to the testimony and as we listen to Dr. Ducharme,

02:13:30    6   who tested only a couple of colors, he's not going to be

02:13:34    7   able to tell you actually what happened.

02:13:38    8               Are you going to be able to tell the ladies and

02:13:41    9   gentlemen of the jury how you tested the monitors to reach

02:13:44   10   your infringement conclusion?

02:13:48   11   A.   Yes.

02:13:49   12   Q.   Let's talk about that right now, sir.        I will point you

02:13:52   13   to --

02:13:54   14               MR. SABA:    Your Honor, may he approach?

02:13:57   15               THE COURT:     He may, yes, as long as he has a

02:14:00   16   microphone.

02:14:01   17               MR. SABA:    I can -- is that thing going to work?

02:14:05   18               MR. BENNETT:     May I approach, Your Honor?

02:14:07   19               THE COURT:     Yes, you may.

02:14:08   20   BY MR. SABA:

02:14:08   21   Q.   Now, Dr. Ducharme, this is going to be a little tricky

02:14:12   22   because I think you might have to face -- no, I guess you

02:14:15   23   could face the jury while you're explaining.          I want to ask

02:14:18   24   you --

02:14:18   25   A.   Hang on.
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02:14:19    1   Q.   I want to ask you if you would please describe briefly

02:14:26    2   what we're looking at here, what's been marked as P-11.

02:14:33    3   A.   Okay.   This is a 3-axis ASUS monitor.

02:14:37    4   Q.   What is a 3-axis ASUS monitor?

02:14:41    5   A.   A 3-axis monitor is one that you can change in red,

02:14:46    6   green, and blue.    It has three colors, and so we call it a

02:14:52    7   3-axis monitor.

02:14:52    8   Q.   All right.   So we have three colors on the screen, and

02:14:55    9   it's got some verbiage there.       What does that mean?

02:15:00   10   A.   Okay.   So I'm showing -- I'm showing -- I wasn't sure

02:15:08   11   how my hand was going to look.       I'm showing three vertical

02:15:14   12   bars, and everyone can see that.

02:15:16   13            So what I'm pointing to here is on the left side

02:15:19   14   of the screen and the red bar, I'm showing the amount of

02:15:22   15   red, green, and blue in this vertical bar.          In the center

02:15:26   16   of the screen, I'm showing the amount of red, green, and

02:15:32   17   blue.   And, once again, over here on the right side of the

02:15:35   18   screen, I have blue.

02:15:36   19            So I have my colors red, green, and blue.           And

02:15:40   20   these are just the percentages, just so you can see that

02:15:43   21   this is all blue over here and this is all green and this

02:15:46   22   is all red.    It's just a very simple test pattern.

02:15:50   23   Q.   I would like for you to demonstrate for the jury what

02:15:54   24   would happen when you change the red axis from 100 to 0.

02:16:02   25   A.   Okay.   So when we say change, it means I need to get
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02:16:09    1   into the on-screen menu.

02:16:21    2   Q.   Oops.   It's a little clunky.

02:16:22    3   A.   Yeah, I apologize.    I'm usually sitting in front of a

02:16:27    4   monitor when I adjust it.

02:16:29    5            Okay.   So I have gone down a few menus, but as you

02:16:34    6   can see, there's clearly a red, green, and blue slider that

02:16:38    7   I can change the value of.      And hopefully if I don't move

02:16:42    8   the monitor, it doesn't get blurry.

02:16:45    9            So what I'm going to do now is I'm going to reduce

02:16:49   10   red, and I want you to watch the screen as I do this and

02:16:52   11   see what happens.    And you're probably thinking, you know,

02:16:56   12   I was expecting that.     But as I change the slider and

02:17:01   13   change the red axis, I'm selecting the red color, the red

02:17:09   14   changes on the screen.

02:17:10   15            So what changes?     The red.    What does not change?

02:17:14   16   The green and the blue, and that's exactly what I would

02:17:18   17   expect to happen.

02:17:19   18   Q.   Dr. Ducharme, let me ask you a follow-up question.             Can

02:17:21   19   you tell the ladies and gentlemen of the jury why green and

02:17:24   20   blue doesn't change in this example?

02:17:26   21   A.   Green and blue don't change -- oops -- because I have

02:17:32   22   not selected to change the green and the blue.

02:17:36   23            Also, I want you to notice part of the reason we

02:17:39   24   put the numbers here is you can see there's no red in the

02:17:43   25   green color, and there's no red in the blue color.            And
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02:17:46    1   that's really important.      It's really important to

02:17:48    2   understand that.      Okay.

02:17:51    3   Q.   Okay.    Is that back to 100?

02:17:55    4   A.   Sorry.    I don't know what that is.

02:18:25    5   Q.   Oh, this right here?     Oh, that's a screen saver.

02:18:25    6   A.   Okay.

02:18:30    7   Q.   All right.    We're back to normal.     You ready to go?

02:18:33    8   All right.

02:18:33    9             MR. SABA:    Denver, could you please pull up that

02:18:38   10   slide -- oh, you've got to do it here.         I'm sorry.     I

02:18:39   11   apologize.

02:18:39   12   BY MR. SABA:

02:18:41   13   Q.   All right.    Dr. Ducharme, now, I'm going to put on the

02:18:44   14   screen six colors.      Do you see that?

02:18:48   15   A.   Does everyone see the six colors?

02:18:50   16   Q.   I'm going to ask you a question, sir.        Please explain

02:18:54   17   to the jury why there are six colors here and the

02:18:58   18   significance of the RGB numbers.

02:19:04   19   A.   There's six colors because this is a 3-axis monitor,

02:19:08   20   and what I want you to see is that when I change the

02:19:11   21   sliders, one of the colors, red, green, and blue, on a

02:19:15   22   3-axis monitor, colors that contain red are going to

02:19:18   23   change.      I would expect that.    So when I move this red --

02:19:23   24   yeah.

02:19:25   25   Q.   Yeah, please don't do that.      Let me give you a
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02:19:29    1   question.

02:19:30    2               Would you please tell the jury -- same drill.         You

02:19:34    3   drop -- so red right now is at 100, correct?

02:19:37    4   A.   Yes.

02:19:38    5   Q.   All right.    If you drop red to 0 -- I'm not saying do

02:19:40    6   it -- I'll say in a second -- what will change on the

02:19:44    7   screen?      And I've got stickies if you'd like to use those.

02:19:50    8   If not, you can just point.

02:19:51    9   A.   Yeah, I'll just point.     What's going to change is any

02:19:55   10   color on the screen that contains or includes the red

02:19:58   11   color.      So I can see this is going to change.      It has red,

02:20:00   12   the red stripe on the left.

02:20:03   13               On the far right, we see magenta which has red,

02:20:06   14   and we see yellow on the far right and that -- I'm sorry.

02:20:10   15   Did I say red?      I see yellow on the right side, and that

02:20:14   16   contains red, as well.      So these two colors I would expect

02:20:17   17   to change, along with red, and I would expect that green,

02:20:21   18   blue, and cyan would not change.

02:20:24   19               THE COURT:   Hold on just a moment, Mr. Saba.

02:20:27   20               MR. JOSHI:   We have an objection, Your Honor.

02:20:28   21               THE COURT:   What's the objection?

02:20:30   22               Mr. Oliver, just let Mr. Saba speak -- I mean,

02:20:35   23   Mr. Joshi speak.

02:20:36   24               MR. JOSHI:   This is in violation of the Court's

02:20:39   25   claim --
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02:20:39    1               THE COURT:    I'm sorry.

02:20:40    2               MR. JOSHI:    Violation of Court's claim

02:20:42    3   construction order.

02:20:43    4               THE COURT:    All right.   What's --

02:20:48    5               MR. JOSHI:    The red and the blue are equal, and

02:20:50    6   red and the green are equal on the right, and it doesn't

02:20:57    7   have red under the claim construction order because they

02:21:00    8   can't be equal.

02:21:01    9               THE COURT:    I'm going to let you cross him on

02:21:04   10   that.   Overruled.

02:21:05   11               MR. SABA:    Thank you, Your Honor.

02:21:05   12   BY MR. SABA:

02:21:09   13   Q.   Okay.    Dr. Ducharme, will you please continue?        I would

02:21:12   14   like for you to drop the red and explain what we're looking

02:21:17   15   at here.

02:21:35   16   A.   Okay.    So I'm back to the menu, and I'm going to now

02:21:38   17   change red by decreasing it.       And all the colors there that

02:21:48   18   have a red component are going to change.          All the colors

02:21:55   19   that do not have a red component do not change.           That's why

02:21:59   20   I'm moving that slider back and forth so you can maybe look

02:22:02   21   at one of these colors and see the change.

02:22:07   22   Q.   Can you please generally explain how the product is

02:22:12   23   making the change with regard to the pixels?

02:22:17   24   A.   Yes.    The brain inside this monitor, the

02:22:24   25   microprocessor, right, we think of it as the brain, when I
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02:22:27    1   move the slider, I'm providing a change value, a delta

02:22:33    2   value.    And so the brain inside the monitor looks at all

02:22:35    3   the incoming pixels, this pattern that I'm showing, and it

02:22:40    4   picks out all of the colors, all of the pixels on the

02:22:44    5   screen that contain whatever color I'm changing.           If I'm

02:22:47    6   changing red, they pick out all the pixels on the screen

02:22:52    7   from -- start in the left corner, pixel one.          It takes that

02:22:55    8   pixel, looks to see if it has red in it -- that's the value

02:22:59    9   I'm changing -- and it puts it in a bucket on the right.

02:23:03   10   These are pixels I'm going to change.        Goes to the next

02:23:07   11   pixel.    Let's say it's somewhere in the middle of the

02:23:09   12   screen in the blue.    It looks at that pixel and says:          Does

02:23:12   13   it have any red in it?     Should I change it?       It doesn't, so

02:23:16   14   it puts it in the left bucket which is the don't change

02:23:19   15   pixels.

02:23:20   16             So once it's gone through every pixel on the

02:23:23   17   screen, it now has a bucket of changed pixels, right?            It

02:23:28   18   applies the change that I have selected with the slider,

02:23:32   19   and then it puts all the pixels back together again and

02:23:36   20   displays the image on the screen.        And that's essentially

02:23:39   21   what the brain inside the monitor is trying to do.

02:23:42   22             MR. SABA:   Thank you, Dr. Ducharme.       One more

02:23:45   23   image for this Plaintiff's 11, please.

02:23:45   24   BY MR. SABA:

02:23:56   25   Q.   All right.   Yesterday opposing counsel, during opening
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02:23:59    1   statement, showed a pattern like this and changed the color

02:24:02    2   on a similar 3-axis display.      I'd like for you to explain

02:24:06    3   to the jury before you do that here, what will happen and

02:24:09    4   what result, please?

02:24:11    5   A.   Okay.   So I guess this is the slide -- I understand

02:24:17    6   that this is the slide that was used yesterday.           It

02:24:19    7   contains lots of different colors, but it will not behave

02:24:23    8   any differently than what I already described.

02:24:28    9            In the center is a horizontal bar going from the

02:24:32   10   left to the right, and it's red.       Above that is green and

02:24:36   11   then blue, yellow, magenta, and cyan.        These are -- these

02:24:40   12   are the colors we had on the previous slide.          They're

02:24:44   13   just -- on the screen, I will say, slightly more confusing

02:24:48   14   way.

02:24:48   15            Okay.    So when I change the red slider, that's the

02:24:53   16   color I've selected to change.       When I go from 100 down to

02:25:01   17   0, the colors that would change are any color with red, my

02:25:05   18   chosen change color.

02:25:07   19            So the horizontal bar in the middle, the red bar

02:25:12   20   will change.     Green won't change.     Blue won't change.

02:25:15   21   Yellow has some red in it.      We showed that on the previous

02:25:19   22   slide.   That will change.     Magenta will change, and cyan

02:25:22   23   won't change.

02:25:23   24            Down at the bottom, instead of going to white,

02:25:27   25   they go from black, so these are just different brightness
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02:25:32    1   levels, and I think you can see that.         But you'll also see

02:25:36    2   the same change in colors down at the bottom of the screen.

02:25:38    3   You'll see red change.     Green and blue won't change.

02:25:42    4   Yellow and magenta will change.       Okay.

02:25:46    5            MR. JOSHI:    Your Honor, I don't want to keep

02:25:50    6   interrupting.     Would you give me a running objection to the

02:25:52    7   demonstratives?

02:25:53    8            THE COURT:    To the demonstratives?

02:25:54    9            MR. JOSHI:    For claim construction violation, yes.

02:25:57   10            THE COURT:    All right.    Well, I mean, I'm going to

02:25:59   11   let you cross him on that.      We'll see -- we'll see where

02:26:03   12   that goes.

02:26:04   13            But, Mr. Saba, to the extent there's an objection

02:26:06   14   here, do you have any opposition to a running objection?

02:26:11   15            MR. SABA:    No, Your Honor.

02:26:12   16            THE COURT:    Very well.

02:26:13   17   A.   Okay.   So now I'm going to move the red slider.         And so

02:26:23   18   we knew that the red, yellow, and magenta were going to

02:26:26   19   change and the green, blue, and cyan would not change.

02:26:32   20   It's what we would expect to happen.

02:26:34   21   BY MR. SABA:

02:26:34   22   Q.   Thank you, Dr. Ducharme.     Now I want to talk to you

02:26:37   23   about -- don't go anywhere yet, but let's --

02:26:40   24            MR. SABA:    I'm going to ask Denver if he will

02:26:43   25   kindly switch us out, and you have that microphone in your
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02:26:47    1   hand?   Yes?

02:26:48    2               THE WITNESS:   Yes.

02:26:49    3   BY MR. SABA:

02:26:49    4   Q.   All right.    While Denver is graciously switching out

02:26:52    5   this other monitor, why don't you tell me a little bit

02:26:56    6   about what we're looking at here?

02:27:02    7   A.   This is another monitor that I analyzed.         It's bigger

02:27:07    8   than the previous monitor, but it's also -- instead of only

02:27:13    9   having 3-axis color control, it has 6-axis color control.

02:27:18   10   What that means is I can control or change the color of

02:27:25   11   red, green, and blue, but also cyan, magenta, and yellow as

02:27:30   12   6-axis control.     I can also do that in both hue and

02:27:34   13   saturation.     There's a lot of control with this monitor.

02:27:44   14               MR. SABA:   Do you need help to move it?      Like

02:27:57   15   this?

02:27:57   16               THE WITNESS:   Yeah, I think it's better --

02:28:02   17               MR. SABA:   Yeah, thank you.

02:28:07   18   BY MR. SABA:

02:28:08   19   Q.   It's a little dizzy, but that's okay.        Let's move on so

02:28:12   20   we can get through this.

02:28:12   21               MR. SABA:   I think that's okay.     Thank you.

02:28:12   22   BY MR. SABA:

02:28:15   23   Q.   Dr. Ducharme, you said this is a 6-axis ASUS color

02:28:20   24   control monitor, correct?

02:28:21   25   A.   Yes.
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02:28:21    1   Q.   What are we looking at here?

02:28:23    2   A.   This is the same pattern we started with a minute ago,

02:28:27    3   so I've got red on the left, green in the center, and blue

02:28:31    4   on the right, and I'm showing the amounts of each one of

02:28:34    5   those colors.

02:28:35    6   Q.   Now, I want to -- I'm going to just lay the framework

02:28:38    7   for this.      I'd like for you to talk about briefly the same

02:28:43    8   exercise we did for the 3-axis but with regard to the

02:28:46    9   6-axis.      And if you could please start with this slide and

02:28:50   10   explain the same demonstration, dropping red.

02:28:54   11   A.   Okay.    So I'm going to go into the On-Screen-Display.

02:29:13   12   In this monitor, it's in the advanced setting.           And I've

02:29:15   13   gone into the 6-axis saturation.       And you can see I've got

02:29:19   14   sliders and changeable color values:        red, green, blue,

02:29:24   15   cyan, magenta, and yellow.      The neutral value or the center

02:29:31   16   value is 50, so that's the value that I'm at.

02:29:33   17             So as I change the slider, I would expect any

02:29:37   18   color with red will change, and the colors that will not

02:29:43   19   change are the ones that don't have a red component.

02:29:57   20             Get back to 50.

02:30:03   21   Q.   I forgot to ask you a question on the 3-axis.          First of

02:30:08   22   all, we're looking at what's been marked as Plaintiff's 12.

02:30:12   23   But with regard to Plaintiff's 11, was there a hue or

02:30:16   24   saturation selection for the 3-axis or just color change?

02:30:26   25   A.   The red, green, and blue is a change in saturation on
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02:30:31    1   the 3-axis monitor that I demonstrated on.

02:30:33    2   Q.   And how is that different than the 6-axis?

02:30:36    3   A.   Well, the 6-axis has six axes.      It has additional

02:30:49    4   colors.

02:30:49    5   Q.   So what I'm asking you is this.       For the 6-axis that

02:30:55    6   we're looking at, they have six for hue and six for

02:30:59    7   saturation, correct?

02:31:00    8   A.   Yes.

02:31:00    9   Q.   And for the 3-axis, it's just RGB for saturation; is

02:31:05   10   that what you said?

02:31:07   11   A.   Yes.

02:31:07   12   Q.   All right.    Here is a picture of the same -- it's the

02:31:10   13   second slide we used on the first one, if you will look at

02:31:13   14   the monitor here, and we see six colors.

02:31:18   15               Before you change it, can you please explain to

02:31:21   16   the jury what you anticipate will happen, change it, and

02:31:24   17   then tell us what happened?

02:31:26   18   A.   Sure.    So in this pattern -- you've seen the pattern

02:31:34   19   before -- we've got some additional colors, right?            We've

02:31:37   20   got red, green, blue, and then cyan, magenta, and yellow.

02:31:40   21   And I'm showing, once again, the amount of red or -- which

02:31:46   22   colors contain red and which don't.

02:31:49   23               So I've got -- on the far left, I've got my red

02:31:53   24   and then green, blue.     The cyan doesn't contain any red.

02:31:57   25   And the magenta contains red.       And I'm pointing at the red
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02:32:02    1   value on magenta.      And then the yellow also contains red.

02:32:05    2               So what will change?   What would I expect to

02:32:08    3   change?      The red bar, the magenta bar, and the yellow bar.

02:32:13    4               What should not change?    Anything with the red

02:32:17    5   component, so that's the green bar and the blue bar and the

02:32:20    6   cyan bar.

02:32:22    7               So I'm now going to change the value.       I'm sorry,

02:32:34    8   I misspoke.      I misspoke because I described it for a

02:32:41    9   3-axis.

02:32:42   10   Q.   Okay.    Just continue.   You're talking about a 6-axis,

02:32:45   11   fair?

02:32:45   12   A.   Yes.    I need to correct that.    Because this is a

02:32:53   13   6-axis, how it's different than a 3-axis is that I've got

02:32:59   14   three additional colors that can be adjusted.          And so it's

02:33:02   15   very important to understand that when I change red, red

02:33:05   16   will change, as it's doing now, but magenta and yellow are

02:33:11   17   their own independent colors in a 6-axis monitor.

02:33:17   18               And so as I move the red slider, they will not

02:33:20   19   change.      So the brain in this monitor has the ability to

02:33:29   20   see these additional colors and know whether or not to

02:33:31   21   change them.

02:33:32   22   Q.   You dropped the color, and we talked about that,

02:33:35   23   correct?

02:33:35   24   A.   Yes.

02:33:36   25   Q.   All right.
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02:33:36    1            MR. SABA:    Can you put that back up to 50?         We got

02:33:39    2   one more slide.     The checkerboard, please.

02:33:48    3   A.   Okay.   So we've seen this demonstrative.        It was used

02:33:54    4   by opposing counsel the first day.

02:33:57    5            And, once again, I would expect the colors to

02:34:02    6   change when I move the slider.       In this case, the bars are

02:34:09    7   red in the center, green above that, blue, yellow, magenta

02:34:14    8   and cyan.

02:34:15    9            But, remember, this is a 6-axis monitor, so when I

02:34:20   10   vary the red slider, the only bar here that should change

02:34:25   11   is the red bar.     All the other bars should stay the same.

02:34:28   12   So let's test that.

02:34:36   13            So as you can see, when I change red, none of the

02:34:41   14   other bars change, unless I go in specifically to, let's

02:34:47   15   say, magenta.     Now only magenta changes, and that's because

02:34:57   16   this is a 6-axis monitor.      It's a bit different than

02:35:02   17   the 3-axis.

02:35:02   18   BY MR. SABA:

02:35:04   19   Q.   Thank you, Dr. Ducharme.

02:35:07   20            I think you can go back to the penalty box there,

02:35:10   21   just don't trip on that wire, and I'm going to see if we

02:35:14   22   can get this thing down while I keep asking you questions

02:35:14   23   in the interest of time.

02:35:19   24            MR. SABA:    If that's okay, Your Honor?

02:35:20   25            THE COURT:    Yes.
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02:35:23    1   BY MR. SABA:

02:35:24    2   Q.   Dr. Ducharme, I want to talk to you about your

02:35:26    3   opinions.

02:35:26    4               All right.   I'm going to start with the summary.

02:35:30    5   A.   Okay.

02:35:30    6   Q.   All right.    In order to expedite things, what is at

02:35:33    7   issue here is the '435 patent, correct?

02:35:35    8   A.   Correct.

02:35:36    9   Q.   All right.    And, generally, what does the '435 patent

02:35:40   10   invention involve?

02:35:41   11   A.   The '435 patent is a system and method for selecting

02:35:49   12   and adjusting individual color without changing the other

02:35:53   13   individual colors.

02:35:57   14   Q.   And you understand that ASUS -- Defendant ASUS is

02:36:02   15   accused of infringing the '435 patent?

02:36:05   16   A.   Yes.

02:36:06   17   Q.   And what types of products allegedly are -- what are

02:36:10   18   the accused products, sir?

02:36:13   19   A.   Displays.

02:36:14   20   Q.   What were you asked to do concerning the ASUS accused

02:36:20   21   products?

02:36:20   22   A.   I was asked to compare the operation of the ASUS

02:36:27   23   products with the method described in the '435 patent.

02:36:31   24   Q.   What was the conclusion of your analysis?

02:36:40   25   A.   That the ASUS products infringe on the '435 patent.
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02:36:46    1   Q.    And you also provided some other opinions, rebuttal

02:36:49    2   opinions that we'll get to a little later.           But I want to

02:36:52    3   talk to you about the -- your infringement opinions, okay?

02:36:56    4   A.    Yes.

02:36:58    5   Q.    All right.

02:36:59    6                MR. SABA:    Your Honor, we would like to formally

02:37:02    7   offer -- formally offer P11 and P12.         Those are the

02:37:06    8   monitors that we had just discussed with Dr. Ducharme.

02:37:09    9                THE COURT:    Any objection to those?

02:37:11   10                MR. JOSHI:    Not as long as we can do the same.

02:37:13   11                THE COURT:    Oh, of course, yeah.

02:37:15   12                MR. SABA:    No problem, Your Honor.

02:37:16   13                THE COURT:    Very well.   They will be received.

02:37:16   14   BY MR. SABA:

02:37:20   15   Q.    Dr. Ducharme, if --

02:37:20   16                MR. SABA:    Denver, if you can kindly put on Slide

02:37:24   17   17.

02:37:25   18   BY MR. SABA:

02:37:25   19   Q.    Now, do you see this picture here?

02:37:27   20   A.    Yes.

02:37:27   21   Q.    All right.    Now, what are we looking at?

02:37:31   22   A.    This is a picture that I took last week on the PA328

02:37:36   23   monitor that I demonstrated.        That was the largest -- the

02:37:39   24   larger 6-axis monitor.

02:37:41   25                And I just went on the internet and found a
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02:37:45    1   picture of a scarlet macaw and a blue and gold macaw and

02:37:51    2   put it on the screen, and then changed the hue value.            So

02:37:56    3   there are -- there is a 6-axis slider for saturation and

02:37:59    4   for hue.

02:38:02    5              MR. SABA:    And, Denver, if you could go to the

02:38:04    6   next slide, please.

02:38:06    7   BY MR. SABA:

02:38:07    8   Q.   What are we looking at here?

02:38:09    9   A.   So the hue of the -- only the red color in the parrot

02:38:13   10   picture has been changed from 50 to 100.         And when you do

02:38:18   11   that, you're changing the hue.       You're moving the color red

02:38:21   12   or any pixels in the image -- red pixels in the image,

02:38:28   13   you're moving it from red to another color.          That's

02:38:28   14   changing hue.

02:38:30   15              And in this case, when you go from 50 to 100, it

02:38:34   16   moves those red pixels towards yellow.

02:38:34   17              MR. SABA:    Okay.   Denver, you can...

02:38:34   18   BY MR. SABA:

02:38:39   19   Q.   I want to talk to you generally about the '435, sir,

02:38:42   20   okay?

02:38:44   21              Do you remember what year the patent was applied

02:38:47   22   for?

02:38:47   23   A.   It's -- yes.      2001.

02:38:50   24   Q.   Okay.   I've got a slide for you on that one.         Give me

02:38:54   25   one second.     I apologize.    Apologize.
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02:39:25    1               What's a priority date, Dr. Ducharme?

02:39:28    2   A.   A priority date is the earliest date to which a patent

02:39:33    3   has rights.

02:39:34    4   Q.   And what's the priority date of the '435?

02:39:38    5   A.   August 2001.

02:39:40    6   Q.   Give me one second.    There we go.

02:39:50    7               And see the highlighted date, August 6, 2001?

02:39:53    8   A.   Yes.

02:39:53    9   Q.   Is that the date that you were talking about?

02:39:56   10   A.   Yes.

02:39:56   11   Q.   Is that the priority date?

02:39:57   12   A.   I believe that is the priority -- yes, the priority

02:40:01   13   date is August 6, 2001.

02:40:03   14   Q.   And is the patent -- the '435 patent valid or is -- has

02:40:08   15   it expired?

02:40:09   16   A.   It's valid.

02:40:10   17   Q.   In the early 2000s, can you please give the ladies and

02:40:15   18   gentlemen of the jury an idea of the problem that existed

02:40:18   19   in the -- at the time -- before the patent was invented?

02:40:22   20   A.   Before this invention, you had hue and saturation

02:40:31   21   control on your display.     But when you moved that delta

02:40:34   22   value and you moved that slider or turned a knob, it

02:40:38   23   changed all of the pixels on the screen.         So it changed all

02:40:42   24   the -- all the pixels of every color.

02:40:44   25               So in here, you can see that on the left, we have
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02:40:47    1   no saturation, essentially black and white, and on the

02:40:51    2   right, we have maximum saturation.        And, remember,

02:40:55    3   saturation is the vividness of the color.         So it looks very

02:41:01    4   bright and colorful on the right.

02:41:03    5   Q.   And the purpose or the summary of the invention in your

02:41:07    6   own words, sir?

02:41:09    7   A.   In summary, the '435 patent is a method for taking

02:41:19    8   incoming video, allowing the user to select a color to be

02:41:24    9   changed, the monitor then uses arithmetic and logical

02:41:33   10   operations to select all the pixels in the image that have

02:41:37   11   that color that's been selected to change.          It then

02:41:42   12   performs the color change, the delta value, reassembles the

02:41:48   13   image, and redisplays it for you.

02:41:50   14               So in digital real-time video, it allows you to

02:41:58   15   select and adjust the color, make the color change and have

02:42:01   16   it be displayed.

02:42:02   17   Q.   Thank you, Dr. Ducharme.     You may have beaten me to the

02:42:06   18   punch here because I want to talk briefly about Claim 1.

02:42:09   19   And -- but I just want a general overview about -- I think

02:42:11   20   you were describing the steps.

02:42:13   21               Let's start with this.   Claim 1 is an independent,

02:42:16   22   right?

02:42:17   23   A.   Yes.    Claim 1 is the -- an independent claim.

02:42:21   24   Q.   All right.    I don't -- we don't need to go to detailed

02:42:25   25   in this, but I will ask you to explain briefly.           This is
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02:42:28    1   Step 1(a) of Claim 1.      Just take it -- take us through this

02:42:32    2   very briefly.

02:42:33    3   A.   Okay.   As I described previously, a little briefer, so

02:42:39    4   Part (a) is you receive and characterize the video signal.

02:42:46    5   It's a digital video signal, and it has a format.           So

02:42:46    6   that's what we mean by "characterizing."         So it receives

02:42:51    7   the video, digital video image.

02:42:54    8   Q.   And then Step 1(b).

02:42:58    9   A.   "Selecting to independently change" means that you

02:43:01   10   provide some -- some way to a user to submit a delta value,

02:43:08   11   a change color value, like a slider on the screen, and that

02:43:13   12   can be in both hue and saturation.

02:43:16   13   Q.   Step 1(c), please.

02:43:17   14   A.   So in (c), now that the user has decided what color

02:43:23   15   they want to change, the red color, they give that slider a

02:43:27   16   value.

02:43:27   17             In Step (c), the brains of the monitor looks at

02:43:33   18   all of the pixels -- each one of the pixels one by one --

02:43:36   19   or each one of the pixels and identifies which ones of

02:43:39   20   those pixels -- which pixels should be changed because they

02:43:43   21   have the same color that's -- the user has decided to

02:43:48   22   adjust.

02:43:49   23             So once it's -- once the monitor has decided which

02:43:55   24   pixels to change, it then also has a bunch of remaining

02:43:59   25   pixels that aren't to be changed.        But -- and very
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02:44:07    1   important to this, is it does all of this in a -- in a -- I

02:44:11    2   say the monitor's brain, but it's a microchip.           It has

02:44:16    3   firmware, source code that it's running.         And the way that

02:44:20    4   source code works is it uses arithmetic and logical

02:44:24    5   operations:     plus, minus, greater than, less than.

02:44:24    6   Q.   Okay.    We're going to go to 1(d), please.

02:44:32    7   A.   So once you have determined which pixels need to be

02:44:35    8   changed, you change them, and then you put the image back

02:44:38    9   together.

02:44:39   10   Q.   And the last step is 1(e).

02:44:45   11   A.   And now you display it.     So it's a method.      You receive

02:44:51   12   it, change it, display it.

02:44:53   13   Q.   Dr. Ducharme, do you know how many asserted claims --

02:44:59   14   or what the asserted claims are in this case?

02:45:00   15   A.   Yes.

02:45:01   16   Q.   What are they?

02:45:01   17   A.   1 through 3, 5 and 6, 13 through 15.

02:45:07   18   Q.   Thank you, sir.

02:45:07   19               I want to talk to you about -- switch topics here,

02:45:11   20   and I want to talk to you about the ASUS accused devices,

02:45:16   21   okay?

02:45:21   22               We talked about -- you talked earlier about there

02:45:25   23   being displays at issue.     My question is how many types of

02:45:29   24   accused product families have been accused in this matter?

02:45:33   25   A.   135.
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02:45:34    1   Q.   And of those types, how many total displays are there?

02:45:44    2   A.   169.

02:45:46    3   Q.   I think -- you see this slider right here, that's

02:45:52    4   accused families, correct?

02:45:54    5   A.   Yes.

02:45:54    6   Q.   And you refer to all of those as accused devices?

02:45:57    7   A.   Yes.

02:45:58    8   Q.   Okay.    How did you categorize these displays?

02:46:03    9   A.   They're divided into 3-axis displays and 6-axis

02:46:09   10   displays.

02:46:10   11   Q.   And we talked about the difference between 3-axis and

02:46:14   12   6-axis.      Do the accused products include all monitors that

02:46:19   13   ASUS makes?

02:46:20   14   A.   No.

02:46:24   15   Q.   Do you have any idea how many additional devices have

02:46:28   16   not been accused?

02:46:29   17   A.   No.

02:46:32   18   Q.   Okay.    In your original expert report -- you served an

02:46:41   19   expert report in this matter, correct?

02:46:42   20   A.   Yes.

02:46:42   21   Q.   And they contain your infringement and validity

02:46:46   22   opinions?

02:46:46   23   A.   Yes.

02:46:46   24   Q.   And in your original report back in -- I think it was

02:46:49   25   September of 2020, did you include analysis of ASUS
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02:46:55    1   projectors?

02:46:56    2   A.   Yes.

02:47:00    3   Q.   Do you remember how many projectors were at issue?

02:47:02    4   A.   There were four projectors.

02:47:04    5   Q.   Are they still asserted in this case?

02:47:07    6   A.   No.

02:47:07    7   Q.   Just monitors?

02:47:08    8   A.   Yes.

02:47:09    9   Q.   I forgot to ask you this question.       I apologize.       I'm

02:47:22   10   going to have to ask you.

02:47:23   11               We talked about the monitors that you tested,

02:47:26   12   right?      Will they work -- can you do the color change if

02:47:28   13   there's anything -- if there's not anything connected to

02:47:30   14   the monitor?

02:47:32   15               In other words, if I don't have a computer or a

02:47:35   16   cable box or whatever connected to it, can you pull up the

02:47:39   17   color changes in the menu and make it change colors?

02:47:48   18   A.   I don't know.

02:47:49   19   Q.   Okay.    I'm sorry.   I apologize for that.      I should

02:47:49   20   have...

02:48:01   21               All right.   You said that you rendered an opinion

02:48:07   22   on infringement.      Let's talk about your analysis that

02:48:10   23   underlies that opinion, okay?

02:48:13   24   A.   Yes.

02:48:13   25   Q.   What did you generally do to formulate your opinion
   Case 6:19-cv-00059-RWS Document 233 Filed 06/11/21 Page 123 of 193 PageID #: 3556
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02:48:19    1   that the accused products infringe?

02:48:22    2   A.   I reviewed the '435 patent and all of the claim

02:48:34    3   limitations that were asserted in the case through the eyes

02:48:39    4   of the Court's construction, how the terms in these claims

02:48:43    5   were defined.     And I compared those to the accused products

02:48:47    6   in three ways.

02:48:49    7               I looked at all of the technical documents and

02:48:52    8   user manuals that we could find -- that I could find.            I

02:48:58    9   reviewed source code for the brain that's inside the

02:49:02   10   monitor, and then I also tested the monitors.

02:49:05   11   Q.   We're going to talk about all three of those, okay?

02:49:10   12   Let's start with the technical materials.         You said that

02:49:15   13   you reviewed product manuals, correct?

02:49:17   14   A.   Yes.

02:49:18   15   Q.   All right.    To your right, there are three binders.

02:49:23   16   They're marked P-26-1 through P-26-135.         Do you see those?

02:49:37   17   A.   Yes.

02:49:46   18   Q.   What are they?     And feel free to pick them up and

02:49:50   19   peruse them.

02:50:09   20   A.   Volume I is user's manual from the ASUS products.

02:50:14   21   Q.   Okay.    Could you please just confirm the same for II

02:50:18   22   and III?

02:50:20   23   A.   Volume II is also user manuals, and Volume III is also

02:50:59   24   ASUS display user's manuals.

02:51:04   25               MR. SABA:   Your Honor, at this time we'll offer
   Case 6:19-cv-00059-RWS Document 233 Filed 06/11/21 Page 124 of 193 PageID #: 3557
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02:51:06    1   P-26-1 through P-26-135.

02:51:10    2            THE COURT:     Any objections?

02:51:11    3            MR. JOSHI:     Subject to our objections.

02:51:14    4            THE COURT:     Subject to the previous objections?

02:51:16    5            MR. JOSHI:     Yes.

02:51:16    6            THE COURT:     All right.    They will be received.

02:51:18    7            MR. SABA:     Thank you.

02:51:22    8   BY MR. SABA:

02:51:23    9   Q.   Thank you, Dr. Ducharme.       Do you have -- can you tab

02:51:27   10   over to 30 very quickly here?        Let me be clear.     P-26-30.

02:51:32   11   First binder.     Yeah, that's correct.

02:51:58   12   A.   I'm at P-26-30.

02:52:02   13   Q.   Yes, sir.

02:52:04   14            MR. SABA:     May I approach, Your Honor?

02:52:06   15            THE COURT:     You may.

02:52:08   16   BY MR. SABA:

02:52:08   17   Q.   Okay.   Dr. Ducharme, what are we looking at here?

02:52:13   18   A.   This is a user manual for the P248 series monitor.

02:52:22   19   Q.   Could you -- maybe it would be easier if we just did it

02:52:26   20   on the screen.     I'm showing you a copy of what's been

02:52:26   21   published.     Oops, pardon me.

02:52:31   22            MR. SABA:     Can we go to Page 3-2, Denver, please?

02:52:35   23   I don't have an actual PDF page.

02:52:38   24   BY MR. SABA:

02:52:39   25   Q.   Okay.   Dr. Ducharme, do you see that on your screen?
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02:52:40    1   A.    Yes.

02:52:41    2   Q.    All right.    What is the -- do you see the box function,

02:52:43    3   brightness, contrast, saturation hue?

02:52:46    4   A.    Yes.

02:52:46    5   Q.    I mean, can you explain what this is, briefly?

02:52:49    6   A.    It's just explaining in the different modes what

02:52:54    7   options the user has control of.

02:52:56    8   Q.    Does the -- does this particular display have the

02:53:04    9   ability to change all colors, as well as individual colors?

02:53:12   10   A.    Yes.    There are separate saturation and hue controls.

02:53:16   11   Q.    But your analysis was concerned with individual colors,

02:53:19   12   correct?

02:53:19   13   A.    Yes.

02:53:22   14                MR. SABA:   And, Denver, if we could go to the next

02:53:26   15   page, 3-3.      And if you could highlight that -- just that

02:53:29   16   top half of those menus.       Okay.

02:53:34   17   BY MR. SABA:

02:53:34   18   Q.    I want to ask you about, for the record, what is an OSD

02:53:38   19   is.    Dr. Ducharme, do you know what an OSD is?

02:53:40   20   A.    Yeah.    It's an acronym for On-Screen-Display.

02:53:46   21   Q.    And is that just the menu on the device?

02:53:49   22   A.    Yes.

02:53:55   23   Q.    What -- were the menus on the device across the devices

02:53:58   24   that you looked at for the most part the same?           Let me --

02:54:03   25   that's a bad question.       Let me rephrase it.
   Case 6:19-cv-00059-RWS Document 233 Filed 06/11/21 Page 126 of 193 PageID #: 3559
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02:54:07    1               For the 6-axis monitors, were the OSD menus

02:54:13    2   relatively the same, in your experience?

02:54:19    3   A.   Can you clarify that?

02:54:20    4   Q.   Yeah.    Did the 6-axis menus -- could you navigate them?

02:54:25    5   Did the functionality appear to be the same for the 6-axis

02:54:28    6   products?

02:54:29    7   A.   Yes.

02:54:30    8   Q.   And the same question for the 3-axis products.

02:54:37    9   A.   Yes.

02:54:47   10               MR. SABA:    And, Denver, if we could go to 3-9,

02:54:51   11   please.

02:54:52   12   BY MR. SABA:

02:54:53   13   Q.   Okay.    And I think we talked at -- a third from the

02:54:59   14   bottom, please.     This is a troubleshooting section here,

02:55:07   15   Dr. Ducharme?

02:55:07   16   A.   Yes.

02:55:08   17   Q.   And it says:       Screen image has color defects.     White

02:55:11   18   does not look white.

02:55:12   19               Can you explain to us what the remedy is here?

02:55:17   20   A.   From this troubleshooting frequently asked questions,

02:55:24   21   FAQ, ASUS is instructing their users to adjust the red,

02:55:29   22   green, and blue color settings to fix the defect.

02:55:37   23   Q.   When you say defect, what do you mean?

02:55:39   24   A.   I mean a difference from what someone might desire.

02:55:45   25   Q.   Real world example, please.
   Case 6:19-cv-00059-RWS Document 233 Filed 06/11/21 Page 127 of 193 PageID #: 3560
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02:55:50    1   A.   Your vacation pictures look kind of reddish, and you

02:55:56    2   don't want them to on your monitor.        So you can adjust the

02:56:01    3   red, green, and blue sliders so that your pictures match

02:56:03    4   your memories, I guess you could say.

02:56:07    5   Q.   Does that have anything to do with gain?

02:56:13    6   A.   Gain could be one way that you would describe this.

02:56:19    7   Q.   Does it have anything to do with hue or saturation?

02:56:24    8   A.   I would need to know more about, you know, the device.

02:56:36    9   It could have -- it could be -- it could change both hue

02:56:41   10   and saturation.     In the 3-axis that I demonstrated, it was

02:56:45   11   saturation.

02:56:55   12   Q.   Okay.    I'd like to -- I'm sure this has been offered.

02:57:00   13   Dr. Ducharme, let me --

02:57:02   14               MR. SABA:    May I approach, Your Honor?

02:57:04   15               THE COURT:    You may.

02:57:06   16   BY MR. SABA:

02:57:06   17   Q.   Let me show you -- I'm showing you what's been marked

02:57:59   18   as Plaintiff's 17, sir.       Do you recognize this document?

02:58:02   19   A.   Yes.

02:58:03   20   Q.   And what do you recognize it to be?

02:58:05   21   A.   It's product literature for the ProArt display PA248.

02:58:15   22   Q.   Was that the manual that we were looking at earlier?

02:58:20   23   A.   Yes.

02:58:20   24   Q.   Okay.

02:58:23   25               MR. SABA:    Your Honor, we'd offer Plaintiff's 17.
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02:58:25    1               THE COURT:    Any objection?

02:58:26    2               MR. JOSHI:    No objection.

02:58:27    3               THE COURT:    It'll be received.

02:58:28    4               MR. SABA:    Thank you.

02:58:30    5               Denver, will you kindly put that on?

02:58:34    6   BY MR. SABA:

02:58:34    7   Q.   This is a picture of a colorful copy of 17.          I'd like

02:58:40    8   for you to turn to Page 4.        It's a little small, but I'm

02:58:51    9   going to read it.        Under this monitor it says:     ProArt

02:58:54   10   display PA248QV is a 24.1-inch monitor designed to satisfy

02:59:02   11   the needs of creative professionals from photo and video

02:59:06   12   editing to graphic design.

02:59:07   13               And then it says:    ProArt display PA248QV is a

02:59:14   14   factory calibrated and Calman verified to deliver superb

02:59:23   15   color accuracy Delta E less than 2.

02:59:26   16               Did I read that right?

02:59:27   17   A.   Yes.

02:59:28   18   Q.   What's Delta E less than 2 mean?

02:59:32   19   A.   Delta E in color science is a measure of color

02:59:39   20   difference.

02:59:39   21   Q.   Can you elaborate?

02:59:42   22   A.   Okay.    So for any two colors, we can measure their

02:59:48   23   difference using a formula and the result of the formula is

02:59:51   24   Delta E.

02:59:58   25               In general, most people -- let me repeat that.
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03:00:02    1              It's generally accepted that humans cannot see

03:00:04    2   color differences less than 2.       So this is a very good

03:00:09    3   monitor.     It has a color difference less than 2.        So you

03:00:12    4   will not be able to tell if you have two reds next to each

03:00:15    5   other if they're -- they'll be exactly the same color is

03:00:19    6   the point.

03:00:19    7   Q.   I forgot to ask you this earlier.       I believe that when

03:00:23    8   I was in elementary school, the primary colors were red,

03:00:26    9   yellow, and blue, but we're talking about red, green, and

03:00:31   10   blue.     I may have gotten that wrong.     What's the difference

03:00:34   11   with light?

03:00:35   12   A.   Okay.   When you're talking about inks and you mix inks

03:00:42   13   together and mix paints together or crayons, that's called

03:00:45   14   subtractive color addition.      So when you have light,

03:00:52   15   that's -- "additive color mixture" is the phrase.           So if

03:00:57   16   you take red, green, and blue light of equal parts and you

03:01:01   17   mix it together, you get white.

03:01:03   18              So it is a little bit different when we think

03:01:07   19   about how these colors are created on a monitor.           But red,

03:01:13   20   green, and blue are just component colors of light that can

03:01:15   21   make all the colors of the rainbow.

03:01:29   22   Q.   And if -- thank you, sir.

03:01:29   23              MR. SABA:   Denver, can you go to the next page,

03:01:33   24   please?

03:01:33   25   BY MR. SABA:
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03:01:33    1   Q.   There is -- if you look at your monitor, sir,

03:01:33    2   there's -- it's -- it looks to be cut off.          If you scroll

03:01:36    3   down -- there you go -- see that bottom right-hand section?

03:01:39    4   That's it.

03:01:40    5               Dr. Ducharme, I want to ask you about this

03:01:42    6   statement here.     It says:   High color fidelity for truly

03:01:46    7   expressive hues.

03:01:48    8               Can you tell us a little bit about that?

03:01:53    9   A.   Can you clarify your question?

03:01:55   10   Q.   Sure.    Are we still talking about the Delta E less

03:01:58   11   than 2 with regard to hues here?

03:02:02   12   A.   Yes.    It's color difference, so it's a hue difference.

03:02:11   13   What they're --

03:02:13   14   Q.   You wanted to add something?

03:02:15   15   A.   What this is saying is if you -- if you're working as a

03:02:19   16   professional and you're making, say, brochures or some

03:02:24   17   material that the color really matters, when you're working

03:02:28   18   on it and you've selected a very specific color, when you

03:02:34   19   print it and your work is done, it won't differ from what

03:02:38   20   you see on the screen.      So that's why this is such an

03:02:41   21   important feature.

03:02:42   22   Q.   One more question on this document.

03:02:46   23               MR. SABA:   Denver, it's the upper left-hand side.

03:02:50   24   See that little graph?      That's it.

03:02:53   25   BY MR. SABA:
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                                                                                    319



03:02:53    1   Q.   Dr. Ducharme, what is that graph here?        Do you know

03:02:57    2   what that is?

03:02:58    3   A.   I do.

03:02:58    4   Q.   Please explain.

03:03:03    5   A.   This is what's referred to as the tongue.         It's the

03:03:09    6   1931 CIE XY color space.     Color space is just an

03:03:16    7   organization of colors so we can look at their differences

03:03:19    8   or look at the different values.       There are many different

03:03:24    9   color spaces.    They call this the tongue because it looks

03:03:28   10   like a tongue.     It has -- it's kind of a strange shape.

03:03:31   11            The way it's formed is we're plotting in x and y,

03:03:35   12   so x is on the bottom -- that's our x-axis.          And y is on

03:03:38   13   the left -- that's our y-axis.       Around the edge of this

03:03:42   14   funny shape are all pure wavelengths of light, so they're

03:03:46   15   all pure colors.     And that's what defines those and this

03:03:49   16   shape and their location on this x and y plot.

03:03:54   17            The white triangle that you see is plotted from

03:03:59   18   the component colors in the monitor.        So I don't have a

03:04:05   19   laser pointer or any way to point to this, but I'm going to

03:04:10   20   point to the far right vertice [sic] of the triangle.             And

03:04:14   21   you can see it's in a reddish area.        That point is defined

03:04:19   22   by the color of the red pixel in this monitor.           So whatever

03:04:30   23   red color that is, that's that point on the vertice.

03:04:33   24            The upper vertice in green is the green pixel or

03:04:37   25   green component color.     And then on the left is blue, and
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03:04:39    1   that's the blue component color.

03:04:41    2               The white triangle formed by connecting those dots

03:04:46    3   together is what's called the gamut.        Those are all of the

03:04:52    4   colors that the monitor can reproduce.         Most of us can see

03:04:58    5   all of the colors.

03:04:59    6   Q.   Thank you, sir.

03:05:00    7               All right.   We talked about the documents.       In

03:05:06    8   addition to the manuals that we had, P-26-1 through 135,

03:05:15    9   did you also reference other technical materials?

03:05:17   10   A.   Yes.

03:05:18   11   Q.   And can you give the ladies and gentlemen of the jury

03:05:22   12   just a brief summary of what that was, some examples?

03:05:26   13   A.   FAQs and --

03:05:29   14   Q.   Product specs?

03:05:31   15   A.   Product specifications, websites, things like that.

03:05:40   16   Q.   Let's talk about testing.     All right.     So we talked

03:05:43   17   about the technical materials, and then you said you also

03:05:47   18   tested the two monitors that we had here in the courtroom

03:05:52   19   or we have here in the courtroom, right?

03:05:55   20   A.   Yes.

03:05:55   21   Q.   All right.    The first question I have for you is just

03:05:59   22   generally explain what you did to test.

03:06:05   23   A.   Okay.    To test the monitors, I needed to measure change

03:06:12   24   in color, that Delta E.      That was one of the things that

03:06:16   25   was very important.      So I needed to be able to measure that
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03:06:20    1   myself, and you can't do that by looking at the monitor.

03:06:23    2   Q.   Dr. Ducharme, hold on one second.

03:06:30    3   A.   Okay.

03:06:34    4   Q.   I've got a slide for you.

03:06:44    5            While we're pulling that up, what kind of test did

03:06:48    6   you perform?

03:06:49    7   A.   I made a color analysis test.

03:06:53    8   Q.   And what did you use to test for color analysis?

03:06:57    9   A.   So in order to measure color difference, that Delta E

03:07:05   10   value that we saw previously, I needed an instrument to do

03:07:09   11   that.   And so the instrument that we use in color science

03:07:13   12   is called a color analyzer.      It's a specialized really

03:07:18   13   rather expensive camera.

03:07:19   14            But you point it at the screen, a monitor -- and

03:07:22   15   it's designed to do this.      You point it at a monitor, and

03:07:25   16   it gives you numbers, and those numbers fall on that CIE

03:07:34   17   chromaticity curve, that tongue picture that I showed you

03:07:39   18   on the previous.    So that will give you --

03:07:39   19   Q.   Excuse me.   I'm sorry.    I didn't mean to interrupt you.

03:07:42   20            Before we talk about the -- we'll talk about the

03:07:43   21   actual equipment you used to test in a second.           You're

03:07:45   22   talking about color and how it's perceived, and there's a

03:07:48   23   demo of an apple there.

03:07:53   24            That's your image, correct?

03:07:54   25   A.   It is.
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03:07:55    1   Q.   Tell us about that.

03:07:57    2   A.   Well, we're kind of far along here, but color is what

03:08:01    3   humans perceive light to be, right?        So it's a response

03:08:08    4   that our eyes have to light.

03:08:10    5             And a problem with measuring color as humans see

03:08:13    6   it, there's no way to connect an instrument to someone's

03:08:17    7   mind or their eyes to be able to measure what they see.             So

03:08:22    8   you have to ask a whole bunch of people what they see.

03:08:26    9             So I'm showing you a red apple.        You know, the

03:08:29   10   question you have is, is it a red apple?         And we all have

03:08:33   11   slightly different ideas of what exact color this is.

03:08:36   12             So the way that you get two numbers in color

03:08:39   13   science is you ask a whole bunch of people what color they

03:08:43   14   see under very controlled circumstances.         You have small --

03:08:46   15   and I'm holding my fingers showing a circle, a small

03:08:52   16   circle.    And you have color swatches, and you ask a whole

03:08:56   17   bunch of people what they see.

03:08:59   18             When you're all done, statistically you can form

03:09:04   19   curves that represent the human perception of light into

03:09:07   20   color.    And I don't know if you have that.

03:09:09   21   Q.   I have the next slide here.      I think this says,

03:09:12   22   Standard Observer.

03:09:13   23             Tell us about these curbs -- curves.

03:09:16   24   A.   So a standard observer is another fancy word for you

03:09:19   25   asked a bunch of people, and you did a survey of color, and
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03:09:29    1   the result of this is -- are these three curves.           There's a

03:09:36    2   blue curve, a green curve, and a red curve.          And that is

03:09:36    3   how our human eyes convert wavelengths of light to colors.

03:09:41    4   It forms this standard observer.

03:09:43    5               A color analyzer utilizes this in a

03:09:49    6   microprocessor.     It detects light, it senses it like the

03:09:50    7   human eye does, and then it uses a standard observer like

03:09:53    8   this to output numbers.     And if those numbers are accurate

03:09:59    9   enough, I can use it to make measurements like the color

03:10:02   10   difference of a monitor.

03:10:03   11   Q.   Let's talk about the color sensor.       And I don't know if

03:10:07   12   I'm butchering that device, but is that a picture of what

03:10:11   13   you used to test?

03:10:12   14   A.   Yes.

03:10:13   15   Q.   Tell us about that.

03:10:15   16   A.   So Konica-Minolta makes color analyzers.         This is the

03:10:19   17   latest model.     It's -- this company is regarded as the best

03:10:22   18   in what they do, and it's pretty standard to see these in

03:10:26   19   the industry.

03:10:27   20               So it's a color camera, very specialized.        On the

03:10:31   21   left is -- it's actually a rubber hood.         So when you put it

03:10:35   22   up against a monitor or a screen, it doesn't allow any

03:10:39   23   ambient light to enter the measurement, and that's what

03:10:42   24   this picture on the right is showing you, the proper use of

03:10:48   25   this hood, they call it.
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03:10:50    1              The most important number and thing about this

03:10:53    2   slide is the tolerance.     The tolerance is that chromaticity

03:11:00    3   tolerance that it can measure.       So this device puts out a

03:11:06    4   little "x" and a little "y" from the chromaticity diagram,

03:11:10    5   and that little "x" and little "y" have a tolerance of

03:11:15    6   .002.   That's a very, very small number.        None of us would

03:11:18    7   be able to see differences this small.

03:11:21    8   Q.   You have a picture of this -- I think you said it was

03:11:24    9   the color tongue?

03:11:25   10   A.   Yeah.   So what's a little easier to see in this picture

03:11:30   11   is that I've got an x-axis and a y-axis, and I've got a

03:11:34   12   single point here that is maybe a color that I have

03:11:37   13   measured.    And all I wanted to show -- show was that it has

03:11:41   14   coordinates.    So x equals 0.52, and y equals 0.38.

03:11:51   15              Those numbers allow us to quantify color.         It's

03:11:55   16   very difficult, and you can't do that any other way.            You

03:11:58   17   need to use a device that's especially designed to give you

03:12:02   18   numbers.

03:12:04   19   Q.   And I -- this -- what are we looking at here?

03:12:09   20   A.   This is a microscope enlargement of a typical LCD

03:12:17   21   monitor, and it's showing three -- I'm sorry -- it's

03:12:20   22   showing a pixel, and there are three bars, three color bars

03:12:24   23   in the pixel, blue, red, and green, and those are the

03:12:28   24   component colors.

03:12:29   25              And I spoke earlier about the vertices in the
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03:12:33    1   gamut on that tongue picture, those three sources are the

03:12:38    2   three vertices on that triangle.       So those are how we can

03:12:43    3   make millions of colors on a monitor.

03:12:45    4   Q.   All right.    Let me be clear on this.      Going back to

03:12:53    5   this slide.     Do you see the color tongue?

03:12:54    6   A.   Yes.

03:12:56    7   Q.   Did you say that RGB can create any color within that

03:13:01    8   envelope -- tongue, if you will?

03:13:02    9   A.   Within a triangle defining the wavelengths or colors of

03:13:08   10   the component colors.

03:13:10   11   Q.   Is that why there are red, green, and blue subpixels

03:13:17   12   for every pixel on a display?

03:13:19   13   A.   Yes.

03:13:20   14   Q.   Oops, gone too far.

03:13:24   15               All right.   Tell us about how you conducted the

03:13:34   16   test and what you conducted the test on.

03:13:37   17   A.   Okay.    I conducted a test on the 6-axis monitor that

03:13:41   18   we -- was shown earlier, as well as the 3-axis monitor.

03:13:44   19   And I used the color analyzer, and, essentially, what --

03:13:50   20   the way you do one of these tests is you display a color

03:13:55   21   swatch on the screen.      You point the camera at that swatch,

03:13:59   22   and it measures the color.

03:14:02   23               The tedious part is you have to get into the

03:14:05   24   menus, and you change those sliders that we showed earlier,

03:14:09   25   and there's a lot of permutations.        So if you're measuring
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03:14:15    1   hue, you have to move the red slider, say, from 0 to 100

03:14:21    2   and then back to 50.     And then you have to do the green

03:14:24    3   slider from 0 -- and you have to do that for each one of

03:14:28    4   the colors.    So it ends up being, as you'll see, a lot of

03:14:31    5   different measurements, but...

03:14:32    6   Q.   Let me ask you this.    Was there a testing protocol that

03:14:35    7   you used without, you know, going into the minute details?

03:14:40    8   Can you give us an idea of what that was?

03:14:43    9   A.   Yeah.   I mean, first and foremost, whenever you make a

03:14:51   10   measurement, it has to be documented what was done, and

03:14:53   11   that's the protocol that the test was done under.

03:14:55   12             So testing these -- it's outlined in detail.           I

03:14:58   13   won't -- if -- unless you want me to do the detail.

03:15:01   14   Q.   Not in detail, but I'd like for you to step through it,

03:15:06   15   please.

03:15:06   16   A.   You turn the lights off in the room.        You let the

03:15:09   17   monitor warm up.    You go into a reset function on the

03:15:13   18   monitor so that it's reset all back to its factory

03:15:15   19   settings, and so on and so forth.

03:15:17   20             But the most important part is that you write it

03:15:20   21   down, and that was written in my report, exactly what was

03:15:24   22   done.

03:15:24   23   Q.   Okay.   So did you test both the monitors, whatever,

03:15:29   24   Plaintiff's 11 and Plaintiff's 12 here?

03:15:31   25             I don't know where they went off to.
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03:15:31    1   A.   Yes, I did.

03:15:32    2   Q.   There they are right there.

03:15:34    3            And tell us about what you found.         Let me pull

03:15:40    4   that up to help you explain.

03:15:41    5   A.   Okay.   I mean, there's a lot of numbers here, and this

03:15:44    6   is -- there's a lot going on, but I'm going to show you a

03:15:47    7   big table in a moment with all my measurements.

03:15:52    8            For each row, that's a different test criteria, so

03:15:57    9   I'm highlighting one of the rows.        And you can see the test

03:16:01   10   color, that's the swatch I put on the screen.          And then I

03:16:08   11   have the value of that swatch in red, green, and blue

03:16:11   12   values, and these values go from 0 to 255.          It's just a

03:16:17   13   digital representation of the color.

03:16:18   14            So you can see test red, test green, test blue,

03:16:23   15   and I have -- they have values of 255, 0, 0.          Then you see

03:16:29   16   delta red, delta green, delta blue, delta magenta, delta

03:16:34   17   yellow, and delta cyan, those are the slider values.            The

03:16:38   18   neutral value, the middle value is 50.

03:16:42   19            Under x and y, those are the numbers that my color

03:16:45   20   analyzer gives me, and those are noted here, because this

03:16:48   21   is when no change has been applied, what color is red?            And

03:16:52   22   that's the little x and little y that you see.

03:17:00   23            So now, as you go down these charts, I am changing

03:17:05   24   one of the colors.    So here on Line -- I'm sorry, Row 3,

03:17:11   25   I'm using the same red test color, and you can see it's
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03:17:14    1   tested red, 255, 0, 0, but then as you look at the sliders,

03:17:20    2   I have changed the green slider from 50 to 0.

03:17:26    3               The most important thing to look at is all the way

03:17:29    4   over on the right, the little x and little y numbers.            What

03:17:37    5   should happen is those numbers don't differ.          So the

03:17:41    6   unadjusted red color should be the standard control (x,y)

03:17:47    7   value.      And then as I change the other sliders, those

03:17:51    8   numbers should stay the same.

03:17:54    9   Q.   All right.    So let me see if I can understand this

03:17:58   10   because there's a lot of color science going on here.

03:18:01   11               If -- remember the demonstration you were giving

03:18:05   12   earlier this afternoon?

03:18:06   13   A.   Yes.

03:18:06   14   Q.   All right.    And you used red, green, blue, cyan,

03:18:11   15   yellow, and magenta, correct?

03:18:13   16   A.   Yes.

03:18:13   17   Q.   So when you tested with this color sensing camera, the

03:18:17   18   camera we just saw, was it that you would change red and

03:18:27   19   then measure the other colors to see if there was any

03:18:30   20   significant or any change?

03:18:40   21               Bad question.   Let me ask you -- see if I can ask

03:18:43   22   it like this.

03:18:45   23               What is the significance of the (x,y) coordinates

03:18:49   24   on the right side of the page?

03:18:50   25   A.   Okay.    For the product to infringe the patent, you have
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03:18:54    1   to select and adjust a color, change it, and the other

03:19:01    2   colors that remain should be unchanged.

03:19:07    3            So what we're testing here is we're using a red

03:19:12    4   color swatch, and we're varying the other sliders.            When

03:19:17    5   that happens, when I move a green slider, red shouldn't

03:19:21    6   change, and that's -- it's kind of the reverse of what I

03:19:25    7   demonstrated earlier, but it's easier when you're testing,

03:19:29    8   and you're getting these menus.

03:19:32    9            So essentially -- it might be easier to see on the

03:19:36   10   bigger chart.

03:19:36   11   Q.   Let me -- let's go to your results.

03:19:39   12   A.   Okay.   So is -- this whole block is -- are all of the

03:19:43   13   tests for just the red color.       Line 2 is still the neutral

03:19:49   14   control value.     And you see under x and y, you see its x

03:19:53   15   and y value.     All the rest of the tests, 3, 4, 5, 6, all

03:19:58   16   the way through 12, are me moving the green, blue, magenta,

03:20:02   17   yellow, and cyan sliders.      I'm moving them from 0 to 100

03:20:08   18   and back to 50.

03:20:08   19            And the most important part is on the right here

03:20:11   20   for x and y, I compared those x and y values to the control

03:20:17   21   value of red, and if they're the same down to .002, the

03:20:22   22   tolerance of this color analyzer, then I list it as pass in

03:20:28   23   the right column.

03:20:30   24   Q.   And so what does "pass" mean, Dr. Ducharme?

03:20:34   25   A.   Pass means the color didn't change, the product
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03:20:37    1   infringed.

03:20:38    2   Q.   Down to what tolerance?

03:20:44    3   A.   It's very important that you look at the numbers no

03:20:47    4   lower -- no smaller than .002 because the color analyzer

03:20:54    5   that I have, even though it's the best color analyzer in

03:20:59    6   the world, it has a limitation.       You can't see color

03:21:02    7   differences smaller than .002.       So to look at numbers

03:21:08    8   changing below that doesn't really make sense.           So...

03:21:11    9   Q.   Okay.    Now, the 6-axis monitor that we looked at over

03:21:16   10   here, this -- the larger one, P16 -- sorry, P12, that was

03:21:23   11   the P328Q monitor, correct?

03:21:27   12   A.   Yes.

03:21:27   13   Q.   And I'm going to show you what looks to be your test

03:21:31   14   results on that.     Can you explain that, please?

03:21:33   15   A.   Yes.    I measured a lot of colors in this test.

03:21:38   16               For hue, there were 67 measurements.       There are

03:21:44   17   six colors but 67 measurements.       So those are all the

03:21:49   18   permutations of measuring a color and changing all the

03:21:53   19   other sliders, and you can kind of -- you can see that with

03:21:57   20   the green and the red in the -- in the chart.          And then I

03:22:00   21   repeated those 67 measurements for the saturation controls.

03:22:05   22   Q.   And did you perform the same test for Plaintiff's 11,

03:22:13   23   the VG248QV 3-axis monitor?

03:22:19   24   A.   Yes.

03:22:19   25   Q.   What result?
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03:22:21    1   A.   It was the same result.     All of the colors remained

03:22:28    2   unchanged according to this test.        Everything passed.      That

03:22:32    3   product infringed based on that test.        There are far fewer

03:22:36    4   measurements because there are less controls on that

03:22:39    5   monitor.

03:22:39    6   Q.   And so is it your position, sir, or conclusion that all

03:22:48    7   of the tests passed as you had opined?

03:22:52    8   A.   Yes.

03:22:53    9   Q.   And that means that the selected color in the two

03:22:56   10   monitors that you tested didn't change when the other

03:22:59   11   colors were adjusted?

03:23:01   12   A.   That's right.

03:23:01   13   Q.   No, I think I got that wrong.

03:23:07   14               What did -- what is -- what is the result of your

03:23:11   15   test, please, sir.

03:23:13   16   A.   Well, the result of the test is that it demonstrated

03:23:17   17   that the accused ASUS products that I tested practice the

03:23:25   18   claim limitations in the '435 patent, and, therefore,

03:23:29   19   infringe it.

03:23:38   20   Q.   Did you test all the products, Dr. Ducharme?          Did you

03:23:40   21   test all of the accused products?

03:23:43   22   A.   No.

03:23:43   23   Q.   Why not?

03:23:44   24   A.   I needed to verify that the functionality of a

03:23:50   25   3-axis -- that that 3-axis monitor practiced the method
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03:23:57    1   that's described in the '435.       And I needed to do the same

03:24:02    2   for a 6-axis.

03:24:05    3             That sampling of a 3-axis and a 6-axis was to

03:24:09    4   verify that that functionality that is described in all of

03:24:13    5   the other user manuals and technical literature, that --

03:24:18    6   you know, what was actually happening.         So that's why we

03:24:22    7   did the measurement.

03:24:23    8   Q.    Did you feel like you needed to test all the products

03:24:26    9   to support your opinion?

03:24:34   10   A.    I was here earlier, and Mr. Lin used a phrase that in

03:24:37   11   the manuals, it looked as if it was cut and pasted.            We

03:24:41   12   would do the same thing in the software industry when we

03:24:45   13   write computer code.     When you've got a function that

03:24:48   14   people like, you're going to cut and paste it and put it in

03:24:51   15   your products.    I would have no -- I have no expectation

03:24:55   16   that the products would work any differently.

03:25:04   17   Q.    As part of your analysis -- I'm going to ask you about

03:25:06   18   a little subtopic here.     As part of your analysis on

03:25:12   19   evaluating the claims in the accused devices, did you -- do

03:25:21   20   you have an opinion of how frequently a user will adjust

03:25:26   21   the colors on a display?

03:25:31   22   A.    In my experience, at least once when you bring the

03:25:38   23   product home or you get the product and you're setting it

03:25:41   24   up.

03:25:41   25   Q.    And have you used color control on your own personal
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03:25:48    1   display?

03:25:48    2   A.   Oh, yeah, absolutely.

03:25:51    3   Q.   What about -- do you have an opinion on the frequency

03:25:57    4   of color adjustment for any given display?

03:26:02    5   A.   It's generally recommended that you -- you perform

03:26:06    6   this -- these color adjustments every two to 300 hours.

03:26:21    7              MR. SABA:     Your Honor?

03:26:22    8              THE COURT:     Yes.

03:26:23    9              MR. SABA:     Good time to take a break?

03:26:25   10              THE COURT:     Yes, it is.    Yes.

03:26:29   11              Ladies and gentlemen of the jury, we'll take our

03:26:32   12   afternoon break at this time.          We'll be in recess about

03:26:34   13   15 minutes.

03:26:35   14              COURT SECURITY OFFICER:       All rise for the jury.

03:26:44   15              (Jury out.)

03:26:57   16              (Recess.)

03:50:50   17              COURT SECURITY OFFICER:       All rise.

03:50:52   18              THE COURT:     Please have the jury brought in.

03:50:55   19              (Jury in.)

03:51:44   20              THE COURT:     Please be seated.

03:51:46   21              Mr. Saba, you may continue.

03:51:49   22              MR. SABA:     Thank you, Your Honor.

03:51:51   23   BY MR. SABA:

03:51:52   24   Q.   Dr. Ducharme, I wanted to -- I forgot to ask you

03:51:54   25   something when we started the demonstration this morning,
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03:51:57    1   and I wanted -- or this afternoon, and I wanted to go back

03:51:59    2   very briefly and ask you a couple of quick questions.

03:52:03    3               MR. SABA:   Denver, if you could kindly put

03:52:06    4   up 33 -- 34.      That's it.

03:52:09    5   BY MR. SABA:

03:52:10    6   Q.   Do you see that on your screen, sir?

03:52:12    7   A.   Yes.

03:52:13    8   Q.   All right.    When we were -- when you were demonstrating

03:52:16    9   the change in colors, like you picked red this morning and

03:52:22   10   demonstrated a change on the 3-axis display versus the

03:52:26   11   6-axis display, why were colors with red components changed

03:52:35   12   in the 3-axis but not the 6?

03:52:44   13   A.   So this pattern shows all six colors.        When you display

03:52:49   14   it on a 3-axis monitor, we discussed earlier the brain, the

03:52:52   15   microprocessor inside of the 3-axis monitor performs

03:52:59   16   arithmetic and logical operations so it uses plus, minus,

03:53:06   17   multiplication, division, and equalities, and -- as well as

03:53:09   18   less than and greater than operations to determine which

03:53:14   19   colors should change.

03:53:17   20               So in a 3-axis, you're selecting the red color and

03:53:28   21   changing it.      So because its only a 3-axis monitor, those

03:53:32   22   arithmetic and logical operations look for any color on

03:53:38   23   here, including magenta and yellow, that include red.

03:53:41   24               On a 6-axis monitor, it's a bit different.        Inside

03:53:44   25   the brain, the microprocessor on a 6-axis monitor, the
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03:53:49    1   arithmetic and logical operations are different.           It's

03:53:53    2   different software.      It makes sense because this isn't a

03:53:53    3   3-axis monitor, it's a 6-axis monitor.

03:53:53    4              So it does -- we could -- it could be said, more

03:54:08    5   sophisticated arithmetic and logical operations to

03:54:12    6   determine which colors to change.

03:54:12    7              So when we did this demonstration and I moved the

03:54:16    8   red slider, red was the only color that changed.           Even

03:54:19    9   though magenta and yellow have red in them, they also have

03:54:24   10   source code running in their brains, their microprocessors,

03:54:28   11   that's able to determine that magenta and yellow are not

03:54:33   12   colors to be -- that those are not colors to change.

03:54:41   13              That's a 6-axis monitor, and these are the six

03:54:43   14   controllable colors.

03:54:45   15   Q.   Thank you, sir.    And now I'm -- we're going to talk

03:54:47   16   about source code now, but departing this subject, my

03:54:57   17   question is:      Do the claims of the patent limit identifying

03:55:00   18   with specific and arithmetic and logical operations?

03:55:05   19   A.   No.

03:55:06   20   Q.   All right.    Let's talk about the source code.        First

03:55:10   21   question.    What is source code?

03:55:13   22   A.   Source code -- there's different terms for this, but

03:55:20   23   software is something that runs on a computer in an

03:55:23   24   operating system.      And firmware is something that runs on a

03:55:27   25   microcontroller or microprocessor, and it runs by itself.
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03:55:32    1   It's firmware.   And so there are different names for this,

03:55:37    2   but source code is computer code, computer language

03:55:43    3   instructions that run on a microprocessor.

03:55:47    4   Q.   You see where we're looking at here on the screen?

03:55:49    5   A.   Yes.

03:55:50    6   Q.   What is that?

03:55:50    7   A.   That is one of the identified chips that was in one of

03:55:56    8   the ASUS monitors.

03:55:58    9   Q.   And when you say "chips," you mean microprocessors,

03:56:02   10   correct?

03:56:03   11   A.   Chips, short for integrated circuit, IC.

03:56:08   12   Q.   Does that microprocessor have source code on it?

03:56:11   13   A.   Yes.

03:56:13   14   Q.   And that resides on the actual display -- excuse me --

03:56:18   15   in the actual display?

03:56:19   16   A.   It's in the actual display.

03:56:23   17   Q.   Who is MediaTek, and what do they do?

03:56:33   18   A.   MediaTek makes image processing color control

03:56:39   19   integrated circuits.

03:56:40   20   Q.   And do you understand that they provide chips for some

03:56:43   21   of the ASUS products?

03:56:45   22   A.   Yes.

03:56:45   23   Q.   Did MediaTek provide you with source code for some of

03:56:49   24   the chips on the accused devices?

03:56:51   25   A.   Yes.
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03:56:53    1   Q.   All right.

03:56:53    2               MR. SABA:    And I'm going to -- may I approach,

03:56:54    3   Your Honor?

03:56:55    4               THE COURT:    You may.

03:56:59    5   BY MR. SABA:

03:56:59    6   Q.   I'm going to show you -- I don't want to ask the Court

03:57:02    7   to seal the courtroom, so I don't want to get into the

03:57:03    8   details, but I'm going to show you that.         I want to ask you

03:57:07    9   what that is?

03:57:07   10   A.   This is source code from MediaTek.

03:57:09   11   Q.   Okay.    Did you review that source code?

03:57:11   12   A.   Yes.

03:57:12   13   Q.   And did you provide your analysis of the source code in

03:57:17   14   your analysis of -- excuse me.

03:57:22   15               Did your opinions rely in part of the analysis of

03:57:25   16   the source code?

03:57:25   17   A.   I'm sorry.    Can you ask -- repeat the question?

03:57:29   18   Q.   Yes.    When you were rendering your opinions, did you

03:57:33   19   analyze source code to come to that opinion?

03:57:35   20   A.   Yes.

03:57:40   21   Q.   Can you please tell me if the Bates range, the starting

03:57:43   22   page and the ending page of that -- of those code citations

03:57:47   23   but without -- just give me the first one.          I believe it's

03:57:51   24   001 and ends with --

03:57:54   25   A.   Yeah, it's MTK code.
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03:57:56    1   Q.   That's correct.

03:58:00    2   A.   Okay.    MTK code 00 -- 0001.

03:58:03    3   Q.   And then the last page?

03:58:07    4   A.   MT -- MTK code 0236.

03:58:12    5   Q.   Okay.    And, again, that is the source code that you

03:58:17    6   reviewed in performing your analysis in this case?

03:58:20    7   A.   Yes.

03:58:21    8               MR. SABA:    Your Honor, we'll offer Plaintiff's 23.

03:58:24    9               THE COURT:    Any objection?

03:58:25   10               MR. JOSHI:    No.

03:58:26   11               THE COURT:    It'll be received.

03:58:28   12   BY MR. SABA:

03:58:29   13   Q.   Dr. Ducharme, this is the source code that you -- I

03:58:30   14   think I just asked you that question.          Pardon me.

03:58:37   15               I don't want to talk about the contents

03:58:38   16   specifically of what was just offered, Plaintiff's 23,

03:58:39   17   because of the sensitive nature.       But I do want to ask

03:58:42   18   generally, can you tell us about the source code that you

03:58:46   19   reviewed?

03:58:47   20   A.   Yes.    It was standard computer code, and the thing that

03:58:58   21   I was most interested in is that it had some functions

03:59:01   22   denoted for color adjustment and that it utilized

03:59:05   23   arithmetic and logical operations.

03:59:08   24   Q.   What is arithmetic and logical operations?

03:59:14   25   A.   Arithmetic and logical operations, as defined in the
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03:59:20    1   patent, are plus, minus, multiplication, division, equals,

03:59:24    2   and less than or greater than.

03:59:26    3   Q.   And is that how basically computers communicate -- not

03:59:29    4   communicate -- go ahead.

03:59:31    5   A.   It's a very standard operation.       That's what computers

03:59:35    6   do, right?     They help us add, subtract, multiply, and

03:59:40    7   divide quickly, and that's how most computer source code is

03:59:44    8   written.

03:59:44    9   Q.   For the source code that you reviewed -- scratch that.

03:59:57   10               Were you interested in the color-changing

04:00:01   11   functionality within the source code base?

04:00:03   12   A.   Yes.

04:00:04   13   Q.   And for the color-changing functionality, was the

04:00:06   14   source code the same across multiple versions?

04:00:09   15   A.   Yes.

04:00:10   16   Q.   What conclusions did you reach from your review of the

04:00:15   17   source code?

04:00:16   18   A.   That the source code met the limitation of utilizing

04:00:22   19   arithmetic and logical operations to identify pixels that

04:00:28   20   should be changed.

04:00:28   21   Q.   When you were reviewing the ASUS user manuals of the

04:00:36   22   accused products, did you get any indication of what exact

04:00:41   23   chip was in each of the accused products from the manual?

04:00:48   24   A.   Can you clarify "manual"?

04:00:49   25   Q.   Yeah.    That's a bad question.
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04:00:51    1               Did the manuals, the user guides, and technical

04:00:56    2   materials delineate between whether or not a MediaTek chip

04:01:00    3   was in the accused device or some other brand of chip?

04:01:04    4   A.   No.

04:01:05    5   Q.   But did -- in your opinion, did they operate the same?

04:01:09    6   The monitors, did they have similar functionality?

04:01:12    7   A.   Yes.

04:01:12    8   Q.   And did you review the source code for all of the

04:01:23    9   accused products?

04:01:23   10   A.   No.

04:01:24   11   Q.   And did you believe you needed to?

04:01:26   12   A.   No.

04:01:28   13   Q.   Why is that, sir?

04:01:30   14   A.   What I was looking for was a representation of -- you

04:01:35   15   know, a function for color-changing in a monitor.           When

04:01:41   16   you're writing software and you have -- you've written a

04:01:45   17   piece of source code that achieves a goal like color

04:01:54   18   adjustment, you don't rewrite it for different devices.

04:01:58   19   You -- as was mentioned earlier, you cut and paste and use

04:02:01   20   that code over and over again.

04:02:04   21               It takes -- it takes a lot of work in industry --

04:02:08   22   there's a lot of work that goes into developing computer

04:02:11   23   code and getting it to work right.        And you -- so each time

04:02:14   24   you start over, that's another investment that you have to

04:02:17   25   make.      So it's very common practice to get a function that
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04:02:20    1   works and utilize it in all of your products.

04:02:24    2   Q.   You said earlier today that for the 6-axis and 3-axis,

04:02:32    3   generally speaking, the OSD menus were relatively the same,

04:02:38    4   right?

04:02:38    5   A.   Yes.

04:02:39    6   Q.   All right.    If two different accused products use two

04:02:41    7   different brands of chips, would that lend that the

04:02:46    8   functionality in those two different chips be relatively

04:02:49    9   the same?

04:02:50   10   A.   Can you repeat the question?

04:02:57   11   Q.   Yes.

04:02:58   12   A.   I think I understand what you're saying, but...

04:03:01   13   Q.   If you have two different chips in two different ASUS

04:03:10   14   accused products, do they operate -- is it your opinion

04:03:13   15   that they operate the same?

04:03:14   16   A.   Yes.

04:03:15   17   Q.   Whether it's 3-axis or 6-axis?      Pardon me.

04:03:21   18               Do they operate the same if they are 3-axis?

04:03:24   19   A.   Yes.

04:03:26   20   Q.   And the same question for 6-axis?

04:03:28   21   A.   Yes.

04:03:29   22   Q.   What if they had different chipsets in it?

04:03:32   23   A.   It'll not matter because ASUS has a valuable

04:03:36   24   color-changing function that their customers have come to

04:03:40   25   utilize, and, I don't know, maybe "love" is a strong word,
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04:03:44    1   but it's a function that they're used to.         And they would

04:03:47    2   expect it to be the same on all of their products

04:03:50    3   regardless of the chip or who wrote the code or what the

04:03:55    4   code said.     They would expect the color-changing function

04:03:59    5   to be the same.

04:04:05    6   Q.   Okay.    Dr. Ducharme, I want to go to the claims now.

04:04:08    7               We talked about Claim 1 earlier this afternoon,

04:04:10    8   and I'm going to show you on the screen the first part of

04:04:14    9   Claim 1 of the '435 patent.

04:04:22   10               And do you have a paper copy of your -- a paper

04:04:24   11   copy of your report handy up there?

04:04:26   12   A.   I do.

04:04:26   13   Q.   You might want to pull that out for reference.

04:04:26   14   A.   Okay.

04:04:46   15   Q.   Can you give me -- well, I'll tell you what.          Let me

04:04:49   16   give you a quick page number of where I want to -- can you

04:04:57   17   turn to Page 13 as a reference for this series of

04:05:06   18   questions?

04:05:06   19   A.   Yes.

04:05:07   20   Q.   All right.    Did you consider whether the accused

04:05:11   21   products literally infringe on Claim 1?

04:05:13   22   A.   Yes.

04:05:14   23   Q.   What does "literal infringement" mean?

04:05:19   24   A.   That the accused products practice each limitation of

04:05:25   25   the claim --
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04:05:27    1   Q.   Do you know what I mean --

04:05:27    2   A.   -- of the claim.

04:05:30    3   Q.   Pardon me, sir.

04:05:32    4               Do you know what the "doctrine of equivalents" is?

04:05:35    5   A.   Yes.

04:05:35    6   Q.   What's the doctrine of equivalents?

04:05:36    7   A.   It's when an accused products practices a method or

04:05:40    8   system using -- achieving substantially the same function,

04:05:44    9   substantially the same way, achieving substantially the

04:05:47   10   same result.

04:05:49   11   Q.   Could the accused products infringe either literally or

04:06:00   12   under the doctrine of equivalents generally?

04:06:06   13   A.   I don't -- I don't know.

04:06:07   14   Q.   Okay.    Let's step through the claims and put this in

04:06:10   15   context here.

04:06:11   16               Let's start with the first limitation.       We talked

04:06:15   17   about this earlier this morning.

04:06:17   18               Claim 1 of the '435:   A method for independently

04:06:23   19   controlling hue or saturation of the individual -- of

04:06:27   20   individual colors in real time digital video image,

04:06:29   21   comprising the steps of.

04:06:31   22               Do you see that?

04:06:32   23   A.   Yes.

04:06:32   24   Q.   All right.    Let's start with Step A:      Receiving and

04:06:35   25   characterizing the real time digital video input image
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04:06:43    1   featuring input image pixels.

04:06:47    2              What conclusion did you reach -- pardon me, I'm so

04:06:53    3   sorry.

04:06:53    4              In rendering your opinion on direct infringement,

04:06:57    5   what did you do to evaluate -- what did you do to evaluate

04:07:01    6   whether or not the claim infringed -- the claim infringed

04:07:05    7   on the accused products?     What did you look at?

04:07:07    8   A.   Okay.   To determine whether or not the accused products

04:07:11    9   infringed, I looked at the claims -- claim limitations that

04:07:18   10   you see, using the Court-ordered claim construction.

04:07:25   11              So any terms that are in here, defined by the

04:07:28   12   Court, I used those -- that wording and that understanding

04:07:29   13   to read these claims, and then I looked at the accused

04:07:33   14   devices.     And when I say looked at, I evaluated technical

04:07:38   15   literature, as well as users manuals, and we looked at the

04:07:40   16   code, which we just spoke about, and then I also tested two

04:07:43   17   of the devices.

04:07:44   18   Q.   Thank you, sir.    Sorry I left that out.

04:07:46   19              And we talked all about that earlier today.         Going

04:07:48   20   back to the question of Claim 1(a), what was your

04:07:51   21   conclusion -- what conclusion did you reach with regard to

04:07:56   22   Claim 1(a)?

04:07:56   23   A.   The accused products infringed or met the -- the --

04:08:00   24   practiced the limitation of Claim 1(a).

04:08:03   25   Q.   Yeah, infringed.
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04:08:04    1                So how did it infringe?   How do they infringe?

04:08:12    2   Excuse me.

04:08:12    3   A.    Well, simply by plugging an HDMI cable into the back of

04:08:17    4   it, it receives that video signal and characterizes that.

04:08:22    5   That digital format that's coming in, we know -- the

04:08:22    6   information that's on the cable, it's able to understand

04:08:24    7   it.    So it's able to receive and characterize the digital

04:08:29    8   video -- the real time digital video.

04:08:50    9   Q.    Okay.    Going to Step 2 -- excuse me -- Step 1(b) --

04:08:54   10   that's already up there.

04:08:55   11                I'm not going to read the whole thing, but it

04:08:58   12   starts:       Selecting to independently change the hue or

04:09:02   13   saturation of an individual color in the real time digital

04:09:08   14   video image.       And then talks about by selecting an

04:09:14   15   independent color hue control delta value -- and so my

04:09:16   16   question to you is what conclusion did you reach with

04:09:19   17   regard to 1(b)?

04:09:21   18   A.    That the accused products infringe.

04:09:24   19   Q.    How?

04:09:26   20   A.    They meet this limitation by presenting an

04:09:32   21   On-Screen-Display, presenting the opportunity to the user

04:09:35   22   to change the colors, to introduce a delta value, and

04:09:43   23   that's what that slider is, it's a delta value.

04:09:57   24   Q.    Do you remember the range from the -- the test we --

04:10:00   25   that you -- the demonstration that you did this morning
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04:10:02    1   for, like, value changes, whether it's saturation or

04:10:06    2   whether it's hue?

04:10:09    3   A.   Do I remember the range?

04:10:10    4   Q.   Was it 0 to 100?

04:10:14    5   A.   Yeah.    On the 3-axis monitor, it's 0 to 100, and they

04:10:18    6   started at 100 when I did the demonstration.

04:10:22    7               On the 6-axis monitor, they go 0 to 100, and by

04:10:27    8   default, those sliders -- the middle value is 50.           So I

04:10:30    9   think I -- I think I went from 50 to 0.         Those are all

04:10:39   10   delta values.

04:10:40   11   Q.   Okay.    And, again, I don't want to talk specifically

04:10:42   12   about this, but do you have Paragraph 57 in front of you?

04:10:46   13               My question is:   Did you analyze the MediaTek

04:10:49   14   source code regarding this claim limitation?

04:11:12   15   A.   Okay.    What is the question?

04:11:14   16   Q.   Did you analyze the MediaTek source code when

04:11:18   17   evaluating this claim limitation?

04:11:36   18   A.   Yes.

04:11:37   19   Q.   Okay.    Can you tell us generally what it related to,

04:11:41   20   the concept?

04:11:42   21   A.   It was a section of the code that was able to record a

04:11:48   22   hue or saturation gain.

04:11:50   23   Q.   That's plenty, Dr. Ducharme.      Thank you.

04:11:53   24               I want to go to 1(c).   1(c) is:     Identifying a

04:11:59   25   plurality of said input image pixels having said selected
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04:12:05    1   individual color in the real time digital video input image

04:12:12    2   with the hue or saturation selected to be independently

04:12:15    3   changed by performing arithmetic and logical operations

04:12:20    4   using input image pixel values of each said input image

04:12:29    5   pixel of the real time digital video input image.

04:12:34    6            What conclusion, sir, did you reach with regard to

04:12:38    7   Step 1(c)?

04:12:39    8   A.   That the accused products infringed -- or met the

04:12:42    9   limitation in Claim 1(c).

04:12:44   10   Q.   Okay.   Now, you were talking about arithmetic and

04:12:46   11   logical operations earlier.      So can you tell us a little

04:12:48   12   bit about your analysis -- generally speaking, your

04:12:50   13   analysis and how the accused products met that limitation?

04:12:53   14   A.   So, once again, this claim is you receive the video

04:12:56   15   image, then the user gives a delta value on the slider,

04:13:00   16   and, and then in (c), it goes through and identifies all

04:13:03   17   the pixels that have that change -- that color that you

04:13:06   18   want to change.

04:13:07   19            And so in this operation, it's a little different

04:13:11   20   for the 3-axis than the 6-axis.

04:13:14   21            In the 3-axis, it uses arithmetic and logical

04:13:20   22   operations to identify colors that have red, green, or

04:13:25   23   blue.   Those are the 3-axis colors.

04:13:29   24            It's a little bit more complicated in the 6-axis

04:13:31   25   because there are six colors now, and so it uses, once
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04:13:34    1   again, arithmetic and logical operations to identify all

04:13:37    2   the pixels with the colors red, green, blue, cyan, magenta,

04:13:43    3   or yellow.

04:13:53    4   Q.   And "input image pixel values," you want to expand on

04:14:10    5   that?

04:14:10    6   A.   Yeah.    To --

04:14:14    7   Q.   I'm sorry, Dr. Ducharme.       I'm sorry.   I thought that,

04:14:20    8   for purposes of the record, you also formed the -- your

04:14:23    9   opinion of this claim limitation 1(c) by your analysis of

04:14:29   10   the MediaTek source code in part, correct?

04:14:32   11   A.   Yes.

04:14:32   12   Q.   All right.       Let's go to 1(d).

04:14:40   13               We talked about 1(d) earlier.     It's:    The

04:14:46   14   determining corresponding output image pixel values for

04:14:51   15   each of said plurality of said input -- input image pixels

04:14:56   16   identified as having the selected individual color in the

04:14:59   17   real time digital video image.

04:15:06   18               Did you form a conclusion with regard to 1(d)?

04:15:10   19   A.   The accused products meet the limitations of this

04:15:13   20   claim, so they infringe it.

04:15:15   21   Q.   Why?    And if you'd like to reference your report, I

04:15:25   22   know that maybe that's a little easier.

04:15:28   23   A.   Well, so, in this step, we've identified a plurality of

04:15:35   24   pixels that we should change because they're associated

04:15:40   25   with a color on the slider.        And a -- we also have a
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04:15:45    1   plurality -- or a whole bunch of pixels that we've decided

04:15:49    2   in the previous step, (c), not to change.

04:15:51    3               And so in this step, we execute the change.        We

04:15:57    4   change all the pixels that should be changed, and we don't

04:16:00    5   change the remaining pixels, and that's what this is

04:16:04    6   primarily -- and the demonstration of this is the

04:16:09    7   demonstration that we did earlier and what you see happen

04:16:12    8   when you move the sliders.

04:16:15    9               You see red colors in the 3-axis monitor, red

04:16:18   10   colors change, and colors that don't have red in them, like

04:16:21   11   the blue and the green, don't change.

04:16:41   12   Q.   And then, Dr. Ducharme, can you turn -- just glance at

04:16:46   13   your report:        31, Paragraph 76.

04:16:56   14   A.   Okay.

04:16:56   15   Q.   Sorry.    One second, sir.

04:17:03   16               Okay.    And, again, you -- you considered the

04:17:15   17   analysis of the MediaTek source code in your conclusion on

04:17:20   18   this claim limitation, as well?

04:17:22   19   A.   Yes.

04:17:23   20   Q.   And did you conclude in your analysis that there is

04:17:56   21   6-axis color independent control of saturation and hue?

04:18:06   22   A.   Yes.

04:18:19   23   Q.   And then the final step is the displaying step.          That

04:18:37   24   was -- that's 1(e), Claim 1(e):         Displaying a real time

04:18:45   25   digital video output image including said corresponding
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04:18:51    1   plurality of said output image pixels.

04:18:54    2               Did you find -- what was your conclusion with

04:18:58    3   regard to this limitation?

04:18:59    4   A.   That the accused products infringed.

04:19:01    5   Q.   All right.    Now, that was the -- that was the

04:19:06    6   independent claim.

04:19:07    7               You said earlier this afternoon that there was

04:19:10    8   other asserted claims:      1 through 3, 5 and 6, and 13

04:19:17    9   through 15, correct?

04:19:18   10   A.   Yes.

04:19:18   11   Q.   Let's talk about Claim No. 2.      Now, Claim No. 2 is a

04:19:29   12   dependent claim, correct?

04:19:30   13   A.   Yes.

04:19:30   14   Q.   All right.    And what's a dependent claim?

04:19:33   15   A.   It is -- it references back to an initial independent

04:19:38   16   claim.      It's dependent on the first claim being used.

04:19:44   17   Q.   Now, I'm at Page 34 of your report.

04:19:53   18               Claim 2, the method of Claim 1 -- I assume that

04:19:59   19   means the -- it depending on Claim 1, right -- whereby the

04:20:03   20   real time digital video input image is a -- of a format

04:20:09   21   selected from a group consisting of RGB format, YCrCb

04:20:19   22   format, and YUV format, whereby the individual colors of

04:20:23   23   one said format can be characterized by the individual

04:20:26   24   colors of a second said format by using appropriate linear

04:20:29   25   transformations between said formats.
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04:20:31    1               Did you -- what conclusions did you reach with

04:20:35    2   regard to Claim 2?

04:20:38    3   A.   The accused products infringed on this claim.

04:20:41    4   Q.   What is RGB and what is -- what is RGB?

04:20:45    5   A.   It's -- it's a way of organizing color information.           So

04:20:50    6   most of the color -- most of the pictures that we see have

04:20:54    7   a red value, a green value, and a blue value, and a single

04:20:58    8   pixel will have a -- you know, depending on the color of

04:21:02    9   the pixel, it'll have those three values, just like we saw

04:21:02   10   on the demonstration earlier.

04:21:07   11               YCrCb are component type.    These are just

04:21:09   12   different ways of expressing the val -- the color values of

04:21:14   13   the pixel.

04:21:24   14   Q.   Do you know what format most computers or laptops use

04:21:29   15   when connecting to a monitor?

04:21:33   16   A.   RGB.

04:21:35   17   Q.   And what about cable televisions?

04:21:41   18   A.   That gets complicated.

04:21:47   19   Q.   Is it YCrCb or not necessarily?

04:21:54   20   A.   It depends on what the -- ultimately what the display

04:22:00   21   box -- I'm sorry -- the monitor the display is attached to.

04:22:05   22   The signal has to come from somewhere.         If it's streamed,

04:22:09   23   then it's RGB.

04:22:12   24   Q.   All right.    Let's go -- oh, pardon me.

04:22:15   25               Did you say that your conclusion -- that you had
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04:22:20    1   formulated a conclusion with regard to Claim 2?

04:22:23    2   A.   Yes.

04:22:23    3   Q.   And what was that?

04:22:24    4   A.   It infringes.

04:22:25    5   Q.   Thank you.

04:22:25    6               Let's go to Claim 3, another dependent claim, and

04:22:30    7   I'm going to ask you the same questions.         The method of

04:22:34    8   Claim 1:     Whereby the real time digital video input image

04:22:39    9   features basic colors red, green, and blue and

04:22:45   10   complementary colors yellow, cyan, and magenta in RGB color

04:22:51   11   space whereby values of said complementary colors are

04:22:55   12   expressed in terms and evaluated from linear combinations

04:22:59   13   of values of said basic colors.

04:23:01   14               What conclusion did you reach with regard to

04:23:13   15   Dependent 3, sir?

04:23:13   16   A.   The accused products infringe.

04:23:14   17   Q.   And can you explain that?

04:23:16   18   A.   Hold on one second.

04:23:38   19               Just very simply that you can express these

04:23:42   20   colors, yellow, cyan, and magenta, as linear combinations

04:23:44   21   of the other colors, red, green, and blue.

04:23:44   22   Q.   What is an 8-bit value for color?

04:23:48   23   A.   8-bit is like a -- it's -- refers back to like a

04:23:51   24   digital notation.     You know that computers handle

04:23:54   25   information in 1s and 0s, and we use more -- either more or
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04:24:00    1   less of these 1s or 0s to make bigger numbers.           So when we

04:24:05    2   talk about 8-bit, we're talking about eight 1s or 0s.            So

04:24:11    3   an 8-bit number that goes from 0 to 255, so it has 256

04:24:17    4   values if we start at 0.      So 0 to 255 is 8-bit.

04:24:24    5               Does that answer your question?

04:24:27    6   Q.   Yeah.    Okay.   The next asserted claim is another

04:24:33    7   dependent claim.      Will you read that for us, sir?

04:24:36    8   A.   The method of Claim 1 wherein -- whereby in Step (b),

04:24:40    9   numerical range of said independent color hue control delta

04:24:45   10   value and numerical range of said independent color

04:24:51   11   saturation control delta value corresponds to an arbitrary

04:24:53   12   interval of integers.

04:24:55   13   Q.   And my first question to you is:       What is the reference

04:25:00   14   back to Step 1(b)?

04:25:08   15   A.   The reference back to Step 1(b) is it's a dependent

04:25:19   16   claim on that particular step where you're expressing --

04:25:23   17   Step (b) talks about expressing changes in color in delta

04:25:27   18   values, and this is just a dependent claim expanding on

04:25:37   19   what the range of delta numbers are.

04:25:40   20   Q.   Let me go back very briefly to 1(b), so you can explain

04:25:44   21   it in context.

04:25:45   22               Do you see 1(b) on your screen?

04:25:49   23   A.   Yes.

04:25:49   24   Q.   Okay.    So it's referring back to this step, and did you

04:25:57   25   say, was that a delta value?
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04:26:01    1   A.   Yeah.    So in this step, this is where we're looking at

04:26:04    2   the On-Screen-Display, and we've got those sliders moving

04:26:09    3   back and forth.       And that's our delta value.     So if you go

04:26:11    4   to claim -- what was it, 5, Claim 5 is teaching that the

04:26:18    5   range of numbers for the delta values are -- it's an

04:26:24    6   arbitrary interval of integers.       That means whole numbers.

04:26:28    7   Q.   And what -- yeah.     You said the range earlier today

04:26:41    8   when you were doing the demonstration was 0 to 100?

04:26:46    9   A.   Yes.

04:26:46   10   Q.   And I don't want to be -- I don't think I had you

04:26:51   11   explain this.       We went from Independent Claim 1 to

04:26:56   12   Dependent Claim 2 to Dependent Claim 3, and we skipped

04:27:04   13   Claim 4, correct?

04:27:04   14   A.   Yes.

04:27:05   15   Q.   And we're at 5 now?

04:27:07   16   A.   Yes.

04:27:08   17   Q.   So there wasn't a -- you didn't -- you're not rendering

04:27:09   18   an analysis on Claim 4?

04:27:12   19   A.   No.

04:27:12   20   Q.   Conclusion, rather.     Okay.   Thank you, sir.

04:27:16   21               Okay.   Let's look at Claim 6.    Is this a dependent

04:27:20   22   or independent?

04:27:22   23   A.   Dependent claim.

04:27:22   24   Q.   Can you please read it for us, sir?

04:27:24   25   A.   The method of Claim 1, whereby in Step (b), numerical
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04:27:28    1   range of said independent color hue control delta value is

04:27:32    2   an interval between negative 1 and plus 1.

04:27:36    3   Q.   And did you find -- did you conclude that this Claim 6

04:27:46    4   was met?

04:27:47    5   A.   Yes.

04:27:47    6   Q.   And how so?

04:27:48    7   A.   The sliders go from 0 to 100, but, you know, the values

04:27:58    8   negative 1 to plus 1 can easily be -- mathematically be

04:28:05    9   transformed to 0 to 100.

04:28:18   10   Q.   Because is it -- is it the case that negative 1 and

04:28:28   11   plus 1 can be scaled to 0 to 100?

04:28:33   12   A.   Yes.

04:28:46   13   Q.   Okay.    Now, we're not asserting -- Lone Star is not

04:28:50   14   asserting Claims 7, 8, 9, 10, 11.

04:28:56   15               Next claim they're asserting is Claim 13, correct?

04:29:02   16   A.   Correct.

04:29:02   17   Q.   All right.    Why don't you read that for us, please?

04:29:05   18   A.   The method of Claim 1, whereby Step (d) is performed

04:29:08   19   following said identifying each said input image pixel, one

04:29:13   20   at a time, of said plurality of said input image pixels,

04:29:19   21   or, is performed following said identifying entire said

04:29:28   22   plurality of said input image pixels, as having said

04:29:31   23   individual color in the digital video input image whose hue

04:29:36   24   or saturation was selected to be independently changed.

04:29:38   25   Q.   Did you conclude -- what were your conclusions with
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04:29:43    1   regard to whether or not Claim 13 infringed?

04:29:45    2   A.    My conclusion is that this infringes -- the accused

04:29:48    3   products infringe this claim.

04:29:49    4   Q.    And could you -- why?

04:29:51    5   A.    Because in my testing, I was able to conclude that the

04:29:57    6   accused devices complete the process of identifying the

04:30:00    7   plurality of image -- input pixels one at a time or as a

04:30:08    8   plurality.

04:30:16    9   Q.    Okay, sir.   And then Claim 14 -- two more here.

04:30:21   10   Claim 14, another dependent, could you read that aloud for

04:30:24   11   us?

04:30:24   12   A.    The method of Claim 1, whereby in Step (d), for

04:30:28   13   independently controlling the hue of said selected

04:30:31   14   individual color in the real time digital video image, said

04:30:36   15   independent color hue control function is a function of

04:30:39   16   said input image pixel values of said plurality of said

04:30:46   17   input image pixels and of said corresponding selected

04:30:52   18   independent color hue control delta value.

04:30:52   19   Q.    And your conclusion with regard to Claim 14?

04:30:55   20   A.    It infringes.

04:30:56   21   Q.    And can you explain?

04:30:58   22   A.    The accused devices allow for the adjustment of an

04:31:04   23   individual color in real time digital video.          Do that with

04:31:12   24   an on-screen menu -- On-Screen-Display.

04:31:20   25   Q.    And Claim 15, sir, could you please read that?
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04:31:29    1   A.   The method of Claim 1, whereby in Step (d), for

04:31:32    2   independently controlling the saturation of said selected

04:31:36    3   individual color in the real time digital video image, said

04:31:39    4   independent color saturation control function is a function

04:31:42    5   of said input image pixel values of said plurality of said

04:31:49    6   input image pixels and of said corresponding selected

04:31:55    7   individual (sic) color saturation control delta value.

04:32:00    8   Q.   And what is your conclusion regarding Claim 15?

04:32:04    9   A.   That the accused devices infringe this claim.

04:32:09   10   Q.   Why?

04:32:10   11   A.   Well, the accused devices adjust the individual color,

04:32:12   12   and real time video is a function of the saturation, and

04:32:15   13   the adjustment is actuated through using independent color

04:32:20   14   saturation control on On-Screen-Display.

04:32:24   15   Q.   Okay, Dr. Ducharme.    I have a couple of other questions

04:32:29   16   before we leave this topic.      Thank you for bearing with me.

04:32:45   17               I want to direct your attention to Page 28 of your

04:32:54   18   report, sir.

04:33:14   19   A.   Okay.

04:33:14   20   Q.   All right.    We were talking earlier about this concept

04:33:20   21   called doctrine of equivalents.       Remember that?

04:33:24   22   A.   Yes.

04:33:25   23   Q.   And you said doctrine of equivalents was what, sir?

04:33:34   24   A.   When an accused device practices a limitation in

04:33:37   25   substantially -- with substantially the same function in
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04:33:39    1   substantially the same way with substantially the same

04:33:41    2   result.

04:33:42    3   Q.   And is -- can you -- it won't take but a second, but

04:33:53    4   could you please read, silently, Paragraph 70?           I want to

04:33:58    5   ask you a couple of questions about that.

04:35:24    6   A.   Okay.

04:35:24    7   Q.   Okay.   Now, are you advancing -- are you also advancing

04:35:28    8   a specific doctrine of equivalents opinion, as well?

04:35:38    9   A.   I'm sorry.   I don't understand the --

04:35:40   10   Q.   Okay.   Well, in your analysis of discussing the

04:35:46   11   identification of pixel values with individual colors to be

04:35:50   12   changed, you discuss what is a matrix or a LUT -- a LUT --

04:36:09   13   do you see that -- excuse me, a LUT transform?

04:36:09   14   A.   What -- how -- do you want me to tell you what they

04:36:22   15   are?

04:36:22   16   Q.   Yes.

04:36:23   17   A.   A matrix operation is just an array of numbers.            It's a

04:36:28   18   way of multiplying arrays of numbers times each other.             And

04:36:32   19   we call it a LUT.    It's a look-up table.       It's just a way

04:36:37   20   of -- it's like a secret decoder ring.         And you have values

04:36:40   21   and you can look up in the table to see what the new value

04:36:45   22   should be.    It's just a way that we -- things are done in

04:36:49   23   source code, typically.

04:36:49   24   Q.   And so if there's -- did you say it was a LUT?

04:36:58   25   A.   I just always called it a look-up table.         I never
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04:37:02    1   pronounce it L-U-T or whatever you call it.

04:37:04    2   Q.   Okay.    For the purposes of the record, though, it's

04:37:07    3   LUT; is that what you're saying?

04:37:09    4   A.   Yes, LUT.

04:37:14    5   Q.   Is it the case that if there is a look-up table, that

04:37:17    6   does not change your opinion with regard to the 1(c) step?

04:37:26    7   A.   That's correct.

04:37:26    8   Q.   And a matrix?

04:37:27    9   A.   That's correct.

04:37:29   10   Q.   Give me one second, Dr. Ducharme, before we leave this

04:37:49   11   report.      I have one more thing to ask you.

04:37:52   12             I was going to -- I'm going to ask you about your

04:38:05   13   opinions with regard to brightness and tint.          Do you

04:38:09   14   remember that?      How you -- did you have an opinion on

04:38:13   15   brightness and tint?

04:38:18   16   A.   I'm not sure I'm understanding the words.

04:38:21   17   Q.   I'm trying to find you --

04:38:23   18             THE COURT:    I'm sorry.

04:38:28   19             MR. JOSHI:    Outside the scope.

04:38:32   20             MR. SABA:    Find it in one second, Your Honor.

04:38:33   21             THE COURT:    Wait a second.    There was an

04:38:33   22   objection.      Outside the scope of what?

04:38:35   23             MR. JOSHI:    Of his expert testimony.

04:38:36   24             THE COURT:    He's providing his -- I'm confused

04:38:39   25   about the basis of the objection.        He's in his direct
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04:38:44    1   now,so how is it outside the scope?

04:38:47    2              MR. JOSHI:    Brightness and tint are not in his

04:38:50    3   report.

04:38:51    4              MR. SABA:    Your Honor, I found it.     It actually is

04:38:54    5   in his report at footnote 12.

04:38:56    6              THE COURT:    Okay.    I'll take that representation.

04:38:59    7              MR. SABA:    Thank you, Your Honor.

04:39:01    8   BY MR. SABA:

04:39:01    9   Q.   Dr. Ducharme, can you please look at your report at

04:39:04   10   footnote 12, please?

04:39:06   11   A.   Can you tell me what page that's on?

04:39:09   12   Q.   Page 22.     My apologies.

04:39:38   13   A.   And what is the question?

04:39:39   14   Q.   I want to ask you about -- the question is this:           It --

04:39:47   15   what if a color control value is brightness?

04:39:55   16   A.   Okay.

04:39:57   17   Q.   Does that change your opinion on -- with regard to the

04:40:01   18   accused devices?

04:40:03   19   A.   No.     My -- none of the claim limitations are -- have

04:40:17   20   anything to do with a name of the function, just that they

04:40:24   21   allow for independent control of hue or saturation

04:40:28   22   adjustment.

04:40:29   23              So brightness, I could consider that to just be

04:40:32   24   the name of the delta value or a label I put on a slider.

04:40:40   25   Q.   And same for color?
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04:40:49    1   A.   It wouldn't matter -- necessarily wouldn't matter in

04:40:57    2   the context.      It's the word "color" would -- I think that

04:40:59    3   would satisfy the limitation.

04:41:02    4   Q.   Give me one second, sir.

04:41:19    5               Dr. Ducharme, I want to direct your attention to

04:41:34    6   what's -- what's been admitted, P-26-1, and I want to ask

04:41:45    7   you a couple of quick questions about this.          Do you see

04:41:47    8   this guide?

04:41:48    9   A.   Yes.

04:41:48   10   Q.   Familiar with this?

04:41:49   11   A.   Yes.

04:41:49   12   Q.   All right.    We were talking earlier this afternoon

04:41:54   13   about -- you had said something to the effect of every 200

04:42:03   14   or 300 hours a device might need to be calibrated or have

04:42:09   15   their colors -- have its colors adjusted.         Do you remember

04:42:13   16   that?

04:42:14   17   A.   Yes.

04:42:14   18   Q.   And would that -- does that involve the color-changing

04:42:18   19   technology?     Is that what you were referring to?

04:42:20   20   A.   That's how you would actuate a change on the -- on the

04:42:26   21   color on the device, so, yeah.

04:42:28   22   Q.   All right.    I want to direct your attention to

04:42:31   23   Page 3-16.     And you see -- we talked -- I know that -- that

04:42:43   24   this was discussed earlier today, not necessarily with you

04:42:46   25   with regard to this device, but third to the bottom there
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04:42:49    1   is this:     Screen image has color defects.      White does not

04:42:55    2   look white.

04:42:56    3               Do you see that?

04:42:57    4   A.   Yes.

04:42:58    5   Q.   Is that an example of how you might need to adjust a

04:43:03    6   monitor after 200 or 300 hours of use?

04:43:08    7   A.   Yes.

04:43:09    8   Q.   And what does the possible solution say?         Do you see

04:43:15    9   the last bullet point on the right?

04:43:18   10   A.   Yes.    It -- ASUS instructs the user to adjust the RGB

04:43:24   11   color settings.

04:43:26   12   Q.   And then keep reading.

04:43:32   13   A.   Well -- or select the color temperature via the

04:43:37   14   On-Screen-Display.

04:43:46   15   Q.   Okey-doke.    All righty.   I want to talk to you about a

04:43:53   16   slightly different topic now, because you also provided not

04:43:58   17   only your -- your opinions on infringement but your

04:44:03   18   opinions on validity, right?

04:44:05   19   A.   Yes.

04:44:05   20   Q.   All right.    What did you -- what were you asked to do

04:44:09   21   with regard to your opinions on the '435's validity?

04:44:29   22   A.   Can you clarify the question?

04:44:31   23   Q.   Yeah.    What did you do with regard to validity?        What

04:44:34   24   were you asked to do?

04:44:35   25   A.   I was look -- I was asked to consider the claim
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04:44:41    1   limitations of the '435 patent against claims presented in

04:44:48    2   other prior art.

04:44:50    3   Q.   Do you -- did you say the '435 patent?

04:44:54    4   A.   Yes.

04:44:54    5   Q.   Okay.    And did you have the opportunity to review

04:45:03    6   Defendant ASUS's report -- expert report on invalidity?

04:45:07    7   A.   Yes.

04:45:08    8   Q.   All right.    And what -- who wrote the report -- who

04:45:20    9   wrote the report on behalf of ASUS?

04:45:23   10   A.   Dr. Stevenson.

04:45:24   11   Q.   And do you agree with Dr. Stevenson's opinions?

04:45:29   12   A.   No.

04:45:30   13   Q.   What is the primary basis that Dr. Stevens --

04:45:43   14   Stevenson -- excuse me -- is using to support his opinion

04:45:52   15   that the '435 is somehow not valid?

04:45:54   16   A.   In the report, he utilizes a prior art patent.          That

04:45:58   17   means a patent that was issued before the '435 patent, so

04:46:04   18   prior art.     That's being referred to as Brett in this case.

04:46:11   19               MR. SABA:   And, Denver, could you kindly publish

04:46:20   20   Slide 48?

04:46:21   21   BY MR. SABA:

04:46:22   22   Q.   Dr. Ducharme, do you see this reference?

04:46:24   23   A.   Yes.

04:46:24   24   Q.   All right.    This is the -- what is called the "Brett

04:46:27   25   reference"?
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04:46:27    1   A.   Yes.

04:46:28    2   Q.   All right.    Why is it called the Brett reference?

04:46:32    3   A.   The author's name is Brett -- the inventor's name --

04:46:35    4   not author.     Sorry, inventor.

04:46:38    5   Q.   Okay.    So to be clear -- to set the stage, and I don't

04:46:46    6   want to get ahead of myself and I'm sorry for -- for a

04:46:51    7   slight delay here -- Dr. Stevenson has not testified yet,

04:46:55    8   correct, not to your knowledge?

04:46:57    9   A.   Not to my knowledge.

04:46:59   10   Q.   Right.    But he -- but -- but -- and Defendant ASUS's

04:47:04   11   opening statement -- Defendant ASUS had said that --

04:47:08   12   yesterday that they were going to present an expert to --

04:47:12   13   to discuss potential invalidity on the patent, correct?

04:47:16   14   A.   Yes.

04:47:17   15   Q.   All right.    And so you're familiar with that report?

04:47:20   16   A.   Yes.

04:47:21   17   Q.   And the basis of the report is this Brett reference?

04:47:29   18   A.   Yes.

04:47:29   19   Q.   And I'm sorry, can you tell me who Brett is again?

04:47:32   20   A.   He's this inventor of this patent that you're

04:47:35   21   displaying on the screen.

04:47:36   22   Q.   All right.    What is -- what is the Brett reference?

04:47:40   23   What is it?

04:47:41   24   A.   It -- it's a patent for the color adjustment of what

04:47:51   25   are called telecines.     A telecine is used to take old film
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04:47:55    1   and transfer it to digital video.        And so the patent is

04:48:04    2   mainly concerned with color adjustment of these telecines.

04:48:08    3   Q.   I'm sorry.   What is a telecines?

04:48:10    4   A.   It's telecine, and it's -- like a 35-millimeter film

04:48:17    5   transfer device.     So it transfers 35-millimeter movie film

04:48:22    6   to digital video.

04:48:25    7   Q.   Does the Brett reference disclose or teach a real time

04:48:36    8   digital video?

04:48:36    9   A.   No, this patent has nothing to do with real time

04:48:39   10   digital video.

04:48:40   11   Q.   So it's taking film and moving it over to a digital

04:48:44   12   medium?

04:48:44   13   A.   Yes.

04:49:06   14   Q.   In order to -- I need to ask you some questions about

04:49:20   15   this Brett reference and your opinion -- well, let me ask

04:49:23   16   you this question.     What is your opinion of the validity of

04:49:26   17   the '435 patent, if that wasn't clear?

04:49:29   18   A.   Well, my -- my opinion doesn't matter.        It's a valid

04:49:33   19   patent that's been granted by the U.S. Patent Office.

04:49:36   20   Q.   And what is your general opinion critiquing ASUS's

04:49:41   21   expert's opinion for invalidity?

04:49:45   22   A.   That it's incorrect.

04:49:47   23   Q.   And the only piece of prior art, as they say, that's

04:49:51   24   referenced is this Brett patent?

04:49:54   25   A.   Yes.
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04:49:56    1   Q.   And the Brett patent references -- does not reference

04:50:04    2   real time digital video?

04:50:05    3   A.   No.

04:50:05    4   Q.   All right.      Okay.   We talked about telecines.     You told

04:50:28    5   us about that.

04:50:28    6               Let me go to Claim 1(b).    Now, when I'm going

04:50:34    7   through the claims here, the comparison I'm going to be

04:50:37    8   asking you about is -- briefly is the claims of the '435

04:50:48    9   patent against any sort of other prior art reference.            So

04:50:50   10   that's how I want to -- that's what I want to ask you about

04:50:53   11   from a comparison standpoint.

04:50:55   12   A.   Okay.

04:50:55   13   Q.   All right.

04:50:56   14   A.   Yes.

04:50:56   15   Q.   And so I'm looking at Claim 1(b) here, and we talked

04:51:00   16   about this ad nauseam a second ago, a method for

04:51:04   17   independently controlling, and then '435, 1(b) says:

04:51:11   18   Selecting to independently change the hue or saturation of

04:51:14   19   a video input image.

04:51:16   20               Right?

04:51:16   21   A.   Yes.

04:51:17   22   Q.   All right.      The question I have for you is this:       Does

04:51:21   23   Brett disclose this limitation?

04:51:23   24   A.   No.

04:51:23   25   Q.   And why?
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04:51:29    1   A.   Brett doesn't let you -- the invention that Brett was

04:51:38    2   granted a patent for, it doesn't allow you to select an

04:51:42    3   individual color.       It's -- it allows you to choose ranges

04:51:47    4   of hue and saturation.

04:51:50    5               There's dials that you can use to select a range

04:51:57    6   of colors, and then there are dials to change how those

04:52:05    7   colors are changed.       It doesn't allow you to select an

04:52:10    8   individual color.

04:52:10    9   Q.   And how do you know that, Dr. Ducharme?

04:52:12   10   A.   I read the patent and compared it, along with the

04:52:17   11   Court's construction of all the terms, to the claim

04:52:21   12   limitations that are asserted from the '435 in this case.

04:52:26   13   Q.   Is it important to analyze in that process all of the

04:52:31   14   claim limitations of the '435?

04:52:37   15   A.   No.

04:52:37   16   Q.   It's not?    Oh.   I'm sorry.   Let me rephrase the

04:52:42   17   question.

04:52:42   18               Is it the case or did you assume that in order for

04:52:47   19   something to potentially invalidate a patent claim that's

04:52:52   20   issued, it would have to read on every limitation that's

04:52:56   21   claimed?

04:52:58   22   A.   Every limitation of one claim.

04:53:00   23   Q.   Right, one claim.     And we're talking about Claim 1,

04:53:03   24   right?

04:53:03   25   A.   Yes.
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04:53:03    1   Q.   Right.     So, for example, if something does one step --

04:53:10    2   1(a), 1(b) but not 1(c) or 1(d), then there's no invalidity

04:53:17    3   issue, correct, in that hypothetical?

04:53:20    4   A.   Yes, that's correct.

04:53:21    5   Q.   So that's -- I should have put that in context.

04:53:24    6               So you said that Brett doesn't select an

04:53:27    7   individual color, correct?

04:53:29    8   A.   Correct.

04:53:30    9   Q.   All right.     Does this mean that the user in Brett is

04:53:40   10   not selecting like an R, G -- even an R, G, or B?

04:53:45   11   A.   No.

04:53:45   12   Q.   And what's R, G, or B?

04:53:48   13   A.   Red, green, blue.

04:53:50   14   Q.   Right.     That's the individual color, correct?

04:53:52   15   A.   Yes.

04:53:53   16   Q.   And is Brett teaching a way of -- and you said earlier

04:54:20   17   that Brett is not even discussing video.         Is it -- then

04:54:25   18   what is it sort of processing?

04:54:28   19   A.   The signals detected from the film -- the light signals

04:54:40   20   detected from the film.

04:54:41   21   Q.   Like a still frame; is that your understanding?

04:54:44   22   A.   Yeah, I mean, a film is a bunch of static pictures

04:54:49   23   placed together in a periodic film -- succession of images,

04:54:56   24   I guess, is what they call it.

04:54:59   25   Q.   And then with regard to Claim 1(c) and 1(d), tell me
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04:55:15    1   about that in the -- in light of this Brett reference.

04:55:21    2   A.   Well, 1(c) and 1(d), when you read it, it's real time

04:55:29    3   digital video, so these don't apply to Brett.

04:55:39    4   Q.   All right.   So you're saying just because -- is it the

04:55:43    5   case that because the '435 patent is dealing with digital

04:55:46    6   video and Brett is not, then there's no conflict with

04:55:53    7   '435, 1(c) and 1(d)?

04:55:55    8   A.   Yes.   Well, that and combined with the previous step,

04:55:59    9   you weren't able to select an individual color to then

04:56:04   10   identify the plurality of pixels using arithmetic logic.

04:56:09   11   So the previous -- because the previous claim wouldn't have

04:56:12   12   been met -- sorry -- claim step wouldn't have been met, you

04:56:16   13   can't perform (c) or (d).      But both (c) and (d) in plain

04:56:25   14   and ordinary language say real time digital video.

04:56:29   15   Q.   Whereas Brett does not?

04:56:31   16   A.   Yes.   Correct.

04:56:32   17   Q.   All right.   And then I want to talk to you about

04:56:36   18   Claim 1(e).    I don't want to read it again for the ladies

04:56:42   19   and gentlemen of the jury because we talked about it

04:56:44   20   earlier, but we're showing you -- can you see on the screen

04:56:48   21   we're showing you '435, Claim 1(e)?

04:56:52   22   A.   Yes.

04:56:52   23   Q.   All right.   You want to tell me a little bit about that

04:56:56   24   with a reference to your criticisms on the Brett reference?

04:57:10   25   A.   Once again, this is referencing real time video so it
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04:57:14    1   doesn't apply to Brett.

04:57:16    2   Q.   Is -- and you said you could not select an individual

04:57:21    3   color in Brett, correct?

04:57:22    4   A.   That's correct.    In this example I'm trying to show

04:57:29    5   that, but it wasn't possible.

04:57:30    6   Q.   And -- and for what Brett teaches, is that -- does that

04:57:46    7   affect sort of all -- I don't even know, pixel values -- or

04:57:52    8   not pixel values -- does that affect all colors in the

04:57:56    9   Brett -- Brett reference?

04:58:03   10               Let me rephrase that.

04:58:05   11   A.   Thank you.

04:58:05   12   Q.   You can edit something in Brett, correct?

04:58:08   13   A.   Yes.

04:58:08   14   Q.   All right.    And you said earlier that you can't edit

04:58:13   15   individual colors?

04:58:14   16   A.   Correct.

04:58:14   17   Q.   All right.    So can you edit sort of the features of all

04:58:18   18   colors?

04:58:20   19   A.   You can -- you can define a range -- a range of hue,

04:58:24   20   saturation, and luminance, and those colors will be

04:58:30   21   changed.

04:58:31   22   Q.   But not for one individual color?

04:58:33   23   A.   That's correct.

04:58:33   24   Q.   Okay.    Did you want to expand at all on the pictorial

04:58:39   25   chart that you -- I believe you included with your opinion?
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04:58:47    1   A.   Yes.

04:58:47    2   Q.   Please.

04:58:49    3   A.   Sorry.    Repeat the question.

04:58:51    4   Q.   This is the -- did you make this pictorial here, the

04:58:54    5   bottom part?

04:58:55    6   A.   I did.

04:58:56    7   Q.   All right.    You want to explain it?

04:58:58    8   A.   Sorry.    It's been awhile since I thought about this

04:59:18    9   picture.

05:00:19   10               So in this example I'm trying to show -- well,

05:00:23   11   trying to use what was taught in the Brett patent to

05:00:29   12   explain this conversion.

05:00:31   13               So in the Brett patent, they were using 10-bit

05:00:38   14   instead of 8-bit RGB values, and they were converting RGB

05:00:43   15   values to these HSL values, hue, saturation, luminance

05:00:51   16   values, to then provide the user with hue, saturation, and

05:00:55   17   luminance controls.

05:00:56   18               The problem becomes when you go back to RGB after

05:01:02   19   the change is made and -- on the HSL, hue, saturation, and

05:01:10   20   luminance knob.     So I've got two examples here.        The first

05:01:15   21   is the input pixels, and the RGB 8-bit have a value of 500

05:01:22   22   and then green 00.     In the pixel processing, once that's --

05:01:25   23   I've converted that from RGB to HSL, and these are

05:01:30   24   straightforward mathematical transformations that are well

05:01:34   25   known in the industry, you get this value that's shown.
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05:01:40    1            When you convert back to RGB, you see on the right

05:01:44    2   I've got values of 500 and a green 0 and blue 0.

05:01:51    3            On the bottom, I've actually moved one of the HSL

05:01:55    4   knobs on Brett's invention.      So we start with red, and I

05:02:01    5   see red is 500, green is 0, blue is 0.          That's my input

05:02:07    6   pixel, I value.     I convert that to HSL, and that gives me

05:02:10    7   the numbers that you see, and make the adjustment to hue

05:02:14    8   with the knob that Brett disclosed.

05:02:19    9            When I go back to red, green, blue, you can see, I

05:02:26   10   don't have 500 red, green, and blue.          So I didn't have the

05:02:31   11   ability to select an individual color to change.

05:02:53   12            MR. SABA:    Your Honor, would this be an

05:02:55   13   appropriate time to stop?      Okay.   Thank you.

05:02:56   14            THE COURT:    I think so.     Yes.    Thank you,

05:02:59   15   Mr. Saba.

05:02:59   16            Ladies and gentlemen of the jury, it's been a long

05:03:01   17   day.   Thank you for your attention and focus this morning

05:03:07   18   and this afternoon, as well.

05:03:08   19            I'll ask you to be back no later than 8:45 in the

05:03:13   20   morning so that we can start promptly at 9:00 o'clock here

05:03:16   21   in the courtroom.

05:03:17   22            I'll remind you not to visit with anyone about the

05:03:19   23   case, don't do any type of independent investigation or

05:03:23   24   research, and don't post anything about any of the

05:03:25   25   proceedings that you have observed.
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05:03:28    1           Have a safe trip home, and we'll see you back in

05:03:33    2   the morning.

05:03:34    3           COURT SECURITY OFFICER:        All rise for the jury.

05:03:36    4           (Jury out.)

05:04:01    5           THE COURT:     Okay.   Please be seated.

05:04:06    6           You may step down.

05:04:08    7           Anything we need to resolve or discuss before we

05:04:13    8   adjourn for the day?

05:04:14    9           MR. JOSHI:     Yes, we have some issues, Your Honor.

05:04:16   10           THE COURT:     Okay.

05:04:18   11           MR. JOSHI:     I'll go up to the microphone.

05:04:20   12           THE COURT:     Certainly.

05:04:24   13           MR. JOSHI:     The first issue, Your Honor, is we

05:04:28   14   will need to seal the courtroom during our cross of

05:04:32   15   Dr. Ducharme because we want to use the source code, and we

05:04:35   16   may use it more than once.

05:04:36   17           THE COURT:     That's fine.     All I would ask is that

05:04:40   18   you, you know, group all of that material into the same

05:04:43   19   section so that we can seal the courtroom once and get

05:04:46   20   through that material and unseal the courtroom.           I don't

05:04:48   21   want to have to seal it and unseal it and seal it and

05:04:52   22   unseal it.     And I also don't want to seal the entirety of

05:04:56   23   the -- of the testimony.

05:04:57   24           So just make sure we -- organize your -- your

05:05:01   25   examination in a way that groups all that at one time.
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05:05:06    1              MR. JOSHI:     The second issue we have is I want --

05:05:09    2   tomorrow on Dr. Ducharme's cross, I want to be able to use

05:05:12    3   the Court's claim construction order as a demonstrative.

05:05:17    4   That's not front and center because their trial brief for a

05:05:20    5   mistrial, plus some of the objections we raised to him

05:05:26    6   being in violation of the claims -- the Court's claim

05:05:28    7   construction order, I want to be able to use that order.

05:05:32    8              MR. BENNETT:     I don't think you can open the door

05:05:35    9   and then use that as an invitation to use something you

05:05:40   10   shouldn't have used to begin with.        That's what they're

05:05:43   11   trying to do.

05:05:44   12              They opened the door by making the argument they

05:05:46   13   made at opening, and now they're trying to use that as a

05:05:49   14   reason to bring it in when they shouldn't.          So we do object

05:05:52   15   to that.    I mean, obviously it's fair game to impeach about

05:05:56   16   aspects of claim construction without --

05:05:57   17              THE COURT:     Yeah, but I'm not sure you use the

05:06:00   18   order to do that, so --

05:06:01   19              MR. BENNETT:     Right.

05:06:02   20              THE COURT:     -- so let me ask you, Mr. Joshi, why

05:06:04   21   do you need the order itself beyond just the Court's

05:06:09   22   constructions?

05:06:09   23              MR. JOSHI:     Because it's in the gray area where

05:06:11   24   it's not defined as, you know, a term means, term means.

05:06:15   25   But what the dispute here now is there is an indefiniteness
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05:06:19    1   about when is red "red."       And that depends on when other

05:06:23    2   colors are a certain number or they're not of a certain

05:06:27    3   number because red can be a combination of red and

05:06:30    4   something else.     And so that kind of a detail is in the

05:06:33    5   claim construction order.       That's in dispute.

05:06:34    6              THE COURT:     Could you not just use the patent to

05:06:36    7   do that?

05:06:37    8              MR. JOSHI:     I could, I could.   And what I would do

05:06:39    9   is I would minimize the use of the claim construction

05:06:43   10   order.     I would say, you know, the claim construction order

05:06:47   11   refers us to this inequality, and then go straight to the

05:06:50   12   patent.

05:06:51   13              MR. BENNETT:     The argument is you can use the

05:06:53   14   patent, just use the patent.       If we need to argue what the

05:06:55   15   law is after the facts come in, that's what post-trial

05:07:00   16   motions are for, directed verdict motions are for.            That's

05:07:04   17   not what interrogation is for.

05:07:07   18              THE COURT:     I don't -- I'm -- I am not inclined to

05:07:10   19   have you get into using the claim construction order beyond

05:07:12   20   the constructions themselves.

05:07:12   21              MR. JOSHI:     All right.

05:07:15   22              THE COURT:     You can use the patent, I think, to

05:07:17   23   achieve what you want to achieve, but, you know, if you --

05:07:23   24   you know, you can use the patent in the preferred

05:07:26   25   embodiment, and, you know, I don't think it's necessary to
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05:07:32    1   go through the order.

05:07:33    2           MR. JOSHI:     Okay.   And Mr. Oliver will address the

05:07:35    3   next couple of issues.

05:07:37    4           MR. OLIVER:     Two -- one substantive question and

05:07:41    5   two more are kind of practical questions, Your Honor.

05:07:44    6           THE COURT:     Okay.

05:07:44    7           MR. OLIVER:     One question is, again, requesting a

05:07:47    8   little bit of clarification on the Section 101

05:07:51    9   inoperability defense.     And Your Honor has said it's a

05:07:57   10   matter of law.     It can't be tried to the jury.

05:08:00   11           And so the question is will we be permitted to

05:08:02   12   present the testimony on that to the bench, or are you not

05:08:06   13   taking any testimony on inoperability?

05:08:08   14           THE COURT:     Here's my view at the end of the day,

05:08:14   15   Mr. Oliver.     I can't really tell you how to try your case.

05:08:19   16           I'm open to whatever you suggest is the proper

05:08:23   17   procedure.     Whether we argue that in some sort of a

05:08:31   18   separate proceeding or you make some sort of argument

05:08:36   19   during this trial, I'm open to whatever you think you need

05:08:39   20   to do to protect your record and to protect your clients's

05:08:43   21   interest.     So that -- that's really the only suggestion I

05:08:49   22   can make.

05:08:49   23           MR. OLIVER:     May we, when we call Dr. Stevenson,

05:08:54   24   have a portion of that testimony where the jury leaves the

05:08:57   25   room, and we put it on the record outside of the presence
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05:09:00    1   of the jury?

05:09:01    2           THE COURT:     I -- that's -- strikes me as a

05:09:05    3   reasonable way to handle it.

05:09:06    4           Mr. Bennett, thoughts?

05:09:09    5           MR. BENNETT:     I --

05:09:10    6           THE COURT:     I mean, just for purposes of

05:09:14    7   protecting their record.

05:09:15    8           MR. BENNETT:     That raises a few complications for

05:09:18    9   us perhaps.    We can visit about it tonight and get back to

05:09:22   10   the Court, but we'll get back to you on that tomorrow

05:09:24   11   morning, Your Honor.

05:09:25   12           THE COURT:     Maybe we can do it -- we can figure

05:09:25   13   out a time.

05:09:27   14           When do we expect his testimony to begin?            I don't

05:09:31   15   guess you really know.

05:09:31   16           MR. OLIVER:     He would probably be our second

05:09:34   17   witness and --

05:09:34   18           MR. JOSHI:     He's our second, yes.

05:09:36   19           MR. OLIVER:     We have a very short fact witness,

05:09:38   20   and then he would be our second witness.         So it really

05:09:41   21   depends on when the Plaintiffs -- you know, it would be 30

05:09:47   22   minutes into our case where he starts testifying.

05:09:49   23           THE COURT:     Let me suggest you all think about it,

05:09:51   24   and if you've got concerns about it, visit with -- visit

05:09:56   25   with Mr. Oliver and see if you all can come up with an
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05:10:01    1   approach that's agreeable and makes sense.

05:10:03    2           MR. BENNETT:     Yes, Your Honor.

05:10:04    3           MR. OLIVER:     Two questions that will -- one will

05:10:06    4   affect both parties.     And the request is, is it possible to

05:10:12    5   allow the corporate representatives and expert witnesses to

05:10:16    6   bring their cellphones into the courtroom?          The guards

05:10:19    7   won't let us.   They said Your Honor could allow it, but we

05:10:23    8   just wanted to get your thoughts on that.

05:10:25    9           THE COURT:     So I will allow that against my better

05:10:29   10   judgment.   It has to be completely disabled so that it's

05:10:33   11   silent and whatever, and if it is -- if it's used in any

05:10:39   12   way that's distracting, it will be a problem, okay?

05:10:42   13           MR. OLIVER:     Okay.   Okay.    May we just use them in

05:10:47   14   the break room during breakouts?

05:10:50   15           THE COURT:     That's certainly fine.       Yes, I'm

05:10:52   16   certainly agreeable to that.      But --

05:10:52   17           MR. OLIVER:     We've been just --

05:10:54   18           THE COURT:     -- it has been my practice that they

05:10:56   19   end up being distracting --

05:10:59   20           MR. OLIVER:     Okay.

05:11:00   21           THE COURT:     -- in the courtroom.

05:11:01   22           MR. OLIVER:     So if the parties can agree upon a

05:11:05   23   proposed order, can we just submit it to Your Honor so --

05:11:08   24           THE COURT:     As to what?

05:11:09   25           MR. OLIVER:     To -- because the security guards
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05:11:10    1   said that they weren't --

05:11:10    2           THE COURT:     No, that's not something I'm agreeable

05:11:13    3   to the parties working out among themselves.

05:11:20    4           I'm telling you that to bring them into the

05:11:23    5   courtroom --

05:11:24    6           MR. OLIVER:     Okay.

05:11:25    7           THE COURT:     -- they just have to be disabled in --

05:11:27    8   you know, essentially silenced.       And not only do they have

05:11:30    9   to be silenced, they can't be used in way that's

05:11:35   10   distracting.

05:11:36   11           MR. OLIVER:     Should we then just put them in the

05:11:38   12   attorney's bags because the security guards won't let them

05:11:41   13   carry the devices in?

05:11:43   14           THE COURT:     I'll make arrangements to let them

05:11:45   15   know that I am permitting the corporate representatives and

05:11:50   16   experts to have them in the courtroom.

05:11:57   17           MR. OLIVER:     Thank you, Your Honor.

05:12:03   18           THE COURT:     But if -- but if I see them used in

05:12:06   19   way that's distracting, Mr. Oliver, I promise you I will

05:12:09   20   take them away.

05:12:11   21           MR. OLIVER:     That is fine with me.

05:12:12   22           THE COURT:     And I will return them at the end of

05:12:14   23   the trial.

05:12:16   24           MR. OLIVER:     Okay.   Okay.    Duly noted.

05:12:20   25           Final question is our expert, Dr. Stevenson,
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05:12:24    1   hasn't had a chance to actually operate one of the devices

05:12:27    2   that was operated today during the trial.          And we are

05:12:30    3   wondering if we can have a little bit of time after court

05:12:34    4   adjourns with the device in the courtroom for him to --

05:12:35    5           THE COURT:     Today, yes.     Yes.

05:12:35    6           MR. OLIVER:     Okay.

05:12:37    7           THE COURT:     You can certainly do that.

05:12:38    8           MR. OLIVER:     Thank you.     That's all we've got.

05:12:40    9           THE COURT:     Mr. Bennett, anything else?

05:12:42   10           MR. BENNETT:     I have nothing, Your Honor.

05:12:43   11           THE COURT:     Okay.    See you all in the morning.

05:12:47   12           COURT SECURITY OFFICER:        All rise.

05:12:50   13           (Time noted 5:12 p.m.)

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       1                    COURT REPORTER'S CERTIFICATION

       2               I HEREBY CERTIFY that the foregoing is a true and

       3   correct transcript from the stenographic notes of the

       4   proceedings in the above-entitled matter to the best of my

       5   ability.

       6

       7   May 18, 2021          s/ KATHRYN McALPINE/_________
           Date                  KATHRYN McALPINE, RPR, CSR, CCR
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